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        CONFIDENTIAL PURSUANT TO RULE 26(C) PROTECTIVE ORDER



        UNITED STATES DISTRICT COURT

        SOUTHERN DISTRICT OF NEW YORK



In re


                                                     MASTER DOCKET

CUSTOMS AND TAX ADMINISTRATION OF THE                18-md-2865 (LAK)
KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX REFUND SCHEME
LITIGATION




                   REPLY EXPERT REPORT OF GRAHAM WADE




                               FEBRUARY 28, 2022
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I.       INTRODUCTION

1.       I have been asked by Counsel for SKAT, the Customs and Tax Administration of the Kingdom

of Denmark, to respond to the reports of Mr. Max Hayden (“Hayden Report”) and Dr. Emre Carr (“The

Carr Rebuttal Report”), dated February 1, 2022. For purposes of this report, I incorporate the

definitions, background, analyses, and opinions detailed in my reports dated December 31, 2021

(“Wade Initial Report”) 1 and February 1, 2022 (“Wade Rebuttal Report”). 2 My qualifications were

detailed in Section II of the Wade Initial Report and my curriculum vitae was also included in that report

as Appendix A.


2.       I affirm that this report is my independent work product and contains my objective unbiased

opinions in relation to matters within my expertise. I believe that the facts and analyses stated in this

expert report are true, and the opinions I have expressed represent my true and complete professional

opinions.


3.       I have prepared this report to state my expert opinions; to describe the bases for those opinions

and the reasons underlying them; to disclose the facts and data which I considered in reaching my

opinions; and to make all other appropriate disclosures. My opinions in this report are based on

specialized knowledge arising from my education, training, study, and experience (which is set out in

Section II of the Wade Initial Report). I express no legal opinions in this report and the information in

this report is based upon discovery to date and the information that is currently available. I have

considered and compiled materials as cited herein with the assistance of various CRAI personnel

working under my direction and supervision. 3 In addition to the materials considered in the Wade Initial




1
 See, Expert Report of Graham Wade In re Customs and Tax Administration of the Kingdom of Denmark
(Skatteforvaltningen) Tax Refund Scheme Litigation, December 31, 2021.
2
 See, Rebuttal Expert Report of Graham Wade in re Customs and Tax Administration of the Kingdom of
Denmark (Skatteforvaltningen) Tax Refund Scheme Litigation, February 1, 2022.
3
 I confirm that all opinions which I express in this report are mine alone, and not necessarily reflective of the
opinions of CRAI or any of its personnel.

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Report and the Wade Rebuttal Report, a listing of additional materials that I have considered for this

matter as of the date of this report is contained in Appendix A, as well as the citations in the footnotes

to the text and tables presented in this report.


4.        Following this introductory Section I, the remainder of this report is organized as follows. In

Section II, I summarize my opinions in response to Mr. Hayden’s and Dr. Carr’s reports. In Section

III, I offer opinions specific to Mr. Hayden’s Report. In Section IV, I offer opinions specific to Dr.

Carr’s Report.


5.        Throughout this report capitalized terms which are not otherwise defined take their meaning

from the Wade Initial Report and the Wade Rebuttal Report.


II.       SUMMARY OF OPINIONS RELATED TO MR. HAYDEN AND DR. CARR’S
          REPORTS

     A.      General Observations Common to Both Mr. Hayden and Dr. Carr’s Reports

6.        Plaintiff, SKAT, has alleged that certain reclaim applications supported by Tax Vouchers issued

by ED&F Man and Solo to their respective Pension Plan clients were fraudulent. The critical question

bearing on this issue is whether the Defendant Pension Plans were entitled to receive tax reclaims

resulting from the Tax Vouchers issued for dividend payments claimed to have been received by the

Pension Plans on shares they claimed to own from Cum-Ex transactions for which they actually held

no shares.


7.        Rather than addressing this critical issue concerning Cum-Ex trading described in both the

Wade Initial and Wade Rebuttal Reports, both Dr. Carr and Mr. Hayden offer an alternative straw man

defense of the trades, attempting instead to normalize Cum-Ex trading, 4 and describing it as if it were




4
  For example, Dr. Carr states that “[s]tructured transactions are commonly used, […] for purposes of engaging
in arbitrage, such as the dividend arbitrage strategy used by the pension plans.” Carr Rebuttal Report, ¶8a. Mr.
Hayden states: “Markets have a well-developed understanding of how to handle ‘Cum-Ex’ trades.” Hayden
Report, ¶14 c.

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legitimate dividend arbitrage.         In doing so, they conflate Cum-Cum transactions with Cum-Ex

transactions and also suggest that the development of market protocols that dealt with accidental fails

in regular-way 5 market transactions somehow legitimizes these deliberately structured and fictitious

Cum-Ex transactions.


8.         For example, Dr. Carr states that “Cum-Cum and Cum-Ex transactions lead to the same

economic exposure for a pension plan.” 6 Contrary to the opinions of Dr. Carr and Mr. Hayden, the

market protocols referenced by Defendants’ experts are simply not reflective of the market’s approach

to Cum-Ex transactions when the trades at issue in this matter occurred. Setting aside Cum-Ex trades

that result from the accidental failure to deliver a security, the only reason to my knowledge for a party

to deliberately undertake a Cum-Ex transaction was to generate a tax reclaim on a dividend

compensation payment where a different party had already received the real dividend. The fundamental

difference between the structured Cum-Ex transactions at issue in this matter and a failed settlement on

a regular Cum-Dividend purchase is that in this matter the Cum-Ex trades were designed such that the

Cum-Ex seller did not need to own shares over the Record Date, and as a result did not incur the cost

of acquiring shares on a Cum-Dividend basis. This is clearly shown in the pricing of the transactions. 7




5
  As I explain later in this report, “regular-way” is a term commonly used to refer to transactions which typically
take place on an exchange and use the relevant stock exchange rules. For example, the NYSE defines a regular-
way contract for the sale of securities as one where settlement occurs on the second business day after the date
of the contract. See, NYSE Rules, NYSE Guide, Delivery Dates on Exchange Contracts, Contracts for Sale of
Securities (Rules 64, 65), p. 238, available at:
https://www.nyse.com/publicdocs/nyse/regulation/nyse/NYSE_Rules.pdf, last accessed February 21, 2022.
6
    See, Carr Rebuttal Report, Section VI.
7
  Later in this report I address at length why Mr. Hayden’s interpretation of the prices of the Cum-Ex
transactions is incorrect. In the Wade Rebuttal Report (¶39) I observed that the pricing of the futures and
forwards in the Solo transactions was exactly 73%, which ensured the Pension Plans received 100% of the tax
reclaim, which was only possible because there was no real dividend.

                                                              3
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In contrast, a failed Cum-Cum transaction would be priced higher based on the reality that the seller

must own the shares prior to the Record Date. 8


9.      The European Securities and Markets Authority (“ESMA”) Dividend Arbitrage Report

provides an excellent summary of the key differences between Cum-Cum transactions and Cum-Ex

transactions. 9 As described in the ESMA Dividend Arbitrage Report, the distinction between Cum-Ex

and Cum-Cum trades was well understood by market participants when the transactions at issue

occurred:


        “28. However, in some schemes achieving a dividend arbitrage is not the main objective, as
        the real intention is to obtain multiple issuance of tax certificates and the consequent multiple
        refunds of taxes to multiple persons, with only one of them having actually received the dividend
        distributed and paid the relevant WHT [withholding tax]. In some cases, potentially no persons
        have actually received any dividend, and both the trading and WHT reclaims are wholly based
        on fictitious shares.

        29. Those schemes, often referred to as Cum/Ex schemes, also consist in equity deals where a
        share transfer (either by sale or lending) occurs right before the date of the dividend payment,
        this time with the intention of creating the paperwork (incl. tax certificates) which allows
        persons to obtain tax refunds on dividend tax which was not paid, and which is likely to
        represent a fraud under national legislation. Those schemes can by nature be perpetrated only
        to the detriment of those countries where the tax law provides for WHT on the dividends
        distributed, in some cases associated with the issuance of tax certificates that can be later on
        claimed back in the form of a reimbursement from the tax authorities.

        30. Both Cum/Ex and Cum/Cum schemes foresee the transfer of shares around the dividend
        payment date. However, as emphasised by NCAs [National Competent Authorities] in their
        response to the ESMA’s inquiry, in the Cum/Ex case the trade is carried out before the dividend
        is paid out but settlement takes place only after the distribution date whereas, in the case of
        Cum/Cum arrangements, transactions are carried out and settled prior to the dividend pay-
        out.”




8
 This is demonstrated by Cum-Cum transaction number 20 from Appendix F of the Wade Initial Report which
was executed on a Cum-Cum basis, but settlement failed and was completed with Ex-Dividend stock. See, trade
pack ED&F-00042677 and associated emails in ED&F-00312726.
9
 ESMA Final Report on Cum/Ex, Cum/Cum and withholding tax reclaim schemes (“ESMA Dividend Arbitrage
Report”), ESMA70-155-10272, September 23, 2020, available at:
https://www.esma.europa.eu/sites/default/files/library/esma70-155-
10272_final_report_on_cum_ex_and_other_multiple_withholding_tax_reclaim_schemes.pdf, last accessed
February 10, 2022.

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10.        By 2012, market participants were well aware that Cum-Ex trades were considered both

inappropriate and illegitimate. In fact, the only jurisdiction that I am aware of where reputable market

participants ever considered deliberately conducting Cum-Ex trades was Germany prior to 2012. The

ESMA Report confirms my understanding and states that, “BaFin [the German Banking Regulator]

reported that, until 2012, a controversial reading of the German tax provisions seemed to have created

a possibility that the economic owner should be entitled to the dividend, and therefore to the tax

certificate related thereto.” 10


11.        The relevance of the year 2012 is that, with effect from January 1, 2012, Germany changed its

tax law related to the dividend withholding tax, thereby removing any doubt on the question of the

availability of a reclaim on a dividend compensation payment in a Cum-Ex transaction. 11 At the time

the tax law was changed, most market participants were already aware that for some time the German

Tax Authorities considered structured Cum-Ex transactions to be inappropriate following previous

changes in the law and related developments.


12.        Accordingly, deliberately structured Cum-Ex transactions were not considered normal practice

in the equity finance markets when the transactions at issue occurred.


13.        Furthermore, the specific transactions in this matter present at least two additional issues, the

first of which is specific to them, while the second applies to any deliberate Cum-Ex transaction. I

discuss each of these issues in turn.


14.        The first question is whether the Pension Plans ever actually held shares in the transactions at

issue. This question is straightforward for the Solo transactions – no Danish shares were ever held by

any of the Solo Custodians. Therefore, the transactions, Tax Vouchers, and tax reclaims thereon were




10
     See, ESMA Dividend Arbitrage Report, ¶10, p. 62.
11
  See, ESMA Dividend Arbitrage Report, p. 19, which states that sections 43, 44, 44a, 45a, 50d, and 52a of
Einkommensteuergesetz (the German Income Tax Act) were modified effective January 1, 2012.

                                                            5
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fictitious. 12 In his Rebuttal Report, Dr. Carr appears to limit his arguments to questioning whether

sufficient evidence exists to conclude that the Solo transactions were not real, or in the alternative,

whether the Pension Plans could or did know that the transactions were not real. In fact, these

transactions were not real, a fact the Pension Plans should have been well aware of for reasons explained

later in this report. 13


15.         With respect to the ED&F Man transactions, the detailed discussion in my earlier reports, 14

which I expand on in this report, clearly demonstrates that ED&F Man and the Investment Managers

used a series of intraday settlement cycles in which the same shares would be “round tripped” multiple

times in the same day 15 to artificially inflate the number of shares purportedly held and dividends

purportedly received, and support false Tax Vouchers on share quantities that substantially exceeded

the shares actually owned by either ED&F Man or the Pension Plans. 16 A clear loop, not dissimilar to

the Solo transactions, is evident for the ED&F Man Cum-Ex transactions; the difference being that

ED&F settled trades by reusing the same shares over and over again, whereas Solo had no shares and

simply created fictitious book entries.


16.         If there was any remaining doubt about the shares ED&F Man Pension Plans owned, it has been

dispelled by the testimony of Mr. Andrew Wall, the corporate representative witness for ED&F Man: 17


                     “Q Okay. So can you explain to me in a little more detail how it is that ED&F used the
                     shares that it did have in the depot to settle all the trades in one day?




12
     Wade Initial Report, Section VII. E, and Wade Rebuttal Report, Section III. A. 1.
13
     In particular, see point 1 of Opinion 6.
14
     Wade Initial Report, ¶¶204 – 209 and Figure 11; Wade Rebuttal Report, Sections V. A and V. B.
15
  In his presentation which discussed later in this report, Oliver Bottomley of ED&F Man described this process
as doing “multiple round trips” using “the same clip of stock.” ED&F-00053123.
16
     ED&F-00108634 and ED&F-00113799.
17
     Deposition Transcript of Mr. Andrew Wall, February 23, 2022 (“Wall Deposition”), at pp. 238-239.

                                                               6
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                   A The trades -- the trades in the depot account were of sufficient size to settle the shapes
                   of trades reviewed individually.

                   Q Okay. And then, would the same shares be used again on the same day to settle
                   another shape of the same shares?

                   A Yes, they would. Yes, they would. I'm sorry if you didn't hear me.

                   Q Yes. Thank you. And did the reuse of the shares on the same day happen more than
                   once on the same day when ED&F was settling Danish trades?

                   A Yes, they did. I'm sorry.

                   Q The answer was yes, I believe. And would the shares be reused multiple times until
                   all the shapes were settled?

                   A Yes, they would.”


17.        Mr. Wall’s admission is highly significant for two reasons:

      1.       It confirms that ED&F Man facilitated the Pension Plans making withholding tax reclaims

               on positions in Danish securities many times larger than the number of actual shares that it

               was able to acquire; and,

      2.       As explained in the Wade Rebuttal Report with respect to the March 2014 TDC dividend

               event, every share which ED&F Man held at the close of business on the Record Date was

               required to satisfy the issuance of Tax Vouchers in the Cum-Cum transactions. Thus, every

               Tax Voucher issued in respect of the March 2014 TDC Cum-Ex transactions was

               completely false (including both non-Annex E and Annex E Cum-Ex Tax Vouchers). The

               Pension Plans never held the Danish shares listed on the Cum-Ex Tax Vouchers, never

               received the dividends listed on the Cum-Ex Tax Vouchers, and never suffered a single

               Krone of the withholding tax shown on the Cum-Ex Tax Vouchers. ED&F, the Investment

               Managers and the Pension Plans took the relatively small number of shares they acquired

               for the Cum-Cum transactions and ran them through an intraday settlement cycle multiple

               times to falsely inflate both the shareholdings and the dividends allegedly received. Each

               false reclaim application to SKAT on a Cum-Ex trade represents a double, triple, or even

               quadruple dip of the dividend on the shares actually owned. In the case of the March 2014



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             TDC dividend, ED&F Man issued Tax Vouchers relating to dividends on 99.145m shares

             when it only actually acquired 24.845m shares for the Cum-Cum transactions. 18


     B.    General Observations Specific to Mr. Hayden’s Report


18.       Mr. Hayden admits that if it can be shown that the Inter Dealer Broker (“IDB”) 19 Cum-Ex 20

sellers did not own the shares and did not receive a real dividend which they passed on to the Pension

Plans, then these transactions were as invalid as the Annex E Cum-Ex transactions were. In fact, he

acknowledges this as being the “salient question.” 21 While I agree that this is a sufficient condition for




18
  Wade Rebuttal Report, Section V. C. In the March 2014 TDC dividend event which I analysed in detail, there
were 24.845m shares held in the BNP omnibus account at the close of business on the Record Date of March 11,
2014, and yet ED&F Man issued Tax Vouchers on positions of 99.145m shares which was almost exactly 4
times the number of shares held (ED&F-00040919, at 83-84). I do not believe it is a coincidence that Sara Mina
of ED&F Man separately stated that “Denmark is slightly more efficient settlement wise than Belgium so 25%
coverage should suffice” i.e., that every individual Cum-Cum share could generate three other Cum-Ex
positions (ED&F-00201236). These conclusions are based on the analyses and opinions that are more fully
described in this report as well as in the Wade Initial and Wade Rebuttal Reports.

I note that of the 99.145m total Tax Voucher positions, 64.3m are Annex E Cum-Ex positions, 10 million are
non-Annex E Cum-Ex positions (see Table 1 of this report), and the remainder (24.845m) are Cum-Cum
positions.

For the reasons I address later in this report, I have no reason to suspect that there are any material differences
between the March 2014 TDC event and the other dividend events covered by my reports. To the extent that the
patterns of trade settlements are consistent on the other dividend events with the TDC March 2014 event, my
conclusions on this TDC March 2014 event apply equally to those other events.
19
   Wade Initial Report, footnote 4: “In this report, the term “Inter-Dealer Brokers” (“IDBs”) refers to the
numerous external counterparties that ED&F Man and the ED&F Man Pension Plans used for the Appendix C
Cum-Ex Trades, their related hedges, and the Solo Capital broker firms’ trades. Strictly speaking, some of these
firms are not IDBs, but are classified as other types of regulated financial counterparties. The role these firms
played in these transactions is consistent with the function of an IDB, which is generally taken to mean a party
that acts as an intermediary between two other authorised firms to arrange or execute a transaction.”
20
  Wade Initial Report, ¶79: “A so-called Cum-Ex transaction is one where the transaction terms are agreed
before the Ex-Dividend Date, but the settlement terms are modified so that settlement of the transaction is
agreed to be after the Record Date. This means the transaction is a Cum-Dividend sale with Ex-Dividend
settlement, hence the name Cum-Ex.”
21
  “Thus, the salient question is whether there is any basis to conclude that ED&F’s market counterparty did not
have the right to cum-dividend shares when it executed the transaction, and if so, whether ED&F had any basis
to conclude that they did not. I have seen none, and none appears to be cited by Mr. Wade in his report.”
Hayden Report, ¶39 b. (ii). While the phrase “right to cum-dividend shares” is somewhat ambiguous, when
taken with his comments earlier in the same paragraph about a short seller “who did not have the right to a
dividend from the issuer”, I take Mr. Hayden’s view to mean that the seller must either have Cum-Dividend
shares or cover the short position with a purchase of Cum-Dividend shares.

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the Tax Vouchers to be viewed as invalid, a key caveat that I describe in this report is that it is not the

only basis to conclude that the non-Annex E transactions were invalid.


19.        Mr. Hayden provides no evidence to demonstrate that the IDBs in fact owned shares that

entitled them to dividends, but instead suggests that if the IDBs did not have the shares, then neither

ED&F Man nor the Pension Plan Investment Managers could have been or were aware that the IDBs

did not have the shares. 22 Evidence on the record clearly contradicts Mr. Hayden’s claim. ED&F Man

personnel were fully aware at the time of the transactions that MPT Dubai 23 did not have any shares

and, shockingly, ED&F Man has made no attempt to establish whether the external IDB Cum-Ex sellers

were similarly selling uncovered shorts in the non-Annex E Cum-Ex transactions, 24 despite the obvious

similarities between the Annex E and non-Annex E Cum-Ex transactions. In addition, during his

deposition Mr. Wall also confirmed that MPT Dubai trades were approved and cleared by ED&F Man,

again demonstrating that ED&F Man would have had the necessary information to know that MPT

Dubai was selling short. 25




 Hayden Report, ¶39 c (iii): “To the extent that Mr. Wade is suggesting that ED&F or its pension plan clients
22

were aware that they would be receiving shares without the right to a dividend, that assertion is unsupported.”
23
   ED&F Man have confirmed that MPT was not market facing and was required to execute and clear all its
trades through ED&F Man. See ED&F-00443853, which is a memo from ED&F Man to the FCA explaining
the MPT Dubai trading strategy: “MCM Equity Finance Desk was responsible for checking the orders and the
trades were given up to MCM to settle.”
24
     Wall Deposition, pp. 261-262:

           “Q: Can you tell me, please, what investigation ED&F has done in order to find out whether or not any
           counterparty that was selling shares to the defendant pension plans was selling short without a covered
           position?

           A: ED&F would have not done any investigation into the counterparties to see whether they were
           selling short.”
25
     Wall Deposition, pp. 245-246:

           “Q: So how was ED&F able to determine that MPT Dubai was short selling without a covered
           position?

           A: ED&F Man were MPT Dubai’s clearing broker and would have access to the information.”

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20.      There are compelling reasons to conclude that the IDBs did not have the shares they claimed

they had, and that ED&F Man traders and the Investment Managers would have known this at the time.

The primary reason is that if they had the shares, they would not have sold their dividend rights for a

price that was significantly below the prevailing market level observed in the contemporaneous and

comparable Cum-Cum transactions that the same Pension Plans executed through ED&F Man.


21.      The next section of my response to Mr. Hayden’s report is focused on the issue of whether the

payments received by the Pension Plans represented real dividends. Mr. Hayden discusses market

customs and practices that have developed in equity financing markets at length but neglects two

fundamental issues:


             1.       Almost all the guidance he refers to relates to on-exchange transactions and

                      processes designed to deal with fails of normal Cum-Dividend transactions.


             2.       Neither BNP Paribas nor SEB contemporaneously agreed with his interpretation of

                      the relevant rules because, with a handful of explainable exceptions which I

                      covered in the Wade Rebuttal Report, both parties declined to accept any market

                      claims on any of the Cum-Ex trades. 26 A detailed review of the 566 SWIFT

                      messages in the Wade Rebuttal Report confirms that the Pension Plans only

                      received real dividends on shares acquired in Cum-Cum trades. Ironically, the

                      single payment which SEB made, and which Mr. Hayden devotes considerable

                      attention to, was a Cum-Dividend purchase which failed. In this instance SEB




26
   Wade Rebuttal Report, ¶¶153-155, 210-219 and footnotes 278, 279, and 353. One notable exception relates
to a transaction in respect of TDC shares in August 2014, which Mr. Hayden focuses on but, as I explain in this
report, was a Cum-Dividend transaction that was subject to a genuine fail. In this instance, SEB correctly
applied the market conventions that Mr. Hayden discusses extensively in his report. The others relate to
transactions processed by BNP before July 2013, when several emails were exchanged with ED&F Man that
discussed problems with market claims associated with Cum-Ex purchases. ED&F-00137236 and ED&F-
00112481.

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                        followed the relevant market guidance, proving its decision not to process market

                        claims on the Cum-Ex transactions was deliberate.


22.        I also reiterate my opinion from the Wade Initial Report that non-Annex E Cum-Ex transactions

are fundamentally the same as the Annex E Cum-Ex transactions (which ED&F Man acknowledge were

invalid). The non-Annex E Cum-Ex transactions are therefore equally invalid. 27 Nothing in the Hayden

Report contradicts my opinion and, in fact, as I will explain, Mr. Hayden’s admissions in several parts

of his report support my opinion. In this report I will also provide further detail about how the trade

and custody records clearly show that the Annex E Cum-Ex transactions provide a roadmap to

understanding the non-Annex E Cum-Ex transactions. I also address various demonstrably incorrect

observations in the Hayden Report. In particular, I do not accept his suggestion that various regulatory

rules would have prevented the IDBs from performing the roles I suggested and in fact, the record has

numerous examples of the IDBs performing precisely such roles.


23.        Finally, and contrary to Mr. Hayden’s assertion, I offered no opinions on the appropriateness

or validity of the Cum-Cum transactions in the Wade Initial Report; my opinions were and are limited

to the Cum-Ex transactions. 28 Information about the Cum-Cum transactions is included in both the

Wade Initial Report and this report simply as contemporaneous evidence of market pricing and the

conduct and expectations of parties in equity financing transactions.


     C.      General Observations Specific to Dr. Carr’s Report


24.        My overriding response to Dr. Carr’s Rebuttal Report is that he did not properly engage with

the evidentiary record. As laid out in my previous reports, the fundamental issue which he does not

properly address is that there never were any Danish shares held by the Solo Custodians. In the Carr




27
     Wade Initial Report, Section VII. B and Appendix E. 2.
28
  See, for example, Hayden Report ¶44g, “Cum-Cum trades that Mr. Wade recognises were proper in Appendix
F.”

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Rebuttal Report he appears to fall back on a position that either the evidence is not conclusive that the

transactions are fake, or in the alternative, that the Pension Plans could not have known that the

transactions were fake.


25.      A good example of his lack of proper engagement with the record is evident when Dr. Carr

makes the following non-sequitur:


26.      “I note that the SKAT Experts’ dismissive statements about the structured nature of the

transactions do not address, one way or another, whether the Plans owned any shares in Danish

companies. If the Solo Custodians’ role in locating liquidity for trades in the market is evidence that

those trades are fake, then the vast majority, if not all, of the trillions of euros of OTC trades reported

every year would be fake, according to the SKAT Experts.”


27.      First, I see no basis for extrapolating my conclusions on the Solo transactions to questioning

the very nature of the global OTC market. More importantly, as I have laid out at considerable length

in my previous reports, the evidentiary record is clear: the Solo trades are not fake because they are

OTC; neither are they necessarily fake simply because their purported terms were not those on which

any arm’s-length counterparties would transact. However, they are demonstrably fake because there

never were any shares; because the loops were demonstrably circular with no real risk other than the

possibility of denial of the tax reclaim; and because none of the Pension Plans nor intermediaries had

the financial capacity to undertake trades of sizes they claim to have executed.


  D.       Summary of Opinions Related to Mr. Hayden’s Report


28.    Opinion 1: If the IDBs had pre-existing rights to a real dividend, none of them would have
entered into the Cum-Ex transactions on the terms they employed.

      1. Mr. Hayden points to a de minimis price difference between Annex E trades that ED&F Man

         has acknowledged as improper and non-Annex E trades. In fact, his explanation merely

         highlights the slight premium that was necessary for ED&F Man to pay to include external




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       IDBs in the non-Annex E trades. This premium was demonstrably not incurred in the Annex

       E trades which were only restricted to internal parties.

   2. Mr. Hayden’s suggestion that it is economically rational to sell a dividend for any price above

       73% is wrong and ignores contemporaneous evidence that a tax-disadvantaged owner could

       earn around 90%.

   3. IDBs with existing long positions may have been able to earn 85% or more of a real gross

       dividend payment by simply doing nothing.

   4. Evidence in the record and my market experience suggest that the availability of Danish shares

       was subject to constraints.


29.     Opinion 2: Mr. Hayden’s conclusion that the payments ED&F Man received were real
dividends passed on through market claims is wrong, contradicted by the contemporaneous
actions of the custodians, and unsupported by his extensive citations which simply establish that
OTC transactions can be executed on whatever terms the parties agree.

   1. Mr. Hayden and I agree on the definition of a market claim but not its application to the

       transactions at issue. Except for one Cum-Dividend transaction that failed, the industry market

       claim guidance he cites is irrelevant.

   2. OTC trades are not subject to the extensive exchange rules cited by Mr. Hayden. Therefore,

       his citations to support his opinions on OTC trades are irrelevant and unpersuasive.

   3. The HMRC guidance on Manufactured Overseas Dividends cited by Mr. Hayden highlights the

       precise point at issue and supports my position, not Mr. Hayden’s.

   4. The contemporaneous and irrefutable evidence of the actions of BNP Paribas and SEB in this

       very record confirm that my approach is correct.


30.     Opinion 3: Mr. Hayden’s claims that various regulatory restrictions would have
prevented the IDBs from undertaking transactions in the same way as MPT Dubai in the Annex
E Cum-Ex transactions is demonstrably wrong and there are multiple examples where
participation in the transactions at issue would have been unlawful if his analysis were correct.

   1. ED&F Man acted as prime broker in these transactions and Mr. Hayden’s assertions to the

       contrary are incorrect.



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   2. The short selling regulations cited by Mr. Hayden are a complete red herring as demonstrated

       by the actual actions of both MPT Dubai and ED&F Man.

   3. The intermediation of share sales, offsetting futures, and the facilitation of financing

       transactions using futures by the IDBs were not prohibited practices in and of themselves (as

       opposed to as part of the overall scheme to generate false Tax Vouchers in support of reclaim

       applications), as suggested by Mr. Hayden. Instead, it was a customary activity for IDBs and

       there are numerous examples in the record of such transactions in the record.


31.     Opinion 4: Evidence in the record overwhelmingly suggests that the non-Annex E Cum-
Ex transactions were executed in a very similar way to the Annex E Cum-Ex transactions, and I
re-affirm the opinions in the Wade Initial Report on non-Annex E Cum-Ex transactions.

   1. Mr. Hayden’s claims that the timing of the trades indicates that they could not be linked

       transactions proves precisely the opposite. The pricing and timing of the Cum-Ex purchases

       and futures demonstrates that the trades were part of co-dependent circles.

   2. Mr. Hayden’s admission that the recycling unwind of the Acer TDC March 2014 position was

       inappropriate is significant because the position unwound was created in part by Acer

       purchasing 6 million non-Annex E Cum-Ex shares from Lutetia. The unwinds provide an

       unambiguous roadmap to how ED&F Man and the Pension Plans created a misleading

       impression of the positions owned by the Pension Plans.


32.     Opinion 5: The Pension Plans made tax reclaims based on Tax Vouchers for share
quantities that substantially overstated the shares actually owned and dividends received. ED&F
Man facilitated this by recycling shares through intraday settlement, which supported the
creation of false Tax Vouchers for the Pension Plans to apply for a double, triple and quadruple
dip refund.

   1. A complete reconciliation of the TDC share movements on March 12, 2014, plus corroborating

       evidence from various contemporaneous communications, demonstrate a planned and

       deliberate process of recycling shares to justify larger tax reclaims than the number of shares

       which ED&F Man could actually source. The share counts involved appear to amount to a

       quadruple dip of shares actually held by ED&F Man on behalf of the Pension Plans in order to

       receive four times the tax reclaims.

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       2. Mr. Hayden’s criticism of the detail of the ADTV calculations ignores the substantive point

            that it is implausible that ED&F Man really acquired such large positions and would have been

            unable to risk manage them if it could. In any event, ED&F Man has now admitted that it did

            not really acquire the shares it claimed.


  E.          Summary of Opinions Related to Dr. Carr’s Report


33.     Opinion 6: Dr. Carr ignores the comprehensive evidentiary record that no shares were
ever held by the parties in connection with tax reclaims and that the Solo trades were conducted
with contrived circularity and no economic risk. Dr. Carr’s claim that the Solo transactions
carried normal market risk ignores all available evidence and is incorrect.

       1.       Dr. Carr’s claim that the pension plans could have reasonably assumed that the Solo
                transactions were real ignores all available evidence and is incorrect.

       2.       Dr. Carr’s claim that IDBs’ participation in the Solo transactions is evidence that they were
                not fictitious ignores all available evidence and is incorrect.

       3.       Dr. Carr’s claim that the Solo transactions were “bespoke” and therefore legitimate ignores
                all available evidence and is incorrect.

       4.       Dr. Carr’s claim that the securities lending transactions were real and legitimate ignores all
                available evidence and is incorrect.

       5.       Dr. Carr’s claim that the pension plans had economic exposure to the shares and therefore
                a claim to dividends ignores all available evidence and is incorrect.

       6.       Dr. Carr’s claim that the circularity of the Solo transactions does not imply they are
                fictitious ignores all available evidence and is incorrect.

       7.       Dr. Carr’s claim that offsetting trades in Solo’s accounts could somehow legitimize the
                Solo transactions ignores all available evidence and is incorrect.



III.        BASES FOR OPINIONS RELATED TO MR. HAYDEN’S REPORT

  A.          Opinion 1: If the IDBs Had Pre-Existing Rights to a Real Dividend, None of Them
              Would Have Entered into the Cum-Ex Transactions on the Terms They Employed

34.         The fundamental question I address in this opinion is whether it was economically rational for

reasons other than a false tax reclaim for a Cum-Ex seller to enter a Cum-Ex transaction priced at around

77-82% of the gross dividend if that seller actually owned the real dividend. Agreeing to such pricing


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would have been economically irrational of the IDBs, who likely could have obtained 85% of the gross

dividend simply by holding the shares, or easily entered alternative transactions at close to 90% of the

gross dividend. Therefore, the pricing of the Cum-Ex transactions is very strong evidence that the Cum-

Ex sellers in the non-Annex E Cum-Ex transactions did not actually receive a real dividend, which

further suggests that the non-Annex E trades are fundamentally the same as the Annex E Cum-Ex

transactions.


35.       Mr. Hayden misstates the relevant cost for the IDBs in his determination of the economic

rationality of the Cum-Ex trades. He states that, “through the market claim process, these shareholders

paid the 73% dividend payment to ED&F. Even if such costs arose out of a securities lending

transaction and not the purchase of shares, they would be economically rational for a market

counterparty without tax-advantaged treatment.” 29


36.       There are three possible ways in which an IDB could have covered its Cum-Ex sale to the

Pension Plans. The fact that the IDB paid 73% to the Pension Plans is not a relevant point of comparison

in any of these three situations. In fact, while Mr. Hayden and I disagree on the characterization of the

dividend compensation payment, we agree that the payment is simply an inevitable consequence of

agreeing to enter into the transactions at the Cum-Dividend price. The three possible approaches can

be described as follows:


      1. Option 1: An IDB has an existing long position it is simply selling and so it just delivers those

          shares on T+4, or alternatively and equivalently, buys the shares in a regular-way market

          purchase at the same time it enters into the Cum-Ex sale.




29
  Hayden Report, ¶50a. Elsewhere in this report I explain at length why it is incorrect to refer to these
payments as market claims in the sense that Mr. Hayden does.

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       2. Option 2: The IDB does not own the shares and enters into a future 30 on T+0, 31 but then

           arranges a stock loan to borrow the relevant shares in time to settle the Cum-Ex sale on T+4.

           Note that one cannot entirely rule out that the IDBs may have borrowed shares for a few days

           to deliver under the Cum-Ex sales in some transactions. However, for the IDB to be in receipt

           of a real dividend to pass on, these stock loans would have needed to settle before the Record

           Date, which is implausible for the reasons described below.

       3. Option 3: The third possibility is the futures hedge and Ex-Dividend purchase approach, which

           was used by MPT Dubai in all the Annex E Cum-Ex transactions that I have reviewed. 32 In

           this scenario, the IDB purchases futures to hedge price risk on the Trade Date (T) of the Cum-

           Ex sale. Next, on T+1 it purchases the shares on a regular-way T+3 Ex-Dividend basis 33 and

           sells futures to offset the Trade Date futures purchase (i.e., the initial futures hedge). For

           reasons I describe later in this report, it is overwhelmingly likely that this was the approach

           used in the non-Annex E Cum-Ex sales.


37.        In the first option, which Mr. Hayden suggests may have been used by Lutetia Capital, 34 the

dividend compensation payment made to the Pension Plans is not the relevant point of comparison.

Instead, it is the question of what Lutetia Capital would have received had it held onto the shares or

what its alternative options were (i.e., its opportunity cost). For a stock loan that settled before the

Record Date, the relevant cost of the hedge is the dividend compensation payment paid by the IDB

under the stock loan.




30
  Of course, in theory, other hedges could be used. However, as I discuss later in this report, there is
overwhelming evidence that the Cum-Ex sales were matched with futures hedges.
31
     Where T+0 equals the Trade Date.
32
  I explain this approach in some detail in the Wade Initial Report. See, for example, the description of the
Annex E Cambridge Way – MPT Dubai COLOB 2013 transaction. Wade Initial Report, Section VII. B. 1.
33
  Note that I assume a standard market settlement cycle of T+3 here. Similar logic applies to later trades, but
with T+3 for the Cum-Ex sale and T+2 for the regular-way purchase.
34
     Hayden Report, ¶49c. iii.

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38.        Contemporaneous evidence strongly supports the notion that the true opportunity cost in these

trades was around 88-92% of the dividend (significantly higher than the 79.8% average observed in the

Cum-Ex transactions). As I will explain below, many IDBs could have earned 85% or more of the

gross dividend without doing anything if they were the existing owners of Danish shares. Accordingly,

even if I set aside my own market knowledge and experience as well as other evidence of coordination

included in this and my earlier reports, it is implausible that the Cum-Ex sellers received the real

dividend.


             1.      Mr. Hayden Points to a de Minimis Price Difference Between Annex E Trades
                     That ED&F Man Has Acknowledged as Improper and Non-Annex E Trades.
                     In Fact, His Explanation Merely Highlights the Slight Premium That Was
                     Necessary for ED&F Man to Pay to Include External IDBs in the Non-Annex E
                     Trades. This Premium Was Demonstrably Not Incurred in the Annex E Trades
                     Which Were Only Restricted to Internal Parties.

39.        Appendix C of the Wade Initial Report includes 86 Cum-Ex trades which took place at an

average “all-in” pricing of 79.8% of the gross dividend. Mr. Hayden provides two key objections to

my analysis. The first is his claim that I have not appropriately distinguished between Annex E and

non-Annex-E Cum-Ex transactions. He recalculates an average all-in price of 79.6% for the Annex E

Cum-Ex trades and 81.7% for the non-Annex E Cum-Ex trades. 35 In view of contemporaneous

evidence which suggests that a real dividend was worth 87-92% of the gross dividend, the results of his

analysis do not impact any of my earlier conclusions or the analysis in the forthcoming sections because

they are still substantially below the observed market price for real dividends.


40.        Mr. Hayden concludes his analysis by stating that “the cum-ex structure conferred cost

advantages vis-à-vis the cum-cum structure.” 36 I agree that Cum-Ex trades had considerable advantages

both in cost and ability to scale, which all stemmed from not having the inconvenience of sourcing or

paying for real shares with real dividend entitlements. His attempt to differentiate between Annex E




35
     Hayden Report, ¶50 c.
36
     Hayden Report, ¶50 e.

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and non-Annex E transactions only demonstrates the cost advantage of using an internal captive IDB

compared to paying for the similar services of an external IDB.


41.        Mr. Hayden’s second point is that a handful of outlier transactions demonstrate that my use of

pricing as an indicator is unreliable. 37 In fact, of the 86 Cum-Ex transactions reviewed there are only

three outliers trades that occurred at a price above 83%. 38


42.        In his report, Mr. Hayden highlights these three transactions as well as one Cum-Cum trade that

took place at 79.3%. 39


43.        I reject Mr. Hayden’s conclusion that these isolated exceptions prove that my analysis of Cum-

Ex pricing is flawed. Rather, based on my review of the evidentiary record I conclude that these

exceptions can be explained by the fee arrangements used for passing the net profits between ED&F

Man, the Investment Managers, and the Pension Plans. 40


44.        For example, in the case of Trade 44 (Annex E Newsong IC DC Sept 2014) it appears that the

pricing of the hedging instrument does not reflect the actual terms of the deal agreed between Acer and

ED&F Man and that in fact, the parties had agreed to pricing of 80% of the gross dividend like so many

other Cum-Ex transactions.




37
     Hayden Report, ¶50 e.
38
     Wade Initial Report, Appendix C, Trades 2, 3, and 44.
39
     Hayden Report, ¶50 d.
40
  This reason clearly explains the pricing of Trade 44 as I will explain below. It is possible that the differences
on Trades 12 and 13 could also be explained by one or more routine factors that reflect the inherent
imperfections of a large trading operation, such as the inevitable occasional booking error, or some other one-off
impacts for which the parties agreed to adjust pricing.

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45.       In this transaction, Acer and ED&F agreed to round trip 41 50,000 shares in 10 shapes of 5,000

each and instead of the normal futures hedge they entered into a total return swap (“TRS”). 42 The

settlement of this transaction was facilitated by a stock borrow of 5,000 shares from Jefferies which

crossed the Record Date of September 29, 2014. 43


46.       Taking the price of the TRS at face value, it appears that the “all-in” dividend sourcing cost is

99.7% (as included in Appendix C of the Wade Initial Report). The TRS confirm suggests that the

actual all-in cost was 100%. 44 However, a different story is shown by the “P&L summary” produced

by ED&F Man and shared with Acer. 45 The sum of column “X” of this spreadsheet shows a net loss of

DKK339 from the perspective of Newsong. However, the “P&L summary” table ignores the TRS and

simply deducts the ED&F Man brokerage and stock loan costs plus an amount labelled “Div”, which is

an amount equal to 27% of the gross dividend on the 5,000 shares borrowed from Jefferies. Column

“AC” helpfully shows the various “P&L Summary” items as a percentage of the gross dividend, and it

can be seen that the “Trade Profit” is 20% of the gross dividend i.e., the real pricing of this transaction

from Newsong’s perspective was 80% of the gross dividend, in line with the other Cum-Ex transactions.


47.        Accordingly, I reject the suggestion that the pricing of outliers (which comprise approximately

3% of the transactions reviewed) is meaningful to an overall understanding of how these schemes were




41
  Since the use of such techniques is discussed extensively elsewhere in this report and my earlier reports, I do
not repeat that discussion here.
42
  See, ED&F-00189961 for the original trade request, ED&F-00081248-57 for the Cum-Ex purchase confirms,
and ED&F-00189967 for the TRS confirm.
43
     ED&F-00317370.
44
  The TRS confirm notes that the Dividend Amount will be “equivalent to 100% of the gross dividend” such
that it appears that the TRS passed the full benefit to ED&F Man and then the parties must have allocated the
appropriate profit split later once the tax reclaim had been received. Note that the parties referred to the TRS as
a “Price Return Swap” or “PRS” but given that it includes payments of a Dividend Amount it appears to be a
TRS. ED&F-00189967. The difference between this and the calculated 99.7% appears to be the net loss of
DKK339.
45
  See, AIGKAMCO_00000553.xlsx which is a spreadsheet prepared by ED&F Man and sent to Alan Goldman
of Acer for his “review/approval”.

                                                              20
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arranged. The participants’ actions clearly demonstrate agreement that approximately 7% of the gross

dividend (or 26% of the tax reclaim) 46 was reasonable compensation for the IDBs’ role in executing

the Cum-Ex transactions. This is what the relative consistency of the Cum-Ex transaction pricing

demonstrates.


          2.       Mr. Hayden’s Suggestion That It Is Economically Rational to Sell a Dividend
                   for Any Price Above 73% Is Wrong and Ignores Contemporaneous Evidence
                   That a Tax-disadvantaged Owner Could Earn Around 90%

48.     The European equity finance market in which the IDBs operated in at the time of the

transactions at issue was very well developed. There was a range of counterparties that were actively

looking to match advantaged and disadvantaged counterparties. Relying on the trade packs that I have

reviewed in this case alone, one can see that Scotiabank, Morgan Stanley, Natixis, Macquarie, MUFG,

HSBC, ICAP, Link, GFI Securities, Commerzbank AG, and Cantor Fitzgerald all actively transferred

Danish shares around the dividend events. 47 Similarly, all the largest equity finance businesses engaged

in various forms of stock lending of similar equity finance transactions during the relevant time period.

In summary, the evidentiary record in this matter clearly demonstrates that there was an established

market level for transferring shares with the right to real dividends.


49.     Appendix F of the Wade Initial Report includes 53 different Cum-Cum trades arranged by

ED&F Man for its clients. The average dividend price of these trades is 89.5%. Trade 23 is priced the

lowest in this sample of trades at 87.7%. This average dividend price is substantially higher than the

79.8% average calculated for the Cum-Ex transactions and represents a difference of 9.7% of the gross

dividend. In terms of equity spreads, this amount is a very large margin.




46 7% compensation is calculated by taking the Appendix C average price of 79.8% and subtracting 73% Net
Dividend rounded to one significant figure. This is 25.9% (= 7%/ 27%) of the withholding tax reclaim.

47 See the following trade packs and other documents for trades including each of these counterparties:
Scotiabank: ED&F-00444356, Morgan Stanley: ED&F-00193974, Natixis: ED&F-00112387, Macquarie:
ED&F-00257556, MUFG: ED&F-00045042, HSBC: ED&F-00202588, ICAP: ED&F-00190440, Link: ED&F-
00190797, GFI Securities: ED&F-00190899, Commerzbank AG: ED&F-00193949, and Cantor Fitzgerald:
ED&F-00212376.

                                                         21
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50.      To put this margin into context, for a trade of 2 million shares over the TDC March 2014

dividend event, 9.7% of the gross dividend is the equivalent of DKK426,800, 48 which represents a

spread of around 40 bps 49 on a relatively short-dated trade. This was a very significant margin compared

to typical financing spreads which, in my experience, often ranged between 5-20 bps annualized (i.e.,

less than 1 basis point on a one-week trade). 50 It is inconceivable that a sophisticated financial

institution with a meaningful quantity of shares that were entitled to a real dividend would give up a

real dividend at levels of around 80% of the gross dividend when it could have ‘upgraded’ its dividend

level to 88-92% depending on the supply and demand for a given dividend event. 51 It is equally

inconceivable that sophisticated market participants like ED&F Man and the Investment Managers

would have been unaware of the significance of the price differentials between the Cum-Ex and Cum-

Cum transactions such that I reject entirely the suggestion that they might not have known that the Cum-

Ex sellers did not own shares that were entitled to a real dividend. 52




48
  Gross dividend per share of DKK2.2 x 2m shares x 9.7%. 2 million is not the largest trade. For example, in
this same dividend event Hamlyn LP “acquired” 24m shares. ED&F-00041067.
49
  The spread is the opportunity cost divided by the transaction notional. Using DKK53 as a prudent
approximation of the value of a TDC share at a Cum-Dividend price, the spread is 40.3 bps = (DKK426,800 /
(2,000,000 x DKK53).
50
  20 basis points per annum / 52 weeks = 0.38 basis points of fee as an absolute amount of the transaction
notional.
51
   Supply and demand can vary for a range of reasons. For example, high dividend yield shares were more
attractive because there was more opportunity for profit. Similarly, during peak times of the European dividend
season (approximately March to June), traders needed to allocate balance sheet, funding lines, and credit limits
to the most valuable dividend events which made particular dividends more or less in demand.
52
   By way of example, two spreadsheets relating to Acer trading activity clearly show that Acer was well aware
of the distinction. The first (ACER_00010838.xlsx), is a January 30 (pre-trade) chart used to plan trades and
determine the amount of capital that would be needed to trade. The second (ACER_00003910.xlsx) is a post-
trade spreadsheet from Mr. Goldman of Acer to Kingham that has the trades actually completed. Both
spreadsheets contain an all-in column where it can clearly be seen that Cum-Cum transactions are meaningfully
higher than Cum-Ex transactions. In the post-trade spreadsheet, it can be seen that Cum-Cum is 91.5%, non-
Annex E Cum-Ex is 84.5% and Annex E Cum-Ex is 80%. Stacey Kaminer of Acer tried to explain these
differences at her deposition as a function of the “underlying dividend entitlement” of the seller but this is non-
sensical. The market price of an asset is determined by the aggregate supply and demand for the asset across all
market participants – the tax status of the seller may determine the minimum price at which the seller is
prepared to sell but it is of no relevance in determining what any buyers would be prepared to pay to acquire the
shares.

                                                              22
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51.      In addition, many of the IDBs were not as tax-disadvantaged as Mr. Hayden assumes.


           3.       IDBs With Existing Long Positions May Have Been Able to Earn 85% or More
                    of a Real Gross Dividend Payment by Simply Doing Nothing

52.      As explained above, the relevant question is what the IDBs’ alternative courses of action were

if they held shares and considered using those shares to settle a Cum-Ex sale. Mr. Hayden states that a

tax disadvantaged holder would have suffered withholding tax of 27%. 53 However, his argument

ignores the existence of the double taxation treaties which Denmark has entered into, many of which

reduce the dividend withholding tax rate to 15%. In particular, under the Denmark-United Kingdom

Double Tax Treaty in force at the time, the withholding tax rate was limited to 15% such that the correct

‘do nothing’ point of comparison had the U.K. tax resident IDBs held shares over the Record Date is

85% of the gross dividend. 54


53.      For example, MUFG Securities EMEA PLC (“MUFG”) 55 was a common non-Annex E Cum-

Ex seller. It is incorporated in England and Wales. According to its annual accounts for the year ended




53
   Hayden Report, ¶50 a. Note that in his footnote, Mr. Hayden refers to a 42% marginal rate in Denmark, but it
is not relevant for a couple of reasons. First, the rate he quotes is a Personal Income Tax rate which was not
relevant to any of the IDBs because they are corporates and not subject to Danish corporate income tax in any
event. Second, withholding tax is a tax on gross income and is accordingly grossed up when preparing
accounting profits under IFRS. Any expenses paid would generally be deducted to generate a net profit for
accounting and tax purposes.
54
  See, Article 10(2) of the U.K./DENMARK DOUBLE TAXATION CONVENTION, signed November 11,
1980 (as amended by protocols signed July 1, 1991, and October 15, 1996), which provides that:

         “(2) However, subject to the provisions of Council Directive 90/435/EEC of 23rd July 1990, such
         dividends: (a) may also be taxed in the Contracting State of which the company paying the dividends is
         a resident and according to the laws of that State, but if the beneficial owner of the dividends is a
         resident of the other Contracting State the tax so charged shall not exceed 15 per cent. of the gross
         amount of the dividends;”

Available at:
https://assets.publishing.service.gov.uk/government/uploads/system/uploads/attachment_data/file/496664/denm
ark-uk-dta-consol_-_in_force.pdf, last accessed February 24, 2022.
55
  Note that MUFG was known as Mitsubishi UFJ Securities International Plc during the Relevant Period. See,
Companies House Change of name NM01 filed July 1,2016. Available at https://find-and-update.company-
information.service.gov.uk/company/01698498/filing-
history/MzE1MjAzODA0MmFkaXF6a2N4/document?format=pdf&download=0, last accessed February 3,
2022.

                                                            23
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December 31, 2014, MUFG was “the London-based international capital markets subsidiary of

[Mitsubishi UFJ Financial Group]” and was active in fixed income, equity and structured finance

products.” 56 Therefore, it was subject to U.K. corporation tax on its profits. 57 Accordingly, it would

have been entitled to a partial refund of 12% on any Danish dividends received meaning that a dividend

paid by a Danish company was worth 85% of the gross dividend to MUFG. The dividend was

potentially worth more prior to January 1, 2014, under the earlier form of the U.K. manufactured

overseas dividend rules. Under these rules it was possible for certain dealers to credit the overseas tax

that they suffered against certain other U.K. tax liabilities. 58


54.        Based on my experience and detailed understanding of market practice at the time, as a rational

market participant, MUFG would not have entered into a transaction under which it agreed to sell its

rights to a dividend 59 worth 85% of the gross dividend at an all-in pricing level of 77.9% 60 using shares

it had from a long inventory position that it expected to hold over the dividend Record Date. 61




56
  See, Principal Activities Section of the Directors Report on page 1 of the Annual Report for Mitsubishi UFJ
Securities International PLC for the year end December 31, 2014. Available at https://find-and-
update.company-information.service.gov.uk/company/01698498/filing-
history/MzEyMzgxMzA0MWFkaXF6a2N4/document?format=pdf&download=0, last accessed February 3,
2022
57
     Ibid. See, note 7 (“Taxation”).
58
  A discussion of these rules is beyond the scope of this report. The HMRC guidance on those rules up to
January 1, 2014, is available at: https://www.gov.uk/hmrc-internal-manuals/corporate-finance-
manual/cfm74300, last accessed February 3, 2022.
59
  See, for example, Trade 6 in Appendix C of the Wade Initial Report (ED&F-00044265 at 71) in which MUFG
sold 1.5m Tryg shares to ED&F Man on a Cum-Ex basis. The trade date was April 18, 2013, and it settled T+4
on April 24. This trade was conducted in relation to the dividend with Record Date April 23, 2013, and this
dividend was declared on February 7, 2013. Bloomberg.
60
  Ibid. ED&F Man purchased 1.5m shares from Mitsubishi at DKK 479.40 per share (ED&F-00044265, at 71)
and sold offsetting futures at DKK 459.1581 per share (ED&F-00044265, at 74). The gross dividend was DKK
26 per share (ibid), which equates to dividend pricing of (479.40 – 459.1581) / 26 = 77.9%.
61
  In many cases it is not possible to determine the tax residence of the Cum-Ex seller because the legal entity
name of the seller is not specifically provided, and most large financial institutions operate through a variety of
entities and branches. However, one can see that ICAP Securities Limited was another Cum-Ex seller (see
ED&F-00026581- ED&F-00026595, at 89) that is also incorporated in England and Wales. Note 12 to its
accounts for the year end March 31, 2014, also indicates that it was subject to U.K. Corporation Tax (accounts


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55.         Even in the absence of other strong evidence cited elsewhere in this report, it is my opinion that

an economically rational and sophisticated arm’s-length counterparty like MUFG would not have

entered into a transaction under which it sold the right to a dividend more than 7 dividend points below

the market level. 62


56.         That leaves two alternative explanations:


       1.          MUFG did not own the long position, contrary to Mr. Hayden’s suggestion; or


       2.          MUFG and ED&F Man intended to double-dip the same dividend with MUFG claiming a

                   refund up to 85% and ED&F Man claiming a full refund on behalf of the Pension Plan.


57.         In either of the above two situations, ED&F should not have issued the Tax Vouchers because

its clients were not the owner of the dividend. The evidence from the futures hedging and settlement

records cited in later in this report supports the first alternative explanation.


              4.        Evidence in the Record and My Market Experience Suggest That the
                        Availability of Danish Shares Was Subject to Constraints

58.         Danish shares on the whole are held by relatively few individuals and institutions, who hold

them for long periods. As a result, they are generally illiquid. 63 In my experience, sourcing Danish




available from Companies House https://find-and-update.company-
information.service.gov.uk/company/00500777/filing-history?page=4, last accessed February 24, 2022).

Further, based on my knowledge from the Relevant Period, the majority of the IDBs listed in Appendix 2 of the
Statement of Agreed Facts at ¶10 operated through a U.K. broker/dealer.
62
  Seven dividend points means 7% of the dividend. Selling a long position via the Cum-Ex transactions would
result in a material loss compared to the available alternatives that yielded 85 to 90% of the dividend.

For example, using the 77.9% pricing in the previous footnote versus the 85% available to MUFG by doing
nothing, (85% - 77.9%) * DKK 26 dividend per share * 1.5 million shares = 7.1% * DKK 26 * 1.5m = DKK
2,769,000. This is approximately $484,000, using the exchange rate of 0.1751 given in ED&F-00044265, at 79.

If I instead use the average Cum-Cum dividend price of 89.5%, I get (89.5% - 77.9%) * DKK 26 dividend per
share * 1.5 million shares = DKK 4,524,000 or approximately $792,000.
63
     Wade Initial Report, ¶¶68, 103, and 143.

                                                            25
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shares for stock lending trades involved time and effort beyond what one would need to invest to source,

for example, French, or German shares.


59.          The evidence produced in this matter is supportive of this view. For example, I reviewed a

Bloomberg chat between Freddie Ireland, an ED&F trader, and a trader at Scotiabank. 64 In the chat,

Mr. Ireland asks his counterparty to borrow some shares of several Danish firms, each in a different

shape. 65 As can be seen from the specific shares and shapes, Mr. Ireland is trying to unwind trades on

behalf of the Acer pension plans. 66 However, sourcing Danish shares is not that easy. After a few

minutes, the Scotiabank trader replies, “Will check these… Danish are usually a little more tricky.”

More than an hour later the Scotiabank trader reports back, “Can do: MAERSKB DC 8,000 NOVOB

DC 2,290,000 at 75bps, waiting to hear on the others… I have partials on the others, waiting to hear

from another lender.” 67 Mr. Ireland was not at all surprised that his counterparty was only able to find

two shapes of the seven he asked for. He replied, “ok bud thanks… MAERSKB I thought would be the

tough one!... we can try again tomorrow, no hurry.” 68 Mr. Ireland contacted the Scotiabank trader the

next morning to inquire about the rest of the shapes he needed. 69 This time it took the Scotiabank trader

over 2.5 hours to confirm that he had located the rest. 70 Another 1.5 hours passed before the trader




 ED&F-00444356. In the chat, the Scotiabank trader is identified only by his Bloomberg username. Bank of
64

Nova Scotia is the official name of Scotiabank.
65
  ED&F-00444356, at 57: “(Jun 10 10:41:04 AM EDT) FIRELAND (ED & F MAN CAPITAL): have some
GC non div Danish borrows… can you help? … Stock Borrow COLOB DC 430,000 DANSKE DC 2,912,500
DNORD DC 86,000 MAERSKB DC 8,000 NOVOB DC 2,290,000 TDC DC 3,030,000 TRYG DC 85,000…
13-16/6.” There follows the specific requests (stock codes and shapes) and the dates for the requested borrow.
66
     See the discussion elsewhere in this report.
67
     ED&F-00444356, at 58.
68
     Ibid.
69
  ED&F-00444356, at 59: “(Jun 11 04:15:44 AM EDT) FIRELAND (ED & F MAN CAPITAL): anything back
on the remaining names yet?”
70
  ED&F-00444356, at 59: “(Jun 11 06:52:55 AM EDT) SBREATHNACH (BANK OF NOVA SCOTIA):
Should be good on all these at 75bps… Just firming them up.”

                                                            26
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confirmed three more shapes, 71 then another hour to confirm the Danske shares, with a note that

“DNORD is proving more difficult looking around some more for this.” 72 At this point the chat ended,

apparently without the last of the seven shapes being confirmed.


60.          In my experience, this chat reflects the reality of the market. Danish shares were not a priority

for sales teams to source compared to the more liquid and lucrative French, German, and Italian shares,

and so were more difficult to find. Mr. Ireland needed seven different shapes and was only able to

locate six over two days.


61.          As the chat makes clear, at the time of the request to borrow the shares, they had general

collateral (“GC”) status. 73 This is market terminology meaning that there is no particular reason why

the shares are in particular demand. Occasionally, shares will go “special” which typically indicates an

upcoming corporate action like a dividend, merger, or rights issue or a specific reason why the market

wants to be able to short the shares. When shares go special, stock lenders charge more to lend shares

and also restrict loans to their favored clients. These Danish shares were all GC because there was a

considerable period before their respective Record Dates.


62.          Notwithstanding their GC status, the challenge of sourcing Danish shares comes into clearer

focus when the size of the shapes Mr. Ireland was borrowing is compared to the size of the position that

ACER was unwinding. For example, Mr. Ireland sourced 3,030,000 TDC shares, whereas ACER

unwound a position exactly 10 times as large over the next few days. 74 Given the considerable effort it

took to locate 3.03 million TDC shares when they were not in particular demand, it is very hard to

imagine that ED&F Man traders would have been able to locate the 74.3 million TDC shares it claimed




71
  ED&F-00444356, at 60: “(Jun 11 08:28:26 AM EDT) SBREATHNACH (BANK OF NOVA SCOTIA):
These are done COLOB DC 430,000 66.39 TDC DC 3,030,000 7.24 TRYG DC 85,000 71.77.”
72
     Ibid.

 ED&F-00444356, at 57: “(Jun 10 10:41:04 AM EDT) FIRELAND (ED & F MAN CAPITAL): have some
73

GC non div Danish borrows… can you help?”
74
     See the discussion elsewhere in this report.

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Cum-Ex over the Record Date, when the shares would have been in much greater demand regardless of

how hard ED&F Man tried.


     B.     Opinion 2: Mr. Hayden’s Conclusion That the Payments ED&F Man Received Were
            Real Dividends Passed on Through Market Claims Is Wrong, Contradicted by the
            Contemporaneous Actions of the Custodians, and Unsupported by His Extensive
            Citations Which Simply Establish That OTC Transactions Can Be Executed on
            Whatever Terms the Parties Agree.

            1.       Mr. Hayden and I Agree on the Definition of Market Claim but Not Its
                     Application to the Transactions at Issue. Except for One Cum-Dividend
                     Transaction That Failed, the Industry Market Claim Guidance He Cites Is
                     Irrelevant.

63.       Mr. Hayden and I agree that an appropriate definition of the market claims is the one given by

the TARGET2-Securities (“T2S”) Corporate Actions Standards which are published by the European

Central Bank. 75 The standards define a market claim as:


      “a process to reallocate the proceeds of a distribution to the contractually entitled party [emphasis

added].” 76


64.       Mr. Hayden however rejects the plain English meaning of the definition and instead appears to

interpret them as:


          a process to reallocate the proceeds of a distribution to [the buyer in all instances where the
          buyer agreed to buy the shares before the Ex-Dividend Date]. 77




75
  T2S Corporate actions standards – Market claims, available at:
https://www.ecb.europa.eu/paym/target/t2s/governance/pdf/casg/ecb.targetseccasg130316_T2SMarketClaimSta
ndards.en.pdf?bf450b0be5b3dabe36b05487e03be4e0, last accessed February 18, 2022.
76
  T2S Corporate actions standards – Market claims, p. 3, available at:
https://www.ecb.europa.eu/paym/target/t2s/governance/pdf/casg/ecb.targetseccasg130316_T2SMarketClaimSta
ndards.en.pdf?bf450b0be5b3dabe36b05487e03be4e0, last accessed February 18, 2022.
77
  See, for example, Hayden Report, ¶32 d. which quotes SEC guidance: “if you purchase before the ex-
dividend, you get the dividend.” Later, in ¶33 Mr. Hayden cites a series of authorities in support of the
proposition that “the holder of the shares immediately prior to the ex-dividend date will receive the dividend.”
Read literally, the second statement means that the Cum-Ex purchaser would not receive the dividend. I agree
with this interpretation, but for different reasons which I discuss below. However, Hayden Report, ¶33 read in


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65.      Mr. Hayden supports his interpretation with various citations about the T2S standards on

corporate actions and guidance from various exchanges. However, as covered in a later section, he and

I agree that these trades were over the counter (“OTC”) trades and therefore the guidance he cites is

inapplicable because it assumes that the parties have transacted using regular-way exchange terms. In

addition, he selectively cites parts of the guidance, and a more careful review shows that it speaks to a

range of possible processes that can be applied, depending on what is indicated in the contract between

the parties. Finally, he also conflates the process of sub-custodians passing on a real dividend receipt

to the ultimate owner of record with a market claim where the sub-custodian itself did not receive a real

dividend but instead has to recover the payment from a third-party custodian who held the shares over

the Record Date. Although in both cases a cash credit may be passed along through a chain of sub-

custodians, it does not mean that the nature of the payment is the same. However, for reasons provided

elsewhere in this report, this final point is moot, because the evidence overwhelmingly suggests that in

any event the ultimate payer of the dividend compensation payments in the Cum-Ex transactions did

not have a real dividend to pass on.


66.      First, Mr. Hayden cites a number of sources for his interpretation of a market claim, and I

address each of these in turn.


67.      Mr. Hayden discusses the T2S 78 procedures and guidelines, but all these various rules and

procedures do is to put in place a wide range of procedures to make sure that the real dividend is passed




totality suggests that what Mr. Hayden means to say is that anyone who agrees to purchase shares before the Ex-
Dividend Date will receive the dividend.
78
  T2S describes itself as “a safe platform where the exchange can happen simultaneously, i.e., where delivery
versus payment is possible.” It goes on to say:

          “Instead with T2S we have a common platform on which securities and cash can be transferred
         between investors across Europe, using harmonised rules and practices. Currently 20 European
         countries use T2S.

         Banks pay for securities on the platform using the account they have with their central bank, so the
         money used to settle transactions is central bank money. As a result, transaction risk is greatly
         reduced.”

Available at: https://www.ecb.europa.eu/paym/target/t2s/html/index.en.html, last accessed February 15, 2022.

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to the contractually entitled party. These procedures and guidelines do not support Mr. Hayden’s view

that any trade executed before the Ex-Dividend Date grants the buyer the right to a dividend. Rather,

the T2S guidance simply confirms that all permutations of settlement are possible and provides

guidelines on what to do in each case.


68.        For example, Mr. Hayden refers to T2S Corporate Action Standards: Market Claims guidance79

and notes that its provisions refer to “the scenario where the contractually entitled party has not received

the underlying securities (there is a pending underlying transaction) at close of business on Record

Date.” 80 The footnote to this statement is as follows:


           “However, and in line with the market standards for CAs [Corporate Actions], the T2S
           standards also cover the scenario where the buyer creates the market claim to the seller,
           when trade date is on or after Ex Date and Actual Settlement Date is on or before Record
           Date (i.e., there is no pending transaction). In some markets this case is referred to as
           “reverse market claim.”



69.        The Corporate Actions Joint Working Group – Market Standards for Corporate Actions

Processing (“CAJWG Guide”), 81 which is also published on the ECB website in the Corporate Actions

Sub-group section 82 defines two different settlement dates as follows:


               1.      Actual Settlement Date – “Date on which the settlement effectively takes place.”


               2.      Intended Settlement Date – “Date on which a Transaction is due to settle.”




79
     Hayden Report, ¶37.
80
     Hayden Report, ¶37a.
81
  The CAJWG Guide is available at:
https://www.ecb.europa.eu/paym/target/t2s/governance/pdf/casg/ecb.targetseccasg120606_MarketStandardsFor
CorporateActionsProcessingCAJWGStandardsRevised2012Updated2015.en.pdf?5a5c8308c24a6618ed600daf6
27df86c, last accessed February 15, 2022.
82
  See, https://www.ecb.europa.eu/paym/target/t2s/governance/html/casg.en.html, last accessed February 15,
2022.

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70.         Although the CAJWG Guide points out that definitions “given in this glossary are for the

purpose of the standards on Corporate Actions only and are not intended to have any legal connotations

or to reflect current market practices,” 83 it later states, “[c]oncurring Bilateral Input should allow to

determine whether the underlying trade is “ex” or “cum” and the (I)CSD or CCP2 should take this into

account for the creation of a Market Claim, irrespective of the actual Ex Date.” 84 The latter statement

confirms that the guidance is intended to provide processing standards that correctly achieve what the

parties have contractually agreed and not set overall determinative rules.


71.         The T2S market claim standards themselves permit transaction parties to include an Opt-Out,

Cum-Dividend, or Ex-Dividend indicator in the confirming SWIFT message for the transaction. 85


72.         The Clearstream Compensation Handbook, 86 which Mr. Hayden also quotes as an authoritative

source for his position, is equally non-determinative. It simply reiterates that the processing should

allocate the dividend to the contractually entitled person and explains the various processing options.

For example, Mr. Hayden quotes section 2.4 of the handbook which states that market claims are

processed “if a security is traded “cum” (with coupon) but settled after entitlement,” 87 but incorrectly

suggests that the guidance means that any trade before the Ex-Dividend Date must have a market claim

processed. However, he ignores sections that appear later in the same chapter on OTC transactions.




83
     Ibid. Glossary, at p. 6.
84
     Ibid, p. 41.
85
  The SWIFT ISO Standards include a NOMC Identifier and SPEX and SPCU Identifiers which can be used in
relevant SWIFT Messages to signify a Special Ex (which is the same as a Cum-Ex trade as defined in the Wade
Initial Report) and Special Cum transaction. However, the guidelines were significantly updated in 2015, so
these particular codes may not have been available at the relevant time. For details on NOMC identifier, see,
https://www.iotafinance.com/en/SWIFT-ISO15022-View-Code-NOMC.html, last accessed February 23, 2022;
for details on SPEX and SPCU identifiers, see, https://www.iso20022.org/15022/uhb/mt541-33-field-22f.htm,
last accessed February 23, 2022.
86
  Available at:
https://www.clearstream.com/resource/blob/1316782/43a60afa470c37ba74f7cb2d6949e71c/compensation-
handbook-cata-en-data.pdf (“Clearstream Compensation Handbook”), last accessed February 15, 2022.
87
     Hayden Report, ¶37 c. and Clearstream Compensation Handbook, Section 2.4.1.

                                                           31
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These sections explain that there are three flags: Ex flag, Cum flag, and Opt-out flag. The description

of the Ex-flag states that if “both counterparties set the flag TTCO//XCPN the trade is treated as an ex-

trade, irrespective of the trade date. In such cases, no market claims are executed but reverse claims are

processed.” 88 Again, it is clear that the guidance on processing does no more than explain how parties

should process settlements depending on the intended terms of their transaction.


73.        Finally, Mr. Hayden refers to the International Securities Services Association (“ISSA”)

guidance which states that a “market claim instruction type should be used to ensure that proceeds of a

distribution (cash and/or securities) reach the contractually entitled parties in case they have not already

received full entitlement on record date.” 89      However, the full entitlement referred to in the ISSA

guidance is simply a question of whether the buyer has received the full number of shares which they

are entitled to by the Record Date. Market claims are processed independently of the share settlements

themselves under T2S and are not processed until Payment Date. In this context, full entitlement means

that a party expected to buy 100 shares Cum-Dividend and all 100 settled on or before the Record Date.

This scenario is markedly different from one with a partial settlement, e.g., 60 shares settled and there

is a market claim on the remaining 40 shares. In the Cum-Ex transactions at issue in this matter there

was no entitlement at the Record Date, so no market claim needed to be processed.


74.        In conclusion, the guidance cited by Mr. Hayden is irrelevant in this matter as it simply returns

one to the question of what the parties contractually agreed to. For the reasons provided in the Wade

Initial Report and elsewhere in this report, the parties structured the Cum-Ex transactions to deliver Ex-

Dividend shares, and the seller had no intention of selling any rights to a dividend, primarily because

the seller did not have any.




88
     Clearstream Compensation Handbook, Section 2.5.1.
89
  Hayden Report, ¶37 c iii. and ISSA Annex to the Report on Global Corporate Actions Principles, available at:
http://issanet.org/content/uploads/2013/04/ISSA_Issuer_Outreach_Final.pdf, last accessed February 15, 2022.

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             2.      OTC Trades Are Not Subject to the Extensive Exchange Rules Cited by Mr.
                     Hayden. Therefore, His Citations to Support His Opinions on OTC Trades Are
                     Irrelevant and Unpersuasive.

75.        Mr. Hayden and I agree that the trades at issue in this matter are OTC transactions. 90 In spite

of this commonality, Mr. Hayden relies considerably on exchange trading rules, yet the vast majority

of them do not apply to the transactions at issue.


76.        Mr. Hayden states without authority that “the rules governing the sale and purchase of shares

on exchange are designed to ensure that the holder of the shares immediately prior to the ex-dividend

date will receive the dividends.” 91 Instead, the exchanges create specific rules governing the terms on

which transactions on the exchange take place, including standard settlement cycles. One of the

consequences of these rules is that regular-way exchange traded purchases traded (i.e., contracted) prior

to the Ex-Dividend Date contractually pass the right to dividends to the buyer. In any event, the

guidance and rules cited by Mr. Hayden are irrelevant because none of the Cum-Ex transactions were

governed by the exchange rules. Having said that, I will address the various points raised by Mr.

Hayden because his partial description of many of these rules creates a false picture even for on-

exchange transactions.


77.        Mr. Hayden disputes the interpretation of the SEC guidance cited in the Wade Initial Report

which defines the Record Date as “the date by which a shareholder is required to own shares (meaning

that the shareholder is the registered owner of the shares in the shareholder register) to be entitled to




90
  See, for example, Hayden Report, ¶34 where Mr. Hayden makes several references to the benefits and pricing
of OTC transactions as well as observing that I have not relied on any Copenhagen Stock Exchange or Danish
Securities Law prohibition on extended settlement dates in OTC trades with the clear implication that he
considers the Cum-Ex transactions to be OTC transactions.
91
     Hayden Report, ¶33.

                                                          33
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receive a dividend.” 92 He states that it “does not say that the record date has an effect on who is entitled

to the dividend. Rather it states that a purchase before the ex-dividend date carries a dividend.” 93


78.        The relevant part of the SEC citation in full is as follows:


           “When a company declares a dividend, it sets a record date when you must be on the company's
           books as a shareholder to receive the dividend. Companies also use this date to determine who
           is sent proxy statements, financial reports, and other information.

           Once the company sets the record date, the ex-dividend date is set based on stock exchange
           rules. The ex-dividend date for stocks is usually set one business day before the record date. If
           you purchase a stock on its ex-dividend date or after, you will not receive the next dividend
           payment. Instead, the seller gets the dividend. If you purchase before the ex-dividend date, you
           get the dividend.” 94

79.        Contrary to Mr. Hayden’s claim, it is clear that the issuing company sets the basic condition for

an investor to acquire the right to receive a dividend. The investor must be a registered shareholder on

the Record Date. As such, the SEC guidance and associated citation reaffirms my definition of the

Record Date.


80.        The second paragraph of the SEC citation above is premised on an obvious implicit assumption

that the investor using the investor.gov website buys or sells under regular-way exchange conditions.

To illustrate, the NYSE rules define regular-way securities transactions and determine various

conditions which apply to them, including dividend rights. In particular, Rule 235 states:


           “Transactions in stocks shall be ex-dividend or ex-rights on the business day preceding the
           record date fixed by the corporation or the date of the closing of transfer books. Should such
           record date or such closing of transfer books occur upon a day other than a business day, this
           Rule shall apply for the second preceding business day. The Exchange may, however, in any
           specific case, direct otherwise.” 95




92
     Wade Initial Report, ¶29.
93
     Hayden Report, ¶32 d. and related footnote.
94
   Available at: https://www.investor.gov/introduction-investing/investing-basics/glossary/ex-dividend-dates-
when-are-you-entitled-stock-and, last accessed February 15, 2022. Emphasis in original.
95
   Available at: https://nyseguide.srorules.com/rules/document?searchId=867829828&treeNodeId=csh-da-
filter!WKUS-TAL-DOCS-PHC-%7B4A07B716-0F73-46CC-BAC2-43EB20902159%7D--
WKUS_TAL_19401%23teid-227, last accessed February 14, 2022.

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81.        The regular-way sale rules of the exchange determine the Ex-Dividend Date, and this is

confirmed by changes made when the SEC changed the standard settlement cycle for U.S. listed equities

from T+3 to T+2. This change required the NYSE to update its exchange rules to align with the new

requirements from the SEC. An announcement at the time stated the following:


           “On March 22, 2017, the SEC adopted amendments to Rule 15c61(a) to shorten the standard
           settlement cycle from T+3 to T+2. In order to conform its rules to the amendments, the [NYSE
           Operated Exchanges] proposed new rules to reflect regular way settlement as occurring on
           T+2 and which will, among other things, shorten the time period for which transactions in
           stocks shall be ex-dividend or ex-rights.” 96

82.        The SEC guidance highlights the difference between a regular-way exchange sale of securities

prior to the Ex-Dividend Date and an OTC Cum-Ex transaction in which the parties agree to deliberately

settle after the Record Date. In sum, an exchange-governed transaction contractually entitles the buyer

to the real dividend, but a Cum-Ex transaction does not.


83.        Similarly, Mr. Hayden refers to the London Stock Exchange (“LSE”) rules for Special Cum

transactions. He states that the “exception recognized by the LSE reinforces the general rule that the

purchase of a share prior to the ex-dividend date entitles the purchaser to a dividend, and the purchase

of a share on or after the ex-dividend date does not.” 97


84.        However, the general rule is very clearly stated four sections before the definition of Special

Cum trades noted by Mr. Hayden. It contains the following provision:


           “A trade in a security effected on a day (including a trade effected before the mandatory period)
           that the Exchange makes a security ex an entitlement or at any time thereafter, shall be settled
           ex that entitlement, unless otherwise agreed at the time of dealing, or as specified in rule
           5250.” 98




96
  Available at: https://www.ust2.com/pdfs/NYSE-T2-Announcements.pdf, last accessed February 15, 2022.
This amendment changed both Rule 235 and the definition of regular-way securities sales and settlement
requirements by one day.
97
     Hayden Report, ¶33c.
98
   LSE Rule 5200, available at: https://docs.londonstockexchange.com/sites/default/files/documents/rules-
lse.pdf, last accessed February 15, 2022.

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85.        This general rule indicates that a sale of securities on the LSE before the Ex-Dividend will

transfer the right to the dividend unless the parties have agreed otherwise. Again, these rules are

irrelevant because the transactions at issue were OTC transactions and not subject to LSE rules.

However, even if they had been exchange-traded, the terms of the trade would still be a question of

what the parties agreed. The consistent use of terms like “T+4” 99 in the trade emails is clear evidence

that the parties intend to deliver Ex-Dividend shares. Furthermore, as explained elsewhere in this report,

the evidence strongly suggests that the Cum-Ex sellers of shares were selling short 100 and so it makes

no sense that they intended to enter into a contract under which they were obliged to pass on a real

dividend.


86.        Mr. Hayden notes that I do not refer to any Danish law on this point in the Wade Initial Report

and suggests it is significant that I do not support my proposition by any Danish Law citations. 101 For

the same reasons that I think that the SEC and LSE guidance is of limited assistance in reviewing these

transactions, Danish stock exchange rules are similarly irrelevant. In any event, the Danish rules appear

to envisage a departure from the general rule for regular-way purchases in a similar way to the LSE




99
  See, for example, ED&F-00040919, at 49. The subject of this email is “Confirmation TDC 22,300,000 T+4.”
See also, Wall Deposition, p. 209:

           “Q And the subject line is, ‘Confirmation TDC, 22,300,000 T plus 4.’ Do you see that?

           A I do, yes.”

100
    In the case of the Annex E Cum-Ex transactions this is an agreed fact. See, for example, ED&F-00443853,
at 54, in which Rosenblatt writes to the FCA that MPT “entered into a short sale” in the first step of its “trading
strategy” around dividends. See also, Wall Deposition, p. 247: “The issue was MPT Dubai short sold the shares
on the trade date with no covering position on the trade date.” I note that there is no difference in the way the
non-Annex E Cum-Ex transaction trades were executed or confirmed by the parties.
101
      Hayden Report, ¶30.

                                                              36
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rules discussed above. 102 Equally, Mr. Hayden makes no suggestion that the concept of Record Date is

somehow different in Denmark.


87.        Mr. Hayden acknowledges that parties are free to depart from the exchange regular-way

purchase terms. He refers to LSE rules which allow trades to be subject to the exchange settlement so

long as the parties agree to settle transactions “no more than 20 days after the time of the trade.” 103

Similarly, he references VP Securities rules permitting settlement on “any settlement date from the

trading day, T+0 to T+365.” 104 He also asserts that OTC transactions “generally look to exchange

transactions and price their transaction in the same way.” He claims, without any identified authority,

that those entering into OTC transactions “consider, as a default rule, that shares purchased prior to the

ex-dividend date carry the right to a dividend.” 105


88.        Mr. Hayden’s assertions mischaracterize the structuring and pricing of OTC transactions. Two

fundamental questions that any trader asks when pricing a trade are: (i) What do I think my counterparty

will be prepared to pay? and, (ii) What is my cost of executing this transaction? Both questions require

reference to factors beyond the prevailing market price for exchange-traded shares. Mr. Hayden appears

to be suggesting that parties would agree to transact at the prevailing market price for regular-way sales




102
   The Nasdaq Market Model for Nasdaq Nordic Markets which includes the Nasdaq Copenhagen Exchange
allows for Manual Trades and section 2.1 includes the following which would allow both Cum-Ex and Ex-Cum
trades to be arranged:

           “Manual Trade with special dividend handling
           If Manual Trade is executed during the ex-dividend period where the dividend or other form of
           distribution accrues to the buyer instead of the seller; or executed during the cum-dividend period
           where the dividend or other form of distribution accrues to the seller instead of the buyer, Member
           needs to submit this information when reporting Manual Trade using Special dividend transaction
           indicator. Nasdaq Nordic publishes MiFID post- trade flag ‘SDIV’ as part of the trade publication.”

Available at: https://www.nasdaq.com/docs/2021/12/01/Nasdaq-Nordic-Market-Model-2021_09.pdf, last
accessed February 15, 2022.
103
      Hayden Report, ¶34 d.
104
      Hayden Report, ¶34 f.
105
      Hayden Report, ¶34 b.

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irrespective of the settlement terms, but this claim defies both economic logic and my professional

experience of how such trades are negotiated. A purchase where the price is agreed upon today but not

required to settle for 365 days (allowed by VP Securities) 106 is a forward transaction. The appropriate

method for pricing a forward is covered in the Wade Initial and Rebuttal Reports and also by Dr. Carr. 107

It is given by the formula:


           Forward Price = Current Market Price + Interest – Expected Dividends


89.        The approach advanced by Mr. Hayden suggests that the “Expected Dividends” term should be

zero irrespective of the settlement date of the contract. This is simply wrong. If one agrees to sell

shares today but not settle for 365 days, they will need to adjust the sale price to account not just for the

nearest dividend, but also an expectation of any dividends that may be announced and declared in the

coming twelve months. The illustrative principles that apply to a 365-day OTC forward sale apply

equally to a 4-day OTC Cum-Ex transaction.


             3.       The HMRC Guidance on Manufactured Overseas Dividends Cited by Mr.
                      Hayden Highlights the Precise Point at Issue and Supports My Position, Not Mr.
                      Hayden’s

90.        Mr. Hayden opines that the payments the Pension Plans received were real dividends based on

the HMRC Manufactured Overseas Dividend (“MOD”) rules. 108 In doing so, he misunderstands how

these rules worked and fails to recognize that the HMRC rules clearly distinguish between (i) Cum-

Dividend sales which fail, and (ii) deliberately structured Cum-Ex transactions. His conclusion would,

of course, apply to the Cum-Cum AIG TDC August 2014 transaction which was contracted to be a

Cum-Dividend purchase settling before the Record Date, but failed to settle on time. It does not apply,




106
      Hayden Report, ¶34 f.
107
      Wade Initial Report, ¶¶57 and 251, Wade Rebuttal Report, ¶145, and Carr Report, ¶¶73 – 75.
108
      Hayden Report, ¶39 a.

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however, to any of the other Cum-Ex trades which all are addressed in the earlier part of the section

which he describes. I describe this point in further detail below.


91.      As an initial matter, it is important to quote the full section of the HMRC manual in the correct

order to best understand these definitions and their evidence of contemporaneous market practice: 109


         “Manufactured payments normally [emphasis added] arise under repos (CFM46100) or stock
         loans (CFM74110) where the transaction crosses an interest or dividend date. For example,
         where a loan of overseas securities is outstanding over the dividend date, the lender does not
         receive the real dividend to which it would have been entitled had it not lent the securities. The
         borrower therefore makes a payment - a manufactured payment - to the lender as compensation
         for not receiving the real dividend.

         Manufactured payments also occur [emphasis added] where a dealer sells securities ‘cum div’
         (with dividend) but delivers securities that are ‘ex div’ (without dividend). The sum that the
         dealer pays to the buyer to compensate it for not receiving the real dividend is a manufactured
         payment. The sales that give rise to such payments are often ‘short’ sales (CFM74110): as the
         dealer does not own the securities at the time of selling them, it is required to acquire them
         between the date of the bargain and the delivery date and may only be able to acquire ‘ex div’
         stock.

         Where the recipient of a dividend simply passes on the dividend to which it is not entitled, this
         is not a manufactured payment. For example, a person may make a ‘cum div’ sale out of his
         existing shareholding (a `long’ position) and receive the dividend merely because the company
         register has not been updated to reflect the change of ownership [emphasis added]. The
         passing on of this dividend to the purchaser is not dividend manufacture. See CIR v Roberts
         13TC277 and CIR v Oakley 9TC582.” 110

92.      Contrary to Mr. Hayden’s claims, HMRC guidance plainly and clearly states that the payments

in a Cum-Ex transaction (i.e., a transaction “where a dealer sells securities ‘cum div’ (with dividend)

but delivers securities that are ‘ex div’ (without dividend)”) are manufactured dividends and expressly

distinguish such payments from a real dividend being passed on. Put another way, HMRC guidance




109
   As an aside, contrary to what Dr. Carr claims in his report (Carr Report, ¶97), the MOD rules were of direct
relevance to transactions undertaken in respect of non-U.K. shares including Danish shares because they applied
to all transactions relating to the transfer of securities undertaken by U.K. financial counterparties up until the
end of December 2013, when they were heavily modified. Thereafter, the rules still applied, albeit in a different
form.
110
   See, Her Majesty’s Revenue and Customs Corporate Finance Manual, published April 16, 2016, updated
November 23, 2021, available at https://www.gov.uk/hmrc-internal-manuals/corporate-finance-anual/cfm74430,
last accessed February 28, 2022.

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states that the payment made by the Cum-Ex sellers in the transactions at issue are not real dividends

but payments which simply happen to be calculated by reference to the real dividend. As a result,

irrespective of whether the Cum-Ex seller did in fact receive real dividends, ED&F Man should not

have issued the Tax Vouchers on these payments.


93.       Additionally, two other points are visible from the HMRC excerpt above:


      1. Although manufactured dividends are normally a result of stock loans and repos, the guidance

          explicitly states that they also occur in Cum-Ex transactions of the type at issue in this case.

      2. The final paragraph, which is the only one Mr. Hayden relies upon, is not intended to apply to

          a Cum-Ex transaction but instead describes a unique situation where a Cum-Cum transaction

          was executed, but the shareholder register was not correctly updated prior to the payment of the

          dividend because of delays that result in the seller receiving the dividend instead of the buyer.

          This is clearly what the T2S definition of the contractually entitled person is referring to. The

          Cum-Cum purchaser is contractually entitled to receive the dividend (by the purchase contract)

          but does not receive it because it is incorrectly paid to the seller who is still shown as the owner

          on the shareholder register. Accordingly, the seller must pass on the dividend.


94.       ED&F Man itself has conceded that the fact that the Pension Plans were in receipt of a payment

which was the same amount as the net dividend is not determinative of the nature of that payment. 111




111
   For example, the following discussion about the reasons why the Annex E Tax Vouchers were invalid took
place during Mr. Wall’s deposition:

          “Q So looking at that first sentence, "When completing the Annex E tax vouchers which were in a
          standard form template, Michael Meade of ED&F Man's operations desk took into account the relevant
          pension plans' entitlement as of the trade date." Is that an accurate statement?

          A (Witness reviewing.) That statement would be accurate, yes.

          Q Is the next statement, "He did not understand at the time that the payments received by the pension
          plans could not constitute dividends net of WHT (i.e., although equivalent in value, they were not
          dividends which had been paid by the underlying Danish company)." Is that accurate?


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As I explained elsewhere in this report, ED&F Man has not conducted any investigation into the position

of the non-Annex E Cum-Ex sellers and therefore, even on its own suggested interpretation, has no

basis to conclude that the payments received were dividends. Up until December 31, 2013, ED&F Man

was required to complete special U.K. tax returns relating to MODs, 112 which indicates that it would

have been keenly aware of these rules and the distinctions made by HMRC. The HMRC MOD rules,

which were a leading authority in this area, defined the behavior of the largest equity trading businesses

based in London during the relevant period and provide strong corroboration that my interpretation of

the meaning of market claim is correct. Put another way, irrespective of whether the Cum-Ex seller

was long or short at the time of sale, the payment received by the Pension Plans was not a real dividend

or even a market claim, but a dividend compensation payment (or MOD to use the HMRC terminology).

I am not aware of any basis for issuing Tax Vouchers on a dividend compensation payment purporting

to be a Tax Voucher for a real dividend.


             4.       The Contemporaneous and Irrefutable Evidence of the Actions of BNP Paribas
                      and SEB in This Very Record Confirm That My Approach Is Correct

95.        The essential feature of a Cum-Ex purchase is that, by design, the purchase does not settle until

after the Record Date. Hence, as I have stated in my prior reports, 113 a purchaser of Cum-Ex shares is




           A (Witness reviewing.)

           In the preparation for this deposition, I have been advised that Michael Meade has said he did not
           understand at the time that the payments were -- did not constitute dividends.

           Q So is the answer to my question, "Yes, Mr. Oxford, that's an accurate statement?"

           A Yes, Mr. Oxford, that's an accurate statement.”

Wall Deposition, pp. 70 – 71.
112
   See, for example, ED&F-00044265, at 81-82 which is the form of dividend reconciliation sheet used for the
2013 dividend events which includes columns labelled “QI”, “AUKI”, “App C Req”, and “App C Rec”. These
terms all relate to the operation of the U.K. MOD rules and meant Qualified Intermediary, Authorised U.K.
Intermediary, Appendix C Required and Received. Appendix C was a form of notice that could be supplied
along a chain of manufactured payments to indicate that the ultimate recipient was an overseas person and thus
avoid a U.K. tax charge on the manufactured dividend.
113
      Wade Initial Report, Opinion 1, and Wade Rebuttal Report, Opinion 9.

                                                               41
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not entitled to receive the real dividend. The evidentiary record is unambiguous in supporting the

conclusion that this fact was widely understood by market participants at the time, including by both of

ED&F Man’s custodians, BNP Paribas and SEB. Evidence for this conclusion can be divided into two

broad categories: SWIFT messages indicating receipt of dividends and communications between ED&F

Man and its custodians.


96.        The first category of evidence is SWIFT messages. As I explained in the Wade Rebuttal Report,

the presence of SWIFT MT566 messages is a necessary, but not sufficient, condition to demonstrate

receipt of a dividend. 114 Such messages were received from ED&F Man’s custodians. 115 The presence

or absence of SWIFT MT566 messages is thus a helpful proxy in assessing dividend receipt– in

particular, the absence of an MT566 message implies that a dividend was not received.


97.        As Mr. Warren pointed out in his report, 116 and I confirmed in the Wade Rebuttal Report, 117

MT566 messages are absent from trade packs related entirely to Cum-Ex purchases. In trade packs

related to both Cum-Cum and Cum-Ex purchases, the MT566 messages relate only to the shares

purchased in Cum-Cum transactions. A handful of exceptions to this rule arises and is informative, as




114
   Wade Rebuttal Report, ¶¶153 and 219, and footnotes 278 and 279. Mr. Hayden seems to voice the opposite
view when he writes that “parties to OTC transactions also consider, as a default rule, that shares purchased
prior to the ex-dividend date carry the right to a dividend.” Hayden Report, ¶34 b.
115
    As explained in the Wade Rebuttal Report, ¶218, the SEB and BNP Paribas MT566 messages can easily be
distinguished by the Message ID prefix.
116
      Warren Report, Appendix 1, pp. 6, 9, column “Outside Dividend Payment Documentation.”

I note that for Annex E Schedule 2 transactions, Mr. Warren fails to recognize that the MT566’s present in these
trade packs relate only to Cum-Cum shares. Compare Warren Report, Appendix 1, p. 9 to the trade packs
ED&F-00040919, at 85 (AIG TDC March 2014), ED&F-00041108, at 74 (Kamco LP TDC March 2014), and
ED&F-00045804, at 65 (AIG Danske Bank March 2014).

I also note that Mr. Warren erroneously claims that an MT566 is present in the Moira TDC March 2014 trade
pack ED&F-00041236, which consists entirely of Cum-Ex purchases. Despite including some Cum-Cum
purchases, the Kamco LP Novo Nordisk March 2014 trade pack ED&F-00049309 is also missing an MT566,
but the relevant MT566 for this dividend is included in ED&F-00049371, at 84 and matches the total number of
Cum-Cum shares held at BNP as expected. Thus, this appears to be merely an omission in the trade pack.
117
      Wade Rebuttal Report, ¶¶152-154, 210, and 216.

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discussed in detail in the Wade Rebuttal Report. 118 The majority of these exceptions were either

subsequently reversed 119 or marked with the CLAI indication, 120 and were issued by BNP Paribas prior

to realizing its error in making such payments and starting to reverse them, as I discuss below.


98.        One remaining exception noted by both Mr. Warren 121 and Mr. Hayden 122 relates to a Cum-

Cum purchase of TDC shares in August 2014 for which the settlement initially failed and was delayed

until after the Record Date. I described this exception as well in the Wade Rebuttal Report. 123


99.        Although Mr. Hayden opines that this exception is evidence that a market claim generally

entitles the claimant to file a Tax Voucher, in fact, upon closer examination the highly unusual nature

of this single transaction is readily apparent. As far as I can tell, this transaction is the only example in

the record of a Cum-Dividend purchase where the intended settlement failed. 124 There appears to have

been an attempt to pass the cost of the fail onto Maple Securities from whom ED&F Man borrowed the

shares, but ED&F Man appeared to accept that it would need to “wear” the cost. 125 This is possibly

explained by a separate email from Michael Meade of ED&F Man to Simon Dakin at ICBKFS who

clarifies that the trade was agreed to settle on the Record Date and “the 2,000,000 shs were incorrectly




118
      Wade Rebuttal Report, ¶¶210-219.
119
      See, for example, ED&F-00076918, at 31-42, ED&F-00077325, at 39-50, and ED&F-00044265, at 83-94.
120
      See, for example, ED&F-00047428, at 43 and ED&F-00047516, at 30.
121
      Warren Report, footnote 33.
122
      Hayden Report, ¶44 b.
123
      Wade Rebuttal Report, footnote 278.

  See the confirm in ED&F-00042680, at 81 which is marked for settlement on the Record Date. See also, the
124

Warren Report, footnote 33.
125
    In a Bloomberg Chat between Oliver Bottomley of ED&F Man and “ASUTHERLAND1” of Maple
Securities, Mr. Bottomley states “I hear my op's were asking you guys to pay a short sale fine last week, this is
not for you, apologies they weren't supposed to forward on to you.” Later he asks, “were you just failed into?”
and gets the reply “that's right - our lender was short to deliver the shares to us. as I mentioned to Freddie when
we have SBL [Stock Borrow/Lend] to SBL trades then we wouldn't ever expect our borrower to pass down short
fail fines.” ED&F-00042905, at 44-46.

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delivered to another of your clients.” 126 Thus, it appears that there may have in fact been two fails: (i)

an initial late delivery by Maple Securities; and (ii) a subsequent misallocation of the shares within

ICBKFS.


100.       As Mr. Warren explained, “these 2,000,000 shares were attributed on the dividend

reconciliation sheets to ‘ICBC (due to incorrectly allocated stock)’.” 127 Such notes of incorrectly

allocated stock are absent from other dividend reconciliation sheets which include very large Cum-Ex

positions, 128 a fact which combined with the fact that the transaction was Cum-Cum, clearly sets this

particular TDC August 2014 purchase apart and categorically distinguishes it from the many other Cum-

Ex purchases conducted by ED&F Man.


101.       Setting aside the noted exceptions, ED&F Man’s custodians BNP Paribas and SEB did not issue

SWIFT MT566 messages related to Cum-Ex transactions (Annex E or other). 129 Such an MT566

message would be one of the most basic prerequisites for proving receipt of a dividend. Instead, the

only pieces of evidence available for the vast majority of Cum-Ex dividend payments are emails

discussing market claims with counterparties and ShadowSuite messages, which simply document cash

movements booked internally and independently of ED&F Man’s custodians’ records. 130




126
      ED&F-00312726, at 27-28.
127
      Warren Report, footnote 33.
128
      See, for example, ED&F-00040919, at 83-85, ED&F-00045804, at 63-65, and ED&F-00076369, at 85-87.
129
    See, for example, BNP’s MT566 messages cited in the previous paragraph as well as SEB’s discussion of
MT566 messages in ED&F-00273945, at 47: “SEB will automatically monitor all trades with contractual
settlement date (based on normal settlement cycle) prior to or on record date and automatically compensate all
trades (both credits and debits) that are failing over record date, provided that the trades are following a
normal settlement cycle and are subject to a market claim according to Danish market rules. SEB will confirm
all market claims via SWIFT MT566.” Emphasis added.
130
   See, for example, ED&F-00040919, at 88-90. These three pages show net dividend compensation payments
received by ED&F Man in their ShadowSuite system. ED&F-00040988 relates to the 1 million shares
purchased Cum-Cum, and ED&F-00040989 and ED&F-00040990 each relate to 2 million shares purchased
Cum-Ex. As stated elsewhere in this report, one of these Cum-Ex purchases is Annex E and one is not.

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102.       Second, BNP Paribas also made clear to ED&F Man that Cum-Ex purchases did not entitle the

purchaser to real dividends. This was memorialized in a volume of email communications between

ED&F Man and BNP. One email of note was sent by Pierre-Antoine Patinet of BNP to Miguel Senra

of ED&F Man on June 26, 2013. The email reads in part, “as the counterpart[y] did not agree

(contractual date > record date) with the claims on trades attached, please liaise directly with your

counterpart[y] to solve this break.” 131 As explained in the Wade Rebuttal Report, 132 Mr. Patinet’s

parenthetical explanation for the rejection of the market claim (contractual date > record date)

demonstrates that, from the perspective of both BNP Paribas and the custodian used by the Cum-Ex

seller, it was perfectly normal and reasonable for a market participant not to pay a market claim on a

share purchase with a contracted settlement date after the Record Date, notwithstanding that the

purchase was agreed to before Ex-Dividend Date (i.e., was a Cum-Ex purchase).


103.       Mr. Senra responded to Mr. Patinet, “this is extremely worrying, that a big institution like

yourselves are [sic] unable to market claim these huge amounts. As a % of success, I believe this has

been quite poor, I need to understand why?” 133 The reason is simply that a Cum-Ex purchase does not

entitle the purchaser to receive the real dividend.


104.       In fact, the email thread continued with increasingly impassioned pleas from Mr. Senra for a

detailed record of failed market claims, 134 to which Mr. Patinet replied on June 27, 2013 “I am not able

to provide you with a time frame as it is a huge data collection work [sic].” 135 Five days later, on July

2, 2013, Mr. Patinet sent an Excel file to Mr. Senra. 136 Mr. Senra replied, “I don’t think the attached




131
      ED&F-00137236, at 41.
132
      Wade Rebuttal Report, ¶213.
133
      ED&F-00137236, at 41.
134
      ED&F-00137236, at 39-41.
135
      ED&F-00137236, at 38.
136
      ED&F-00137236, at 37.

                                                         45
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spread sheet encompasses all the market compensation cum dividend debits we have suffered across

ALL our accounts.” 137 The record is clear that BNP Paribas did not consider a Cum-Ex transaction to

entitle the purchaser to a dividend or market claim and did not process any future market claims after

these events took place.


105.       Another email exchange later in July 2013 sheds additional light on Cum-Ex issues between

ED&F Man and BNP. Mr. Senra requested a tax voucher for a position in Tryg A/S 138 saying, “let me

know if you can provide a credit advise/tax voucher [sic] on each of these holdings.” 139 Roxane Bataille

of BNP responded, referencing the previous emails with Mr. Patinet, “I am not able to provide you a

credit advise [sic] from BNP letterhead. Pierre-Antoine already advised you about a regularization as

the counterpart[y] did not agree with the claims.” 140 Mr. Senra then explained that Pierre-Antoine’s

regularization “relates to the market claims which we have independently claimed from the counterparty

themselves…and successfully. This has no bearing as this was a cum dividend holding entitlement

which you paid us on, then subsequently debited us on.” 141


106.        In other words, BNP Paribas initially paid ED&F a net dividend on shares that were purchased

Cum-Ex, then reversed the payment (“subsequently debited us”). Ms. Bataille replied to Mr. Senra,

“we’ve never received the funds, that is why we claimed your counterparty to receive the funds. The




137
      ED&F-00137236.
138
      This position relates in part to Trade 6 in Appendix C of the Wade Initial Report.
139
      ED&F-00112481, at 84.
140
      ED&F-00112481, at 83.
141
      ED&F-00112481, at 82.

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claims were not accepted by the counterparty. Thus, your account was debited accordingly.”142,143

Again, this reversal is another explicit action undertaken by BNP Paribas that reinforces its position

that Cum-Ex purchases did not entitle the purchaser to a dividend. As discussed elsewhere in this report,

market claims are typically processed at the custodian level and it is reasonable to conclude that one of

the reasons that BNP Paribas was unable to process the claims is that the seller’s custodian did not

receive the real dividend because, as I will demonstrate later, it is almost certain that the seller only

acquired Ex-Dividend shares to complete the sale.


107.       Finally, as detailed in the Wade Rebuttal Report, from August 2014 onwards, SEB acted as

custodian for ED&F Man’s Danish shares and there is not a single instance of a real dividend or market

claim MT566 in respect of a Cum-Ex transaction.


108.       In fact, in relation to the failed Cum-Cum transaction discussed above, SEB makes clear its

understanding of the rules as I will now explain. One email thread cited in that footnote is ED&F-

00273945, which includes correspondence between ED&F Man and SEB. In one email dated August

26, 2014, Patrik Bjernalt of SEB wrote to Michael Meade of ED&F Man: 144


           “SEB will automatically monitor all trades with contractual settlement date (based on

           normal settlement cycle) prior to or on record date and automatically compensate all

           trades (both credits and debits) that are failing over record date, provided that the trades are

           following a normal settlement cycle and are subject to a market claim according to Danish

           market rules. SEB will confirm all market claims via SWIFT MT566. [emphasis added]”




142
   Note that in this case I conclude that the counterparty that BNP Paribas is referred to is the custodian who
delivered the shares to BNP Paribas to settle the transaction as these market claims would take place at a
custodial level. ED&F Man later arrange to collect dividend compensation payments from the Cum-Ex sellers
but for the reasons given elsewhere in this report and discussed extensively in the Wade Initial Report and Wade
Rebuttal Report this is nothing more than a contractual payment which can be seen as a return of excess
purchase price. Wade Initial Report, ¶¶85 – 90, 158 and 166; Wade Rebuttal Report, ¶¶140 – 149.
143
      ED&F-00112481, at 81-82.
144
      ED&F-00273945, at 47.

                                                            47
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109.       This email demonstrates a few key points. First, SEB expected to handle market claims on

behalf of its clients and had a well-developed process for doing so. This is in accordance with my

experience that it would be normal for genuine market claims to be handled at the custodian level

because it is the custodians who are responsible for settlement and market claims are a function of

settlements not happening in accordance with the intended contractual settlement.


110.       Second, SEB was obviously aware of the use of longer-than-normal settlement cycles in so-

called “Cum/Ex Schemes” 145 and refused to apply the market claims process entirely for the Cum-Ex

transactions. SEB’s qualification that its process only applied to trades with a “normal settlement cycle”

even appears twice in the same sentence. Thus, rather than the market having a “well-developed

understanding of how to handle ‘Cum-Ex’ trades” 146 as Mr. Hayden opined, the evidence is that SEB

voices the exact opposite view in this email, namely, that it had a well-developed understanding that

they should not handle Cum-Ex trades in any way.


111.       SEB seems to have also appreciated the complexities of untangling Cum-Ex settlements in an

omnibus account. In a prior email in the same document, Charlotte Freij of SEB wrote to ED&F Man: 147


           “SEB are happy to provide tax vouchers on the dividend and the tax we have deducted on your

           account. However we cannot supply you with tax vouchers on your underlying client level

           as you requested. Legally it becomes very difficult for us to verify positions and tax other

           than the ones we are responsible for.




145
   ESMA Final Report on Cum/Ex, Cum/Cum and withholding tax reclaim schemes (“ESMA Dividend
Arbitrage Report”), ESMA70-155-10272, September 23, 2020, available at:
https://www.esma.europa.eu/sites/default/files/library/esma70-155-
10272_final_report_on_cum_ex_and_other_multiple_withholding_tax_reclaim_schemes.pdf, last accessed
February 10, 2022.
146
      Hayden Report, ¶14 c.
147
      ED&F-00273945, at 54-55.

                                                         48
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           This is an argument for that [sic] account segregation for the tax -exempt clients would

           be preferable for you but then as you stated will have issues with the settlements instead

           [emphasis added].”


112.       Clearly, SEB was aware of the risk of incorrect Tax Vouchers being issued and the requirement

to fully understand the nature of the broader arrangements. SEB declined to issue Tax Vouchers in

support of individual pension plan positions specifically because “legally it becomes very difficult for

[SEB] to verify positions” 148 in an omnibus account. Although the email which Ms. Freij is responding

to is not included in this document, she did write that “as you stated [you] will have issues with the

settlements” 149 if the Pension Plans’ accounts were to be segregated. This risk around settlement relates

to precisely the type of settlement round-tripping that can be observed in the BNP Paribas omnibus

account, which I will explain in later in this report. Without the ability to use an omnibus account and

recycle shares for the Cum-Ex transactions, ED&F Man would not have been able to settle the

transactions which it claims justified the Tax Vouchers that it issued to the Pension Plans.


113.       The simple fact is that BNP Paribas and SEB both confirmed through their actions, and in the

case of BNP Paribas its stated position, that they did not accept there was a market claim on these

transactions.




148
      ED&F-00273945, at 54.
149
      ED&F-00273945, at 54-55.

                                                         49
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  C.       Opinion 3: Mr. Hayden’s Claims That Various Regulatory Restrictions Would Have
           Prevented the IDBs From Undertaking Transactions in the Same Way as MPT Dubai
           in the Annex E Cum-ex Transactions Is Demonstrably Wrong and There Are Multiple
           Examples Where Participation in the Transactions at Issue Would Have Been Unlawful
           if His Analysis Were Correct.

           1.       ED&F Acted as Prime Broker in These Transactions and Mr. Hayden’s
                    Assertions to the Contrary are Incorrect

114.     Mr. Hayden disagrees that ED&F Man acted as prime broker 150 to the Pension Plans.                    The

opinions expressed in the Wade Initial Report would be equally applicable to any UK regulated financial

institution undertaking the activities which ED&F Man undertook for the Pension Plans 151 whether

ED&F Man was a regulated prime broker or not. However, I will begin by addressing the question of

whether ED&F Man provided prime brokerage services as it is one of a number of criticisms raised by

Mr. Hayden in his report which demonstrates his misapprehension of the U.K. regulatory regime.


115.     First, the FCA adopts the definition of prime broker given by the Alternative Investment Fund

Managers Directive as follows: 152


         ‘prime broker’ means a credit institution, a regulated investment firm or another entity subject
         to prudential regulation and ongoing supervision, offering services to professional investors
         primarily to finance or execute transactions in financial instruments as counterparty and which
         may also provide other services such as clearing and settlement of trades, custodial services,
         securities lending, customised technology and operational support facilities. 153




150
   See, Hayden Report, ¶51 a. His reference to the Wade Initial Report, ¶194 appears to have been a typo, and I
assume he intended to refer to ¶174, where I discuss the highly unusual risk sharing and margin arrangements
between the Acer Pension Plans and ED&F Man.
151
   Mr. Hayden confirms that ED&F Man was an FCA regulated investment firm. See, Hayden Report, ¶51 a.
footnote 72, the FCA Register (available at: https://register.fca.org.uk/s/, last accessed February 28, 2022), and
the Agreed Facts (Hashemi Exhibit 4430, ¶2).
152
   See, the FCA Handbook Glossary, available at:
https://www.handbook.fca.org.uk/handbook/glossary/G2811.html, last accessed February 5, 2022.
153
   See, Article 4(1) (af) of AIFMD Directive 2011/61/EU available at: https://eur-
lex.europa.eu/LexUriServ/LexUriServ.do?uri=OJ:L:2011:174:0001:0073:EN:PDF, last accessed February 5,
2022.

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116.    The FCA further defines prime brokerage services as: 154


        “a package of services provided under a prime brokerage agreement which gives a prime
        brokerage firm a right to use safe custody assets for its own account and which comprises each
        of the following:

             (a) custody or arranging safeguarding and administration of assets;

             (b) clearing services; and

             (c) financing, the provision of which includes one or more of the following:

                (i) capital introduction;

                (ii) margin financing;

                (iii) stock lending;

                (iv) stock borrowing;

                (v) entering into repurchase or reverse repurchase transactions;

        and which, in addition, may comprise consolidated reporting and other operational support.”

117.    The services provided by ED&F Man in respect of the Pension Plans encompass all of (a), (b),

and (c)(ii), (iii), and (iv). It is therefore unclear on what basis Mr. Hayden believes that ED&F Man

did not act as a prime broker. The only supporting citation for Mr. Hayden’s claim is a link to the FCA

Register, which for the reasons outlined below, contradicts his own position.


118.    Mr. Hayden has ignored the basic principles of authorization in the U.K. All U.K. regulated

activity is governed by the Financial Services and Markets Act 2000 (“FSMA”). The general principle




154
   Accessed via hyperlink in the definition of prime broker in the FCA Handbook, available at:
https://www.handbook.fca.org.uk/handbook/glossary/G2811.html, last accessed February 5, 2022.

                                                          51
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applicable here is that all activity related to financial activity is prohibited unless it is either exempt or

a specific authorization has been granted (this is known as the “general prohibition”). 155


119.       Regulated activities are principally defined under the Regulated Activities Order 156 which

issued under the authority granted by FSMA. It defines a range of activities which are regulated and

also exemptions which apply. For example, a person buying or selling securities purely for their own

account is prohibited by the general prohibition but then given a general exemption.


120.       Neither FSMA nor the Regulated Activities Order use the term prime broker or prime brokerage

services as they approach regulation from the perspective of specific types of activity. 157


121.       Firms like ED&F Man can seek authorization from the FCA or Prudential Regulation Authority

(“PRA”) to be given one or more permissions to carry out activities. Mr. Hayden cites the FCA register

which summarizes the permissions that ED&F Man currently has, 158 but the FCA register link given by

Mr. Hayden indicates that ED&F Man has, amongst others, the following permissions:




155
      Section 19 FSMA 2000 reads as follows:

           The general prohibition.

           (1) No person may carry on a regulated activity in the United Kingdom, or purport to do so, unless he
           is—

           (a)an authorised person; or

           (b)an exempt person.

           (2) The prohibition is referred to in this Act as the general prohibition.

Available at: https://www.legislation.gov.uk/ukpga/2000/8/section/19, last accessed February 5, 2022.
156
   The Financial Services and Markets Act 2000 (Regulated Activities) Order 2001. Available at:
https://www.legislation.gov.uk/uksi/2001/544/contents/made, last accessed February 5, 2022.
157
   For FSMA, see, https://www.legislation.gov.uk/ukpga/2000/8, last accessed February 23, 2022; for The
Financial Services and Markets Act 2000 (Regulated Activities) Order 2001, see,
https://www.legislation.gov.uk/uksi/2001/544/contents/made, last accessed February 23, 2022.

  See, Hayden Report, footnote 72 which states that “ED&F is only registered with a specific activity license
158

under reference number 194926, under which it is not authorized to do business as a prime broker. See


                                                                 52
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                  1. Arranging, safeguarding and the administration of assets

                  2. Arranging (bringing about) deals in investments

                  3. Dealing in investments as agent

                  4. Dealing in investments as principal

                  5. Making arrangements with a view to transactions in investments

                  6. Sending and receiving dematerialised instructions


122.       Based on my experience, including experience as an FCA Approved Person (including at

various times a CF1 Director and CF3 Chief Executive authorization), these permissions covered all

the activities which ED&F Man undertook in connection with the transactions at issue in this case. I

do not believe that Mr. Hayden is suggesting that ED&F Man was not regulated to carry on all of the

activities which relate to this matter, not least because if he were, then that would mean that ED&F Man

committed an offence exposing it to criminal sanction and the risk that its customers might seek to void

their transactions. 159




https://register.fca.org.uk/s/firm?id=001b000000MfISLAA3.” Note that the FCA Register only provides details
of the current permissions, so it is possible that ED&F Man had different permissions at the time. However, for
the reasons given in this section, I see no reason to conclude that ED&F Man did not have the permissions
required to undertake the activities relevant to the transactions at issue.
159
      See FSMA, Section 26, which provides “as to Agreements made by unauthorised persons:

           (1) An agreement made by a person in the course of carrying on a regulated activity in contravention of
           the general prohibition is unenforceable against the other party.

           (2) The other party is entitled to recover—
           (a) any money or other property paid or transferred by him under the agreement; and

           (b) compensation for any loss sustained by him as a result of having parted with it.

           (3) “Agreement” means an agreement—

           (a) made after this section comes into force; and

           (b) the making or performance of which constitutes, or is part of, the regulated activity in question.

           (4) This section does not apply if the regulated activity is accepting deposits.”

Available at: https://www.legislation.gov.uk/ukpga/2000/8/section/26, last accessed February 5, 2022.

                                                                53
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123.       As such, contrary to Mr. Hayden’s assertion, ED&F Man was a prime broker and in any event,

was regulated by the FCA for the activities it undertook in this matter.


              2.       The Short Selling Regulations Cited by Mr. Hayden Are a Complete Red
                       Herring as Demonstrated by the Actions of Both MPT Dubai and ED&F Man

124.       Mr. Hayden cites to Article 12 of EU Regulation 236/2012 (the “SSR”) 160 as authority for the

proposition that the IDBs executing the Cum-Ex Sales to the Pension Plans could not have done so

unless they had the right to borrow shares at the time the trade is executed and, by inference, therefore,

must have covered their Cum-Ex sales such with shares which they held over the Record Date.


125.       Even if he were right, it still does not address what Mr. Hayden describes as the “salient

question,” which is whether there is any basis to conclude that ED&F’s market counterparty did not

have the right to Cum-Dividend shares. However, Mr. Hayden is plainly wrong, as I will now explain.

As described in the hypothetical transaction in the Wade Initial Report, it was possible for the Cum-Ex

seller to cover its sale with a borrow which settled after the Record Date, thus complying with the short

sale rule whilst not requiring the IDB Cum-Ex seller to pay the market cost of a dividend compensation

payment. 161 This is the very essence of a Cum-Ex arbitrage, which Mr. Hayden does not appear to have

properly understood. 162 Furthermore, as explained below, there were other even more straightforward

ways to comply with these rules and at least some of the Cum-Ex sellers were likely completely exempt.


126.       As Mr. Hayden mentions, Article 12 of the Short Sale Rule, broadly speaking, prohibits short

selling for EU listed shares where the short seller has not located a borrow to cover the settlement of

the short. The relevant clause is:




160
      Hayden Report, ¶40 a(ii).



162
      See, Hayden Report, Section VII B 4, starting at p. 57.

                                                                54
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         “A natural or legal person may enter into a short sale of a share admitted to trading on a
         trading venue only where one of the following conditions is fulfilled:

         (a)the natural or legal person has borrowed the share or has made alternative provisions
         resulting in a similar legal effect,

         (b)the natural or legal person has entered into an agreement to borrow the share or has another
         absolutely enforceable claim under contract or property law to be transferred ownership of a
         corresponding number of securities of the same class so that settlement can be effected when it
         is due;

         (c)the natural or legal person has an arrangement with a third party under which that third
         party has confirmed that the share has been located and has taken measures vis-à-vis third
         parties necessary for the natural or legal person to have a reasonable expectation that
         settlement can be effected when it is due.” 163

127.     What Mr. Hayden ignores is that these rules were supplemented by subsequent Implementing

Technical Standards, 164 which clarified the definitions of the terms above and provide a range of

exemptions which the IDBs could have relied upon. It is my expectation, based on experience, that the

most likely exemptions which could have been used are:


      1. A verbal or electronic locate confirmation from a third party – all that was required was the

         IDB’s verbal confirmation with any broker dealer that it would be able to locate the shares for

         a borrow – either party had no commitment to actually cover the short with that counterparty.

      2. The ‘easy to borrow or purchase confirmation’, which was interpreted by many IDBs during

         the Relevant Period to mean that the shares sought should be on a list of easy to borrow shares

         which were regularly published by various broker-dealers and generally covered virtually all

         main index listed equities. 165




  Available at: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=celex%3A32012R0236, last accessed
163

February 5, 2022.
164
   In particular, see, Article 6 of 827/2012. Available at: https://eur-lex.europa.eu/legal-
content/EN/TXT/?uri=CELEX%3A32012R0827, last accessed February 5, 2022.
165
   For example, as ESMA notes, in practice virtually all main index listed shares (including the shares in this
case) met the definition of liquid shares and so were automatically deemed easy to borrow. See, ESMA70-156-


                                                               55
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128.          ESMA itself has noted the fundamental weakness of the commitment required by Article

12(1)(c) in a paper consulting upon the amendment of these rules. In particular, ESMA observes that

‘easy to borrow’ shares may not in fact be available to borrow: 166


              “The low level of commitment required from the third-party can be illustrated in several ways:

              a. Recital (19) of the SSR specifies that the third-party confirmation essentially relates to the
              assessment by the third party of its ability to make the shares available for settlement. Whereas
              it does not necessarily imply that the shares are already available to that third party at the time
              of the location confirmation, nor does it seem to require a firm commitment from that third
              party to make the shares available as necessary.

              b. In line with that, ESMA notes that the language used in Article 12(1)(a) and (b) of the SSR
              significantly differs from the language used under letter (c): whereas in the first two cases the
              SSR refers to legally enforceable claims, letter (c) only refers to “have a reasonable expectation
              that the settlement can be effected when it is due”.

              c. A particular source of concern is that these third parties can distribute ‘easy to borrow or
              purchase lists’ as if they were genuine “easy to borrow or purchase confirmations” to several
              short sellers without taking into account the overall amount to be delivered on a given
              settlement date. This could eventually lead, in case of coexistence of several short selling
              strategies coinciding in time and target, to a ‘drought’ in the relevant shares on the relevant
              date, creating the conditions for a ‘short squeeze’.”

129.          Mr. Hayden also omits various exemptions to the basic prohibition in Article 12 of the SSR,

the first of which is the complete exemption for market making activity provided by Article 17. Article

17(1) provides:


              “Articles 5, 6, 7, 12, 13 and 14 shall not apply to transactions performed due to market making
              activities.” 167

130.          Article 2(1)(k) defines market making as follows:


              “‘market making activities’ means the activities of an investment firm, a credit institution, a
              third-country entity, or a firm as referred to in point (l) of Article 2(1) of Directive 2004/39/EC,



3914 Consultation Paper - Review of certain aspects of the Short Selling Regulation, September 21, 2021,
Section 4.2.2, ¶¶177-179, p. 42, available at: https://www.esma.europa.eu/sites/default/files/library/esma70-156-
3914_consultation_paper_on_the_review_of_certain_aspects_of_the_short_selling_regulation.pdf, last accessed
February 21, 2022.
166
      Ibid. Section 4.2.3, p. 43.
167
      Ibid.

                                                               56
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              which is a member of a trading venue or of a market in a third country, the legal and supervisory
              framework of which has been declared equivalent by the Commission pursuant to Article 17(2)
              where it deals as principal in a financial instrument, whether traded on or outside a trading
              venue, in any of the following capacities:

              (i)by posting firm, simultaneous two-way quotes of comparable size and at competitive prices,
              with the result of providing liquidity on a regular and ongoing basis to the market;

              (ii)as part of its usual business, by fulfilling orders initiated by clients or in response to clients’
              requests to trade;

              (iii)by hedging positions arising from the fulfilment of tasks under points (i) and (ii);” 168

131.          Mr. Hayden specifically cites MUFG as being a UK regulated entity which is subject to the

Short Sale Rule, but MUFG is currently listed on the FCA website as an entity that relies on the market

making exemption from these short sale rules. 169


132.          Finally, Mr. Hayden also fails to explain why, in his analysis, ED&F Man did not breach the

SSR in respect of all of the Annex E transactions. In each of those transactions MPT Dubai sold short

under a Cum-Ex sale to a pension plan on a T+4 basis. 170 The following day, it purchased the shares

back from the Pension Plan or an intermediating IDB on a T+3 basis. Assuming that MPT Dubai pre-




168
      Ibid.
169
   Available at: https://www.fca.org.uk/publication/documents/market-makers-authorised-primary-dealers.pdf,
last accessed February 5, 2022. Unfortunately, it is not possible to definitively determine from publicly
available records whether MUFG relied on this exemption during the Relevant Period. However, based on my
experience, this would be a fairly routine notification for any regulated entity with a meaningful equity dealing
business. Natixis, Cantor Fitzgerald, GFI Securities, Morgan Stanley, Scotiabank, HSBC, and Macquarie are all
counterparties that are listed in Appendix 2 of the Statement of Agreed Facts, ¶10 that also appear in this list as
well.
170
    Mr. Wall acknowledged this fact: “The reason that MPT Dubai did not cover the short, as can be evidenced
in the first flowchart there, Trade 1 settlement occurs on the same date as Trade 2 settlement. The opening trade
would be done on a T plus 4 basis. The closing trade by MPT would be done on a T plus 3 basis. And that
would mean that the trade settled on the same day.” Wall Deposition, p. 184.

Note that as MPT Dubai was executing and clearing its trades through ED&F Man and the shares were EU
listed shares ED&F Man would have needed to satisfy itself that these transactions were appropriate.

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confirmed a borrow with ED&F Man which it would have been required to do, 171 in many of the

relevant dividend events ED&F Man still did not have access to a sufficient pool of shares to be able to

‘allocate’ them to MPT Dubai in order for it to satisfy the SSR in the way that Mr. Hayden suggests it

was required to.


133.       For example, on the March 2014 TDC dividend event, MPT Dubai entered into short sales over

a total of 22.3m shares on March 6, 2014. 172 On this date the total number of shares held by ED&F

Man on behalf of all of its clients was 6.5 million. 173


134.       Accordingly, one must dismiss Mr. Hayden’s references to the short selling regulation as

irrelevant.




171
   See ED&F-00443853, which is a Memorandum on MPT Trades sent to the FCA in which ED&F Man
confirmed to the FCA that MPT Dubai cleared all its transactions via ED&F Man. Similarly, in the interview of
Stephen Hawksworth of ED&F Man by the FCA (ED&-00445297) the following responses were given:

At 445:

           Q: In this case, the question is whether your expectation was that Dubai, MPT Dubai would interact
           with customers, or was it purely proprietary business that they would be making their own reclaims?

           A: Purely proprietary, they should have no knowledge of anything that any client is doing.

At 446:

           Q; No other external institutions providing money to him [MPT Dubai]?

           A: No.

           Q: Sorry can I just clarify the, so MPT Dubai’s trading activities were being by the London office, by
           your London Office, MCM?

           A: Yes.
172
      ED&F-00040919, at 49.
173
      See ED&F-00604196.xlsx, tab “DK0060228559” (ISIN of TDC).

                                                              58
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              3.        The Intermediation of Share Sales, Offsetting Futures, and the Facilitation of
                        Financing Transactions Using Futures by the IDBs Were Not Prohibited
                        Practices in and of Themselves (as Opposed to as Part of the Overall Scheme to
                        Generate False Tax Vouchers in Support of Reclaim Applications), as Suggested
                        by Mr. Hayden. Instead, it was a Customary Activity for IDBs and There are
                        Numerous Examples of Such Transactions in the Record.

135.       Similarly, Mr. Hayden asserts that the IDBs could not have been part of coordinated

transactions between the ED&F Man Pension Plans and Cum-Ex Seller. He states:


                   “an IDB-to-IDB sale of a hedge would be a proprietary position for each IDB, precluded
                   by the regulatory framework under which they operated. As a rule, IDBs do not take
                   proprietary positions but rather trade as a “riskless principal” matching market
                   counterparties. ED&F’s risk mandate for its Equity IDB states that the IDB’s trading
                   would be conducted “against market counterparties on a back-to-back basis”. 174

136.       Mr. Hayden confirms the restricted permissions of many of the IDBs which I identified in the

Wade Initial Report. 175 As I will explain in this and later sections of this report, those permissions are

highly significant to understanding the full nature of the schemes. It is unclear why Mr. Hayden believes

that entering into either the back-to-back sale of shares or futures would result in a proprietary

position. 176 It was precisely my point that if an IDB entered into a future with one counterparty one can

be confident that the IDB must have an equal and opposite position with some other market counterparty

(which would not result in a net proprietary exposure). The focus of the U.K. regulation is on the types

of risks that an IDB is allowed to take, and a key requirement is that the IDB cannot take directional

market positions. In any event, the evidentiary record includes multiple examples of IDBs performing

exactly the role of back-to-back trading. One only needs to look at the transactions around the TDC

March 2014 dividend to find examples of IDBs intermediating both share sales and futures on a back-

to-back basis.




174
      Hayden Report, ¶49 d. iii.
175
      Wade Initial Report, ¶139-142.
176
   ED&F Man’s corporate representative agreed in his deposition that MPT Dubai and Volcafe conducted back-
to-back sales of this form. Wall Deposition, pp. 218-219.

                                                           59
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                   a)      Share Intermediation

137.       March 7, 2014, alone yields three examples of Link, ICAP, and Cantor Fitzgerald

intermediating share sales:


       1. ED&F Man sells 22.3m TDC shares to Link at a price of DKK50.65. On the same date MPT

           Dubai purchases the same number of shares at exactly the same price from Link. 177


       2. ED&F Man sells 6m shares to Cantor Fitzgerald at a price of DKK 50.655 and again MPT

           Dubai does a back-to-back purchase from Cantor Fitzgerald. 178


       3. ED&F Man sells 9m shares to ICAP at a price of DKK50.6 per share. MPT acquires these

           shares at the same price from ICAP. 179


                   b)      Futures Intermediation

138.       On March 6, 2014, Volcafe entered back-to-back futures between Hamlyn and MPT Dubai.

Hamlyn sold 240,000 futures over TDC shares at a price of DKK50.88 which was executed with

Volcafe. On the same date, MPT Dubai bought exactly the same number of futures at the same price

from Volcafe. 180


                   c)      Financing using Futures

139.       In the Wade Initial Report, I explained that based on both the evidentiary record and my

professional experience, a number of the share sales and futures hedges were coordinated and that this

is the most likely way that the Cum-Ex sellers hedged their short sale. Mr. Hayden suggests that “to




177
      ED&F-00190797 and ED&F-00113799.
178
      ED&F-00215701 and ED&F-00251998.
179
   ED&F-00190349 and ED&F-00414071. See also, ED&F-00190437 which is an email discussing this
rehypothecation.
180
      See ED&F-00041059, at 70 (Hamlyn sale) and 71 (MPT Dubai purchase).

                                                         60
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orchestrate such a number of individual market participants to transact business at scale, with non-

standard trading conditions, across multiple securities products, would have required some sharing of

information for all parties to conduct their piece of the transaction at the right time and in the right

way.” 181


140.       On the contrary, the only additional technique required was a straightforward sales vs future

financing transaction. I refer to this transaction as a “Futures Financing” for ease of reference, although

it is sometimes called a ‘share-futures cross’ or ‘cross’ and is similar to an exchange for physical

transaction. 182 The following two transactions are both economically equivalent to a secured loan, and

so to each other: 183




181
      Hayden Report, ¶49 c. ii.
182
   An exchange for physical is a common technique whereby the owner of some asset (often a commodity but
equally a share or bond) agrees to give up that asset in return for a future over that asset. Because the future
hedge counterparty is given the asset which can act as a hedge for the future as part of the exchange the parties
do not need to reconcile potentially differing views on the market value of the asset and can simply agree to
execute the new future at exactly the same price as the sale of the asset. See, Nasdaq Futures – Rules, Section
12 Exchange for Related Positions, available at:
https://listingcenter.nasdaq.com/assets/rulebook/nfx/rules/NFX_Rules.pdf, last accessed February 21, 2022.
183
   Note, there are legal differences which can be important for various tax, accounting, and other legal
requirements, but in broad economic terms they are equivalent. There can also be significant differences in the
risks that participants have in default or unusual situations (e.g., unexpected corporate actions such as special
dividends, rights issues, mergers etc).

                                                             61
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                                          Figure 1



                                Stock Loan or “Repo”




                               Cash + Interest - Dividends


        Share Lender            Stock Loan or “Repo”                 Share Borrower

                                         Shares




                                          Figure 2




                                 Futures Financing




                                        Shares
                                      Share Sale

                                         Cash
      Share Lender                                                    Share Borrower

                                        Future
                       Long                                  Short




                                                  62
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141.    In both cases, the Share Lender raises cash financing against shares it held before the transaction

and continues to maintain exposure to the price changes of the shares during the life of the transaction.

There are some differences with respect to the specific mechanics of each transaction type:


         1.     Stock Loan – The shares are provided as collateral with title transfer and the Share

         Borrower has the legal obligation to return the same or equivalent shares at the end of the

         transaction.

         2.     Sale and Repurchase (“repo”) – The shares are sold at the start of the transaction, but

         the Share Lender simultaneously agrees to repurchase them for a fixed price, which is

         typically the initial price plus accrued interest minus dividends paid during the life of the repo.

         3.     Futures Financing – As in the case of a repo, the Share Lender sells the shares outright

         at the start of the transaction. In this case however, the Share Lender buys a futures contract

         under which the Share Lender has agreed to buy a fixed number of shares at a future date.

         This is analogous to the repurchase leg of a repo, but it is a separate exchange cleared contract

         which can be settled independently. At the unwind of the financing, the Share Lender can

         close out the future and the initial cash received on the day one sale plus the gain or loss on

         the future should allow the share lender to repurchase the shares in the market to re-establish

         its holding of the shares.


142.    A common variation used in equity finance markets is a sale vs future with a third party IDB

intermediating one or both legs. In this transaction the Lender sells the shares directly to the borrower,

but the futures are arranged and executed with a third party IDB as follows.




                                                         63
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                                                        Figure 3




                                                       Shares

                                                    Share Sale
                     Share Lender                                               Share Borrower

                                                        Cash
                        Long                                                             Short




                         Future                                                      Future



                                        Short           IDB              Long




143.     The economics of this transaction are the same as the standard Futures Financing transaction,

but under accounting standards at the relevant time, this was often considered to be a de-recognition

event by the Share Lender, which reduced its balance sheet. 184 In general terms, this is because the

Share Lender is under no obligation to re-purchase the shares from the Share Borrower and because the

future is an independent and exchange-traded contract which generally can be cash settled.


144.     There are many examples of this type of transaction in the evidentiary record, but I will use a

futures financing with Morgan Stanley to demonstrate the concepts in practice.




184
   Under International Accounting Standard 39 Financial Instruments: Recognition and Measurement
(“IAS39”), which was the accounting standard for determining how to account for all financial assets and
derivatives at the relevant time, the key principle is that an entity accounts for an asset it purchases (e.g., the
shares) immediately on acquiring contractual rights to the cash flows from that asset and then subsequent
transactions are tested to see if they meet the threshold for de-recognising the asset. De-recognition was often
desirable because it reduced the balance sheet size of the entity and in general the starting point for regulatory
capital calculations was the accounting balance sheet.

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145.       On March 5, 2014, Stacey Kaminer, on behalf of Acer, emailed Oliver Bottomley of ED&F

Man to indicate that AIG and Kamco were interested in acquiring 1m shares each of TDC. Shortly

thereafter, she confirmed the pricing to Mr. Bottomley by stating, “For the equities, 52.90 and for the

futures 50.8862 (ref 52.90).” 185


146.       She also suggested that “MINT might have some liquidity on the futures,” 186 but in a separate

email we see that, in fact, at Oliver’s suggestion it was decided to use Tradition. 187 The Tradition entity

which executed the future was TFS Derivatives Limited, which is a limited scope activity firm under

the FCA rules. It is permitted to deal in futures but with a limitation that it may “only deal on own

account in MiFID financial instruments for the purpose of (i) fulfilling or executing a client order, or

(ii) gaining entrance to a clearing and settlement system or a recognized exchange when acting in an

agency capacity or executing a client order.” 188


147.       Shortly thereafter, 189 ED&F Man executed a purchase of 2 million shares from Morgan Stanley

at 52.90 exactly, 190 as well as the corresponding futures hedge at 50.8862 (ref 52.90) with Tradition –




185
      ED&F-00040919, at 20.
186
   MINT is a reference to MEQ Realisations Limited (previously known as Mint Equities Limited until August
24, 2010) which was a U.K. FCA regulated IDB at the time and was part of the BGC Partners Group.
Information about MEQ Realisations Limited available at: https://find-and-update.company-
information.service.gov.uk/company/05071454/filing-history, last accessed February 23, 2022. Information
about acquisition of Mint Partners and Mint Equities by BGC Partners Group available at:
https://www.bgcpartners.com/bgc-partners-acquires-mint-partners-key-businesses/, last accessed February 23,
2022.

  ED&F-00205422. TFS Derivatives Limited is a member of the Tradition Group and is a U.K. FCA regulated
187

IDB specialising in derivatives.
188
   See, the limitations in its dealing in investments as principal permission on the FCA Register which can be
viewed at https://register.fca.org.uk/s/firm?id=001b000000MfJVVAA3, last accessed February 10, 2022. It is
my expectation that it had a very similar limitation at the time of these transactions.
189
   The complete process including agreeing with Tradition and executing the trades with Morgan Stanley and
Tradition took less than 81 minutes because the initial email confirming required prices from Stacey Kaminer
was at 14:39 and Oliver sends the confirms at 16:20. ED&F-00040919, at 20.
190
      ED&F-00040919, at 37.

                                                            65
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precisely the rates which Ms. Kaminer requested. 191 If, as Mr. Hayden suggests, these two transactions

were independent, this would be a truly miraculous execution by ED&F Man.


148.       Thereafter, the following transaction has taken place:




                                                     Figure 4




                                              2m TDC shares @ 52.90

                                               Share Sale (T+3)              ED&F Man /
                    Morgan Stanley
                                                                             Pension Plans
                                              Cash DKK 105,800,000
                       Long                                                         Short
                                                     (Gross)



                     20,000 TDC                                               20,000 TDC
                       Futures                                                  Futures


                                      Short        Tradition          Long




149.       Based on my experience, there are several considerations that make it obvious that this was a

pre-arranged Future Financing between ED&F Man and Morgan Stanley.


150.       First, the pricing of the borrow is approximately 91.5% of the gross dividend. 192 Ignoring the

financing cost embedded into this transaction, which was very small in view of low Danish interest




191
      ED&F-00040919, at 28 and 29.
192
   Sale price of shares minus future prices divided by gross dividend = (52.9 – 50.88862) / DKK2.2 per share =
91.5%

                                                            66
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rates at the time, this is exactly the market range or price that would reasonably have been expected for

such a transaction. 193


151.       Ms. Kaminer quotes the future price she wants to trade at with a precision to 4 decimal places.

She originally suggests using MINT as a counterparty, then agrees to switch to Tradition, 194 and yet

Mr. Bottomley still manages to obtain the precise rate on a transaction which constituted 83.5% of the

reported exchange ADTV for the 30-day period around the Record Date. 195 This is because the real

counterparties to this trade who actually negotiated the trade prices are Morgan Stanley and Acer, and

they will have negotiated this price upfront and then agreed on execution terms separately. Contrary to

Mr. Hayden, 196 I would not expect to see detailed written evidence of this trade arrangement, primarily

because many traders would have done a significant amount of planning of trades by phone and then

confirmed via email and Bloomberg chat only once the terms were agreed.


152.       Ms. Kaminer does not set a limit level or indicate a price range for the trade and there was no

negotiation evident between ED&F Man and Morgan Stanley (all of which strongly indicate that the

terms had been agreed before her first email). I understand from Counsel that no telephone records

were available for production, which is unsurprising because during the Relevant Period market

participants typically only kept telephone recordings for three to six months. This was because such

call records were generally only referred to if there was a dispute on the trade terms which had been




193
   See the earlier discussion of Cum-Cum dividend pricing. The Danish 3M CIBOR rate on this date was
0.2750%. Bloomberg.
194
   Oliver Bottomley emails Stacey Kaminer to say, “I can see interest at Tradition at the moment on your
futures FYI,” to which she replies, “Tradition is fine.” ED&F-00205422.
195
      ADTV of 2,393,898 taken from Wade Initial Report, Appendix D.
196
   “To orchestrate such a number of individual market participants to transact business at this scale . . . would
have required some sharing of information for all parties to conduct their pieces of the transaction at the right
time and in the right way. If so, I would have expected to see some evidence of this information sharing in
writing, which I am not aware exists.” Hayden Report, ¶49 c ii.

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agreed verbally. If the trades were successfully confirmed, matched, and settled, there was no need to

refer to the recordings, so the recordings were overwritten.


153.       As Mr. Hayden has confirmed and as cited above, an IDB like Tradition was only permitted to

trade on a matched basis so that Tradition executed another matching future with someone else. It is

wholly implausible that its counterparty was anyone other than Morgan Stanley.


      1.      First, if Tradition had not done the trade with Morgan Stanley, it would have required

              another party who just happened to be in the market at virtually the exact same time who

              would have been attempting to trade a future at that exact price, at a level of precision to 4

              decimal places and exactly matching Ms. Kaminer’s up-front target prices and weighted

              averages.

      2.       Second, even if, implausibly, there were such a party for the Tradition trade, then Morgan

              Stanley would have had to find a different market counterparty to re-hedge its position.

              Even large dealers like Morgan Stanley are rarely in the position of taking large directional

              positions on any asset, let alone two million shares of TDC, a relatively illiquid Danish

              stock. 197 Even if Morgan Stanley had been permitted to take a directional position, it is

              highly unlikely that it would have chosen to approach ED&F Man to execute such a

              proprietary risk-taking position.


154.       In virtually every Cum-Ex transaction I have reviewed, each Cum-Ex purchase was matched

with a short futures contract, and each unwind disposal transaction was matched with a long future. I

will highlight some more examples of this in the next section of the report where I describe the

overwhelming evidence that the actions of the IDBs were carefully coordinated by ED&F Man and the

Investment Managers.




197
   This is due to a combination of market risk and regulatory capital consumption reasons. Generally, the desks
involved in these sort of financing trades have a “Delta-One” mandate which means they cannot execute
complex options and they are required to hedge market risk on all trades.

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  D.          Opinion 4: Evidence in the Record Overwhelmingly Suggests That the Non-Annex E
              Cum-Ex Transactions Were Executed in a Very Similar Way to the Annex E Cum-Ex
              Transactions, and I Re-affirm the Opinions in the Wade Initial Report on Non-Annex
              E Transactions

155.        Contrary to Mr. Hayden’s claims that my original opinion 198 that the non-Annex E transactions

were fundamentally equivalent to the Annex E transactions but using external IDBs instead of MPT

Dubai is “undercut by the very exemplar trade” 199 I analyzed, the evidentiary record is clear that they

are fundamentally equivalent.


156.        There are three main elements which are substantially similar across the two categories of Cum-

Ex transactions.


       1.       The Cum-Ex sale by the IDB is hedged by buying a future which is an equal and offsetting

                position to the one undertaken by the relevant Pension Plan.


       2.       The IDB is able to acquire the shares to complete the delivery of its Cum-Ex sale using

                shares which are delivered under an Ex-Dividend regular-way sale by ED&F Man (often

                this is a rehypothecation trade under which ED&F Man sells the shares on a T+3 basis and

                buys a future). Crucially, this means that ED&F Man is providing shares to the IDB which

                it is settling into the Pension Plan in the original Cum-Ex Sale and also that the IDB does

                not have the shares over the Record Date and so the Tax Vouchers are invalid.


       3.       The settlement records show that large volumes of shares were “round-tripped” through

                external and internal IDBs to complete the transactions using a much smaller number of

                shares than the number on which tax reclaims were made. I will address this point in detail

                in Opinion 5.




198
      Wade Initial Report, Section VII. B.
199
      Hayden Report, ¶45.

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157.       In reviewing the evidence for these conclusions, I will address various demonstrably wrong

points which Mr. Hayden makes in his report about the supposed lack of evidence of coordination.


              1.      Mr. Hayden’s Claims That the Timing of the Trades Indicates That They Could
                      Not Be Linked Transactions Proves Precisely the Opposite. The Pricing and
                      Timing of the Cum-Ex Purchases and Futures Demonstrates That the Trades
                      Were Part of Co-Dependent Circles.

158.       In his report, Mr. Hayden addresses the non-Annex E AIG-Lutetia TDC 2014 transaction which

was described in detail in the Wade Initial Report. 200 Mr. Hayden suggests that the timing difference

between the Cum-Ex purchase and the futures hedge by the AIG is significant. For the reasons

described below, his suggestion is wrong, but even if there were any significance to the trade timing

difference, it would even more clearly indicate that the trades must have been linked.


159.       At 09:26 on March 6, Ms. Kaminer emailed ED&F Man requesting trades on behalf of three of

the Acer Pension Plans for two million shares each. 201 She wrote that they were “looking for pricing

of 52.55 on the equity and 50.736 on the future” and continued to communicate that she had “heard that

Marianna may have liquidity on the futures.” Later that day, 202 the trades were successfully negotiated,

with Lutetia agreeing to sell the six million shares at the identical rate called for up front by Ms. Kaminer




200
      Wade Initial Report, Section VII B 2.
201
   ED&F-00040919, at 54. It is not actually 100% clear whether this is 09:26 U.K. time or US time because
she sends a follow up email which is timestamped as 16:28 which is either two minutes later or 7 hours later (the
time difference between London and Utah being 7 hours) and it would be unusual to have two different time
zones for the same sender on the same printed document but without detailed evidence of the meta data for these
emails I cannot be sure and for the reasons explained I do not consider it to be of any relevance.

Stacey had her passport notarized in Utah in January 2014 (ED&F-00006022), and Kamco LP’s address on their
Tax Vouchers is in Park City, Utah (ED&F-00222454, at 58).
202
   The first confirms appear to be sent at 16:49 although for several reasons given later in this report, I do not
think this time is particularly relevant. ED&F-00040919, at 66.

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of DKK52.55 per share and Marianna issuing futures confirms at the exact rate called for by Ms.

Kaminer of 50.736. 203


160.       Mr. Hayden claims that the timing difference of one hour between the receipt of the confirms

on the sale and futures is a pertinent factor, but this claim ignores the wider set of circumstances, which

follow:


                    a)       Timing Differentials are Irrelevant and, In Any Event, Would Simply
                             Confirm the Coordination if There Had Not Been a Time Difference
                             Between Trades

161.       Mr. Hayden cites the timing difference of just over an hour between the confirms as significant,

suggesting that this means the trades were not linked. 204 However, Mr. Hayden appears to be basing

his conclusion on the time that the confirms were received by ED&F Man rather than the actual trade

negotiation time, which neither of the counterparties included on their confirms in any event. 205


162.       Even if his point on timing were correct, this would actually point even more strongly to

coordination between the parties because he ignores the gap between the time when Ms. Kaminer

suggests the pricing the Pension Plans are “looking for” and the time that the confirms are received.

Given that she specifies both the pricing on the shares and the futures with a level of precision to several

decimal places even a time gap of a few minutes would have made it impossible for ED&F Man to

execute at those exact prices given the natural intraday volatility of listed equities. She ordered the

purchase at a price of DKK52.55 and the futures at a price of DKK50.736, which ED&F Man

successfully provided. Further, given that this is a purchase of six million shares with corresponding




203
   In fact, the futures are split into 6 shapes in pairs of 12,000 at 50.74 and 8,000 at 50.73 each, giving a
weighted average execution price of 50.736 for each combined hedge of 20,000 futures (matching the 2 million
shares for each Acer Pension Plan). See ED&F-00040919, at 67-71.
204
      Hayden Report, ¶49 c. i.
205
   Mr. Hayden refers to a time gap of over an hour and cites ED&F-00047364, at 66 and 72. The first of these
pages is an email from Hamza Kuraishi of Mariana Capital to Mr. Bottomley attaching the futures confirmation
which appears to have been received at 17:56. The second is an email from Ross Liddard of Volcafe to Lutetia
Capital with the purchase confirmations which appears to have been sent at 16:49.

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futures and share trades, if independent, this would have required finding counterparties willing to

conduct equal and opposite transactions of approximately 250% of the 30-day ADTV of 2.4m shares

and at the precise levels at which Ms. Kaminer specified.


163.       Mr. Hayden’s comments on the relevance of the timing of these trade confirmations are simply

wrong. OTC Futures Financings like this transaction were negotiated off-exchange and then booked

and confirmed later by the relevant traders or their middle offices. The trade reporting rules for such

trades in Europe at that time were far less rigorous than the U.S. Consolidated Tape reporting

requirements 206 and so the timing of the receipt of the confirms is of no relevance.


                    b)        Mr. Hayden Also Points to Slight Pricing Differentials to Reject
                              Coordination of Trades but Such Pricing Differences Do Not Mean
                              Trades Were Not Coordinated

164.       Mr. Hayden asserts that I provided “no support for the suggestion that any collusion between

different IDBs occurred” and also that my opinions that two IDBs acting independently could still be

part of a coordinated structured transaction was “meritless.” 207 I do not accept either of these

contentions. The evidence is clear that ED&F Man closely coordinated various matching buys, sells

and hedging through futures. In the Wade Initial Report, my opinion was that the IDBs could be parties

to entirely legitimate trades which taken together created a complex structured transaction which when

viewed in its entirety was wholly inappropriate.


165.       The Cum-Ex purchase and future trades that were described combined to price the dividend at

approximately 82.5% of the net dividend. 208 This level is slightly higher than the pricing for the internal

Annex E trades but still within the expected and consistent range for Cum-Ex transactions as shown in




206
   For details of trade reporting in the EU, see the ESMA Interactive Single Rulebook which contain the rules
which have been substantially overhauled starting with EU Directive 2014/65/EU and the follow up technical
standards and rulemaking. https://www.esma.europa.eu/databases-library/interactive-single-rulebook/clone-
mifir/article-26, last accessed February 28, 2022.
207
      Hayden Report, ¶49 d.
208
      (52.55 – 50.736)/2.2 = 82.5%

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Appendix C of the Wade Initial Report. I have addressed at length elsewhere in this report why this

pricing is not consistent with Lutetia holding the shares at the time of the trade.


166.        Mr. Hayden also opines that trade price differences indicate a lack of coordination, but in fact

they demonstrate an apparent connection between the two trades, because it is inconceivable that ED&F

Man could have independently found sellers for shares and buyers of futures for a position size of 6

million shares where the sellers and buyers just coincidentally agreed to trade at prices which so closely

matched the pricing specified by Ms. Kaminer up front.


                     c)       Other Alternatives Suggested by Mr. Hayden Are Implausible

167.       Mr. Hayden suggests that Lutetia could have sold the 6 million shares out of an existing long

position and so would have “had no reason for it to hedge its sale with a future.” 209 This suggestion

requires one to believe that Lutetia independently held a position of 6 million shares (worth

approximately DKK314 million at the executed trade price) which it just so happened to wish to sell on

March 6 at exactly the price that Ms. Kaminer suggested the Acer Pension Plans wanted to buy. This

is simply not plausible but, even if this had been the case, how would Marianna have hedged its future

position if Lutetia was selling out of an existing long position without taking a position which Mr.

Hayden suggests would be an unauthorized proprietary position? 210


168.       As discussed above, and as Mr. Hayden himself confirms, Marianna was another limited license

broker, and so would have had to enter into a matching future with another counterparty. 211 This would




209
      Hayden Report, ¶49 c. iii.
210
      Hayden Report, ¶49 d. iii.
211
   The FCA Register for Mariana UFP LLP (which is the new name for Mariana Capital Markets LLP)
confirms that Mariana is limited to Dealing investments as principal with a limited licence. This is summarised
as” matched principal broker. Unable to: (i) hold financial instruments for own account unless it meets the
'matched principal exemption conditions' as defined in the FSA's Glossary of defined expressions used in the
FSA's Handbook and (ii) underwrite MiFID financial instruments and/or place MiFID financial instruments on a
firm commitment basis.” Available at: https://register.fca.org.uk/s/firm?id=001b000000NMblRAAT, last
accessed February 10, 2022.

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have required Marianna to find a party other than Lutetia to buy a future with the equivalent notional

value of precisely 6 million shares which would, in turn, have almost certainly involved some other

market participant wanting to sell 6 million shares and use the futures as a hedge. Again, the idea that

Marianna could find such a party and agree to execute a future at the exact prices at which Ms. Kaminer

requested up front is totally implausible based on my own experience.


169.    The following diagram demonstrates what actually happened. Just like in the Annex E Cum-

Ex transaction, Lutetia agreed to the Cum-Ex sale creating a short position which it hedges with a future

which is booked on a back-to-back basis through Mariana, and which matches this hedge with the future

that the Pension Plan used to hedge its Cum-Ex purchase.




                                                    Figure 5




                                            6m TDC shares @ 52.55

                                             Share Sale (T+4)              ED&F Man /
                      Lutetia
                                                                           Pension Plans

                                            Cash DKK 315,300,000
                     Long                                                         Short
                                                   (Gross)



                   60,000 TDC                                               60,000 TDC
                     Futures                                                  Futures


                                    Short         Mariana           Long




170.    The identification of the trade structure described immediately above is a significant conclusion

because, as discussed elsewhere in this report, Mr. Hayden has acknowledged that “the salient question


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is whether there is any basis to conclude that ED&F’s market counterparty did not have the right to

cum-dividend shares.” 212 ED&F Man and Mr. Hayden have already conceded that they did not have

any such right in the Annex E Cum-Ex transactions. Previously, I have explained why the dividend

pricing leads me to conclude that Lutetia did not have an existing long position at the time it entered

into the Cum-Ex purchase. The evidence in this section is overwhelming that Lutetia hedged its Cum-

Ex sale price risk with a future and so there is no remaining basis left to suggest Lutetia did in fact hold

the shares over the Record Date because there is no reason to hedge its Cum-Ex sale if it was already

naturally long the shares and looking to sell them as Mr. Hayden suggests.


171.       Later in this report, I will explain that my review of all the settlement records and the evidence

of ED&F Man and the Pension Plans recycling shares in settlement cycles strongly indicates that the

shares which Lutetia used to complete the Cum-Ex sale were recycled shares delivered to it by ED&F

Man.


              2.       Mr. Hayden’s Admission 213 That the Recycling Unwind of the Acer TDC March
                       2014 Position was Inappropriate is Significant Because the Position Unwound
                       was Created in Part by Acer Purchasing 6 million Non-Annex E Shares from
                       Lutetia. The Unwinds Provide an Unambiguous Roadmap to How ED&F Man
                       and the Pension Plans Created a Misleading Impression of the Positions Owned
                       by the Pension Plans.

172.       In the Wade Initial Report I explained how ED&F Man and the Pension Plans created the false

impression of long term investment positions in the accounts of the Pension Plans to claim long-term

share ownership of the relevant shares which they felt would be supportive of their tax reclaims. 214

Various factors led me to this conclusion: the lack of shares, absence of real risk or opportunity for




212
      Hayden Report, ¶39 b. ii.

  Mr. Hayden states that “[the unwind analysis] is nothing more than the comparison of the unwinding of an
213

Annex E trade with the unwind of an Annex E trade” and later states that it is “hardly surprising that ED&F
would unwind those positions the exact same way it had unwound the other Annex E positions, as the trades
were executed similarly. I understand that ED&F admits the similarities between the Annex E trades.” Hayden
Report, ¶47.
214
      Wade Initial Report, ¶133-134.

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profit, lack of arm’s-length funding or margin provided by the Pension Plans, and the inability of the

Pension Plans to exercise any voting rights of the shares. Several of these factors were highlighted by

the unwind of the positions. The Acer Plans collectively held “positions” of 30.3m 215 shares of TDC

for approximately four months across three transaction categories (Cum-Cum, Annex E Cum-Ex, and

non-Annex E Cum-Ex). However, as explained in the Wade Initial Report, these positions were all

unwound using 3.03m shares borrowed from Scotiabank for 2 business days in June 2014. 216 This

pattern can be seen in transactions by other Investment Managers as well, which I will explain below.


173.       In his report, Mr. Hayden dismisses my discussion of the unwinds as being irrelevant, stating

that all I have shown is that my “criticism of the methods by which ED&F settled the transactions to

unwind its clients’ equity positions applies only to the Annex E trades.” 217


174.       As described below, the unwind transactions which I explained in the Wade Initial Report

covered all of the Acer Pension Plan positions. The fact that all these positions were unwound using

only 10% of the shares in the purported position is highly significant for two principal reasons:


               1.       It clearly demonstrates how ED&F Man used smaller numbers of shares to settle

                        much larger positions – techniques which can be seen throughout the transactions

                        at issue and which ED&F Man has now admitted to utilizing not only to unwind

                        positions but in their efforts to settle purchases of Danish shares.. 218 This clearly




215
      ED&F-00040919, at 83.

  The stock loan was traded to settle on June 13, 2014 and unwind on June 16, 2014 (Friday to Monday).
216

ED&F-00444356 and ED&F-00255639.
217
      Hayden Report, ¶55.
218
      Wall Deposition, pp. 213-214:

            “Q And what is the reason that MPT would split a transaction into smaller parts?

           MR. BINDER: Objection to form, and beyond his scope as a corporate representative of ED&F.

           MR. OXFORD: I'm just asking for the witness' understanding from ED&F's perspective.


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                         renders the accounting records used by ED&F Man to produce the Tax Vouchers

                         unreliable.


               2.        It represents further evidence of the fundamental similarity between Annex E and

                         non-Annex E transactions because they were unwound in the same way and even

                         using the same shares.


175.       Mr. Hayden appears to agree with the distinction between Annex E and non-Annex E trades,

but nonetheless asserts that “AIG’s March 2014 position in TDC” is “an Annex E trade”, 219 which is

factually wrong. Contrary to Mr. Hayden’s opinion, AIG’s March 2014 position in TDC consisted of

three trades, 220 only one of which is included in Annex E. 221 However, he erroneously claims that “the

example Mr. Wade provides regarding ED&F’s liquidation of client positions actually relates to an

Annex E trade, and not to a non-Annex E trade, as the document argues.” 222




           A The trade would be split into smaller parcels or lot size, if you like. Smaller trades are easier to settle.

           Q Why are they easier to settle?

           A You need less trades to settle smaller trades than you do to settle one big trade.

           Q Can you explain what you mean by that? Feel free to use an example, if that's easier.

           A ED&F were a clearing broker of MPT Dubai. ED&F held a depo account with certain amounts of
           Danish securities in it. Smaller parcels of shares would be used to settle these smaller splits of trades.”


219
      Hayden Report, ¶47 a.
220
   ED&F-00040919, at 76. I also note that, as expected, there are three MT545 SWIFT messages in this trade
pack, one for each of the three trades.
221
   1 million of the remaining 3 million shares relates to a Cum-Cum purchase, namely Trade Number 6 from
the Wade Initial Report Appendix F, while the other 2 million are the shares purchased from Lutetia (Trade
Number 25 in the Wade Initial Report Appendix C). The 2 million shares purchased from MPT Dubai fall
under Trade Number 22 in the Wade Initial Report Appendix C.
222
      Hayden Report, ¶17.

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176.       He also states that “it is hardly surprising that ED&F would unwind those positions the exact

same way it had unwound the other Annex E positions, as the trades were executed similarly.” 223


177.       He does not, however, substantively address my observation that these trading positions were

settled using only 10% of the shares that ED&F Man booked on its Pension Plan statements. He also

does not substantially address my observation that apart from the tax reclaim there is absolutely no gain

or loss opportunity from the Pension Plan “positions” which are fully hedged, not exposed to funding

costs, and not investing surplus cash and so not able to benefit from their “holding” of the shares.


178.       Mr. Hayden’s position is also contradictory in asserting that it is “not possible to match fungible

shares of stock” 224 while simultaneously claiming to be able to match a large unwind to a specific

smaller trade. I agree that dematerialized shares are fungible as a general matter, but this does not

prevent one from performing basic identification of positions and quantities. For example, if a person

owns 2m shares and then sells 2m shares, then it must be the specific shares 2m shares which were

owned that were sold. Equally, a claimed position of 30.3m shares which can be liquidated using only

3.03m shares raises fundamental arithmetical questions. Mr. Hayden suggests that the principles of

internalized settlement do not “standing alone, suggest any wrongdoing.” 225 In fact, the Pension Plans

are claiming they had a combined long position of 30.3m shares and that these were returned by ED&F

Man following its earlier rehypothecation of these positions and then sold to the market by the Pension

Plans, but in fact only 3.03m shares were ever acquired, and these were shares borrowed from

Scotiabank. 226




223
      Hayden Report, ¶47 b.
224
      Hayden Report, footnote 53.
225
      Hayden Report, ¶47 e.
226
   As noted in Figure 8 of the Wade Initial Report, ED&F Man recycled the same shares to settle positions ten
times the size of the shares they actually borrowed.

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179.        As I stated in the Wade Initial Report, “ED&F Man borrowed 3,030,000 shares and then used

them to close out total positions of 30,300,000 across all its clients. This is the total number of shares

on which all the Acer ED&F Man Pension Plans made tax reclaims for the TDC dividend on 11 March

2014.” 227


180.       Indeed, ED&F Man discussed this exact unwind in email correspondence with Stacey Kaminer

of Acer, and these emails demonstrate agreement by both parties that the unwind would include all Acer

positions. Sara Mina of ED&F Man wrote to Stacey Kaminer of Acer on April 11, 2014: “We will be

able to unwind all of your open futures positions and roll into a TRS [emphasis added].” 228 A

subsequent email in the same document includes a spreadsheet 229 listing every Acer-managed position

and its swap replacement, and AIG appears in this spreadsheet twice: once for 2 million shares,

presumably the Annex E Cum-Ex purchase, 230 and again for 3 million shares, which includes the 1

million Cum-Cum shares plus 2 million non-Annex E Cum-Ex shares.


181.       Despite the evidentiary record, Mr. Hayden attempts to defend his assertion that the unwind

only relates to Annex E transactions by claiming that, “although AIG’s March 2014 position in TDC

included non-Annex E components, it is nevertheless an Annex E trade, listed on Schedule 2 of Annex

E.” 231 This argument is reminiscent of Mr. Warren’s, who asserted that, because an MT566 message

appears in a given trade pack, dividends were received on all trades included in the trade pack. 232




227
      Wade Initial Report, footnote 138.
228
      ED&F-00190456, at 57.
229
      ED&F-00190456, at 56-57.
230
   The TDC rows in this spreadsheet are separated into two sections, one associated with futures expiring in
June 2014 and the other with futures expiring in July 2014. The July section relates to Annex E trades, as is
evident by comparing the quantities associated with each pension plan to ED&F-00041236 at 37-46 and 48.
231
      Hayden Report, ¶47 a.
232
   See, Wade Rebuttal Report, ¶154: “These trade packs contain SWIFT messages representing only the Cum-
Cum shares, not the larger Cum-Ex position, yet nonetheless Mr. Warren seems to conclude that the entire
position in the Tax Voucher is backed by a SWIFT MT566 message.”

                                                             79
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Neither argument makes any attempt to reconcile share quantities in the specific trades involved to the

alternative record in question: Mr. Hayden does not check the quantities against Annex E, and Mr.

Warren did not check them against the MT566 messages. Had Mr. Hayden checked, he would have

observed that the shares purchased from Lutetia are not included in Annex E. 233 They were however

included in the unwind, which is therefore evidence that share recycling techniques were used in both

Annex E and non-Annex E Cum-Ex transactions.


182.      In fact, I have reviewed additional email correspondence that indicates recycling shares in this

manner was a standard practice at ED&F Man. An internal email from Paul Regan to Oliver Bottomley

includes a spreadsheet that associates a TDC position of 24 million shares, which matches Hamlyn’s

Cum-Ex position, 234 with a “Split” of only 1.2 million shares and a “Multiple” of 20. 235 Five other

securities also have “Multiple” values of 20, and almost all securities in the spreadsheet have a

“Multiple” above 10, suggesting that ED&F traders fully understood and were accustomed to the

practice of recycling small shapes to settle much larger positions. Over the period of July 14-16, 2014,

when the Hamlyn position was unwound, the BNP custody statement has 42 settlements, all of which

are in the amount of 1,200,000 shares and these appear to have again been borrowed from Scotiabank. 236




233
   The required comparison of the number of shares in Annex E Schedule 2 to the numbers of shares involved
in AIG’s TDC March 2014 transactions is straightforward. Annex E Schedule 2 of the ED&F Re-Amended
Defence reports an “Amount of overpayment by SKAT (DKK)” related to AIG’s TDC March 2014 position of
DKK 1,188,000 (ED&F Re-Amended Defence, Annex E, Schedule 2). A simple calculation shows that this
overpayment equates to an inappropriate claim of 2 million shares of TDC over this dividend (DKK 1,188,000
overpayment / 27% withholding tax = DKK 4,400,000 gross dividends not received. DKK 4,400,000 gross
dividends not received / DKK 2.2 dividend per share = 2 million shares). Clearly these are the 2 million shares
purchased from MPT Dubai.
234
   See the dividend reconciliation sheet ED&F-00040919, at 83 which shows Hamlyn’s position of 24 million
shares.
235
      ED&F-00261246.
236
   ED&F-00604196.xlsx, at tab “DK0060228559”. In July 2014, this tab shows 21 transfers of 1.2 million
shares into the account, 21 transfers of 1.2 million shares out of the account, and no other transactions. See also
ED&F-00301242 for an ED&F Man Stock Loan summary statement dated 4 August 2014 which includes a
borrow of 1.2m TDC shares with settlement date of July 15, 2014.

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183.       As I will explain in the next section, this obvious and transparent recycling of shares on the

position unwinds is also evident in the transactions used to create these positions in the first place.


  E.         Opinion 5: The Pension Plans Made Tax Reclaims based on Tax Vouchers for Share
             Quantities that Substantially Overstated the Shares Actually Owned and Dividends
             Received.    ED&F Man Facilitated This By Recycling Shares Through Intraday
             Settlement, Which Supported the Creation of False Tax Vouchers For The Pension
             Plans To Apply For a Double, Triple, and Quadruple Dip Refund


184.       A point that I have made earlier in this report and my earlier reports, is that there is clear and

consistent evidence throughout the documents I have reviewed that ED&F Man and the Investment

Managers coordinated to generate positions that were much larger than the real number of shares that

they could source, and that ED&F Man purported to settle such positions by recycling the shares it did

hold on behalf of the Pension Plans. Subsequent to the submission of my previous reports, ED&F Man

has admitted to doing so. 237 Mr. Hayden suggested that my claim that ED&F Man did not have

sufficient shares for the non-Annex E Cum-Ex transactions was “unsubstantiated” 238 but a detailed

reconciliation of the settlement movements for the TDC March 2014 dividend event clearly

demonstrates how the parties recycled shares on both the Annex E and non-Annex E Cum-Ex

transactions and further illuminates how the transactions were matched by IDB, often on a shape by

shape basis, leaving no doubt that the non-Annex E transaction settlements differ only in their use of an

external IDB instead of ED&F Man affiliates MPT Dubai or Volcafe. 239




  See the extract of Mr. Wall’s testimony cited in Section II.A of this report, as well as at Wall Deposition, pp.
237

213-214 and 217-219.
238
      Hayden Report, ¶17.
239
   Based on the fact that the pricing, key structural design elements, unrealistic share sizes, absence of evidence
of real dividend receipts, and use of small shape settlements are all substantially similar across all the Annex E
and non-Annex E transactions I have reviewed in preparing my reports, I have no reason to suspect that there
are in fact any material differences between the March 2014 TDC event and the other dividend events covered
by my reports. To the extent that the patterns of trade settlements are consistent on the other dividend events
with the TDC March 2014 event my conclusions on this TDC March 2014 event will apply equally to those
other events. Finally, I note that Mr. Wall’s testimony on the use of small shapes and recycling was not
confined to any specific events or transactions, and he did not attempt to distinguish between Annex E and non-
Annex E Cum-Ex settlements.

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185.     As will be demonstrated below, in the case of the March 2014 TDC dividend, ED&F Man

issued Tax Vouchers relating to dividends on 99.145m shares when it only actually acquired 24.845m

shares for the Cum-Cum transactions. The balance of the positions result from Cum-Ex trades, 64.3

million on Annex E, and 10 million non-Annex E. These 74.3 million Cum-Ex shares were “settled”

by round-tripping the 24.845 million Cum-Cum shares multiple times on the settlement day, resulting

in false Tax Vouchers and false reclaims in respect of 74.3 million shares of TDC.


186.     The number of shares actually held at BNP over the TDC March 2014 Record Date versus the

number of shares for which Tax Vouchers were issued suggests that the participants nearly achieved a

“quadruple dip” over this dividend, meaning that for every share actually acquired for a Cum-Cum

transaction the participants claimed to have received four times the amount of dividends actually

received and suffered four times the amount withholding tax actually paid. 240


187.     Finally, in this section I will address Mr. Hayden’s objection to the ADTV analysis in my Initial

Report. I do not accept that any of Mr. Hayden’s objections are of any relevance to the opinions I have

given in this or my earlier reports. In particular, Mr. Hayden ignores that ED&F Man’s own risk metric

was ten times more conservative that the measure I used; a risk metric which it would have breached

on all of the dividend events had they been real positions with real risk. 241 He also fails to address the

more substantive point, which is that I used ADTV simply as a metric to highlight the implausible sizes

of the positions which were claimed. This second point is now moot because ED&F Man has admitted

that it did not have the shares that it claimed to own.




240
   ED&F Man held 24.845 million shares in the BNP omnibus account over the Record Date (Wade Rebuttal
Report, ¶¶190-192), yet issued Tax Vouchers on 99.145 million shares (ED&F-00040919, at 83-84). See also
the prior explanation of recycling in this report, and the reconciliation presented in Table 1 in this section.
99.145 million equals approximately 4 times the 24.845 million shares held at BNP.
241
   See, Wade Initial Report, Appendix D. Using my ADTV calculation every single dividend event would
breach 20% of ADTV which was the threshold used by ED&F Man. I address the irrelevance of the precise
basis on which ADTV is calculated to my opinions later in this report. In summary, there are only three
dividend events out of 28 reviewed for which the position claimed is less than 200% of ADTV meaning that my
ADTV measure would need to have been ten times lower than that used by ED&F Man for the positions to have
been permitted under ED&F Man’s own risk metrics, which is implausible.

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             1.      A Complete Reconciliation of the TDC Share Movements on March 12, 2014,
                     Plus    Corroborating     Evidence   from     Various    Contemporaneous
                     Communications Demonstrate a Planned and Deliberate Process of Recycling
                     Shares in Order to Justify Larger Tax Reclaims Than the Number of Shares
                     Which ED&F Man Could Actually Source. The Share Counts Involved Appear
                     to Amount to a Quadruple Dip of Shares Actually Held to Receive Four Times
                     the Tax Reclaims.

188.       The settlement round tripping orchestrated by ED&F Man appears to have been planned right

from the beginning of the establishment of ED&F Man’s Equities business in 2012. 242 A presentation

attached to an email sent by Oliver Bottomley on August 16, 2012, is highly instructive. 243 It lays out

a proposal for transactions executed across three consecutive dates, under which the following steps

were envisaged to occur.




242
      See, Draft SKAT and ED&F Man Market Limited and Others Schedule of Agreed Facts, ¶3.
243
      ED&F-00053123 and ED&F-00053124. The same presentation appears in Hashemi Exhibit 4418.

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                                            Figure 6




189.    Figure 6, August 7, 2012: Pension Plan Investment Manager (shown as having five 401k

Pension Plans) purportedly buys TDC shares from Volcafe, which is a short seller, but as shown on the

diagram no such shares would actually exist because ED&F Man would rehypothecate those shares and

route them back round to Volcafe to cover its short. As the presentation states: “neither entity has any

holdings nor has and [sic – he obviously means “any”] stock actually been injected into the structure".

Another entity (labelled Massey) 244 does the same transactions in the opposite direction using NOVOB

shares. This is highly reminiscent of the Solo transactions because the Pension Fund Investment




  Massey Fund (“Massey”): an investment fund registered in Gibraltar and owned by GT Nominees Limited
244

(who were owned by Arunvill) and managed by Arunvill). Massey became a client of ED&F Man on 26 March
2012. See Statement of Agreed Facts, Appendix 2.

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Manager is “buying” shares indirectly from itself. The shares it buys are delivered to it via a loop which

requires it to indirectly lend the incoming shares to Volcafe so that Volcafe can settle its sale. Mr.

Bottomley also helpfully confirms a point I had made in the Wade Initial Report, which is that the

Investment Managers and Pension Plans intended to manufacture false long term holdings. 245 He states,

“we want to leave this trade running all year to show holdings,” but they obviously do not want to

actually take any market risk because he confirms this will be eliminated with a performance swap. In

the Solo transactions the participants generated false holdings and false reclaims with no shares at all.

In the ED&F Man transactions the false holdings and false reclaims were generated by reusing the

shares from the Cum-Cum transactions, on which reclaims were already being made.




245
      Wade Initial Report, ¶¶133-134.

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                                               Figure 7




190.    Figure 7, August 8, 2012: The Investment Manager acting on behalf of the five Pension Plans

buys shares in a Cum-Ex purchase (T+4) from a broker and sells them to Massey on a T+3 basis to

reverse the purchase done the previous day. It appears that they are replacing the Cum-Cum position,

which was claimed be established on August 7, with a Cum-Ex position to avoid the need to source

Cum-Dividend stock. Importantly, step 7 states: “Crucially the fund sells this T+3 into Volcafe, this

allows the trade to appear as an arbitrage between the two dates.” The presentation also states: “This

process can be repeated using the same clip of stock in most markets, in some it isn’t possible, such as

Denmark. One hindrance can be the cut off of settlement times, e.g., Denmark at 11:30, makes it difficult

to do multiple round trips. The key part is the external stock coming in from the Broker. The end result



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is the pension fund Long 1m shares of Cum Dividend stock and Massey with a hedged position.” As

the earlier discussion of the unwinds demonstrated, the settlement issue in Denmark was obviously

solved by the time the Danish Cum-Ex trading was in operation at ED&F Man.




                                              Figure 8




191.    Figure 8, August 9, 2012: The Pension Plans loan out their TDC shares on a T+3 basis and the

shares go round the same loop to be sold by Volcafe back into the market. The presentation states:

“Need to cover the short sale and so borrow from ED&F, who in turn use the stock that the Pension

fund we’re [sic] long from the previous leg Ex-Dividend stock is used whereas the fund went long Cum

Dividend stock previously.” It also states that “The timing of this leg is unimportant in terms of the



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dividend as all is done ex-dividend. However, we would look to do as soon as possible due to the

financing costs of carrying the position. Particularly with the price of internal cash at circa +5%.”


192.      The exact details of this proposal are irrelevant, and it differs in several respects from the actual

transactions which I have reviewed. However, what is striking about it is the transparency of the way

it explains the intention to settle Cum-Ex transactions using Ex-Dividend shares and the desire to

recycle shares and avoid having to incur funding costs on holding shares.


193.      We can see the core concepts of this presentation being implemented in the transactions

undertaken for TDC shares in the March 2014 dividend.


194.      On March 6, 2014, ED&F Man arranged for the Acer Pension Plans to purchase 22.3m shares

on a Cum-Ex basis from MPT Dubai. 246


195.      On March 7, ED&F Man sells 22.3m shares to Link at a price of DKK50.65 per share. 247


196.      Also on March 7, MPT Dubai agrees to buy 22.3m shares from Link on a regular T+3 basis,

also at a price of DKK50.65. 248


197.      Mr. Wall, ED&F Man’s corporate representative, implausibly suggested that that the shares

passed between MPT Dubai and ED&F Man via Link may not have been the same shares and suggested

that the use of Link as an IDB in the middle provided anonymity. 249 It is unclear what anonymity Mr.




246
      ED&F-00113789.

247
      ED&F-00108634.
248
      ED&F-00113799.

  This specific loop of transactions was discussed by Mr. Wall, ED&F Man’s section 30(b)6 witness, on
249

February 23, 2022. See, Wall Deposition, pp. 217-219:

          “Q No need to apologize. I want you to make sure you have an opportunity to review the documents
          before you answer the question, so I appreciate that. So would you agree with me, sir, that the
          documents we've reviewed in the last few minutes show that the TDC shares sold by MPT Dubai were
          sold to the pension plans in Ms. Kaminer's e-mail at the document Bates 938?


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Wall thought would be provided and from whom in this situation, given that ED&F Man approved,

cleared, and settled both sides of the trade.


198.      The details of the two confirms from Link for these trades are substantially identical apart from

the direction of the transaction (one denotes ED&F Man as the Buyer and the other as the Seller). The

prices and shapes are completely identical so there cannot be any doubt that MPT Dubai sold short on

March 6, 2014, and covered this short with the purchase from Link. Equally it can be seen that Link

matched this transaction with the rehypothecation sale by ED&F Man. 250 A clear loop, not dissimilar

to the Solo transactions, is evident; the only substantive difference being that ED&F settled trades




          A (Witness reviewing.)

          I cannot confirm those exact shares were sold to the pension plan. Shares in those -- in that size of
          order and price were sold to the pension plans.

          Q So the same shares -- withdrawn. The shares that MPT was selling in the Volcafe confirmation and
          the shares that the pension plans that Ms. Kaminer was requesting shares for were identical in trade
          date, settlement date, price, amount, and split. Correct?

          A That's correct, yeah.

          Q So, in effect, what was happening was MPT Dubai was selling these shares to the pension plans via
          Volcafe as an IDB. Correct?

          Q You can answer, sir.

          A MPT was selling an amount of shares of TDC at a price and an amount to the IDB. The pension
          plans bought an amount of TDC shares at that -- at that price that the -- at the price that MPT Dubai
          sold.

          Q Not --

          A I do not know whether they're the same shares. That's why both counterparties will trade through an
          IDB, to provide anonymity.

          Q But we can agree that the shares that MPT Dubai sells and the pension plans buy are identical in
          trade date, settlement date, price, amount, and split?

          A We can agree to that, yeah.”

250
      ED&F-00108634 & ED&F-00113799.

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reusing the same shares over and over again whereas Solo had no shares and simply created fictious

book entries. 251



                                                     Figure 9



                                      TDC Share Movements on March 12, 2014


                                             22.3m TDC shares @ DKK 52.4               ED&F Man /
               MPT Dubai                                                               Pension Plans
                                             ( ED&F-00040919 at 38– 49 )




                                                        Link




251
      Wall Deposition, pp. 238-239:

           “Q Okay. And then, would the same shares be used again on the same day to settle another shape of
           the same shares?

           A Yes, they would. Yes, they would. I’m sorry if you didn’t hear me.

           Q Yes. Thank you. And did the reuse of the shares on the same day happen more than once on the same
           day when ED&F was settling Danish trades?

           A Yes, they did. I'm sorry.

           Q The answer was yes, I believe. And would the shares be reused multiple times until all the shapes
           were settled?

           A Yes, they would.” Deposition of Mr. Wall, February 23, 2022, at pp. 238-239.

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199.      Using a similar approach to that explained in the Wade Rebuttal Report, 252 it is possible to

match the settlement of these transactions via MT536 SWIFT messages from the original transaction to

the custody records of BNP Paribas and the in-and- out shapes can be seen on March 12, 2014, matching

the amounts on the Link confirms. 253 Thus, it is evident that the T+4 vs T+3 settlement arbitrage which

Mr. Bottomley outlined in his presentation was put into practice. Various communications quoted in

my previous reports indicate that ED&F Man significantly improved the optimization of their Danish

settlement. In an email discussing the unwind of this position in June 2014, Sara Mina of ED&F Man

states that “Denmark is slightly more efficient settlement wise than Belgium so 25% coverage should

suffice.” 254 In fact, as discussed elsewhere in this report they were considerably more efficient than

this, achieving a 10% share requirement to unwind the TDC positions.


200.      There is only one plausible source for the shares which were used to settle this loop and that is

the shares which ED&F Man had acquired for Pension Plans in Cum-Cum transactions. 255 Link has a

perfectly matched transaction and would expect ED&F Man’s re-hypothecation sale settlement to

deliver the securities for its onward sale to MPT Dubai. The statement confirmation indicates that Link

was paid DKK16,000 for this transaction (about 0.1 basis points), 256 so it is inconceivable to me that

they would have agreed to source even 10% of the shares to settle these trades, because the cost to Link

of borrowing the stock would have been an order of magnitude higher than its DKK16,000 fee. Also

recall that 22.3m shares is approximately nine times the ADTV of TDC at the relevant time, so even if

Link had been prepared to borrow the shares it would have found it very challenging to source enough




252
   See section IV. F Wade Rebuttal Report for an explanation of the process used to match SWIFT statements
to settlement lines in the BNP custody records.
253
   See ED&F-00604196 tab “DK0060228559” (ISIN of TDC) which is the BNP omnibus account’s custody
records, compared to ED&F-00190797 and ED&F-00113799.
254
      ED&F-00201236.
255
   Mr. Wall of ED&F Man agreed that ED&F Man was the original source for the shares settling MPT Dubai’s
short sale in his deposition. Wall Deposition, pp. 237-239.

  Brokerage on the two confirms of DKK16,000 = (DKK2,000 + DKK14,000) / Total Consideration of
256

DKK1,129,509,000. ED&F-00113799.

                                                          91
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shares. 257 It seems equally implausible that MPT Dubai had 22.3m shares (or even a fraction of this

amount) on hand to initiate the settlement of these trades. If it did, why did it enter into the completely

matching purchase transaction to cover its Cum-Ex short?


201.       Mr. Wall has confirmed that one of the reasons why these large trades were broken into small

shapes was to facilitate settlement, and the fact that the shapes match on both legs of the transaction

(i.e., ED&F Man vs Link and Link vs MPT Dubai) was evidently done to ensure that the same shapes

were able to pass smoothly through the settlement cycle. 258 The techniques used for such settlement

recycling were described in detail in the Wade Initial Report. 259


202.       I am certain that the shares used to settle this loop were shares which ED&F Man had at the

close of business on March 11, which as I demonstrated in the Wade Rebuttal Report are completely

accounted for by the Cum-Cum transactions on which various ED&F Man Pension Plans made tax

reclaims. As Mr. Hayden and ED&F Man both acknowledge, the Annex E Cum-Ex trades (to which

these 22.3m shares sales relate) were inappropriate and the Tax Vouchers should not have been issued.




257
      30-day ADTV was 2,393,898. Wade Initial Report, Appendix D.

258
      Wall Deposition, pp. 213-214:

           “Q And what is the reason that MPT would split a transaction into smaller parts?

           MR. BINDER: Objection to form, and beyond his scope as a corporate representative of ED&F.

           MR. OXFORD: I'm just asking for the witness' understanding from ED&F's perspective.

           A The trade would be split into smaller parcels or lot size, if you like. Smaller trades are easier to settle.

           Q Why are they easier to settle?

           A You need less shares to settle smaller trades than you do to settle one big trade.

           Q Can you explain what you mean by that? Feel free to use an example, if that's easier.

           A ED&F were a clearing broker of MPT Dubai. ED&F held a depo account with certain amounts of
           Danish securities in it. Smaller parcels of shares would be used to settle these smaller splits of trades.”

259
      Wade Initial Report ¶¶188-189 plus subsequent examples.

                                                                 92
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However, they maintain the position that the non-Annex E transactions were different and should be

distinguished. The evidence does not support this position.


203.    I have matched every single settlement that goes through on March 12, 2014, to a Cum-Ex

purchase or rehypothecation transaction relating to one of the Pension Plans or Investment Manager

Funds which ED&F Man provided services to at this time and these transactions also match to the

dividend reconciliation worksheet for this dividend event. When the transactions are sorted by the

broker with which they are executed, a clear pattern of matching blocks of shares going into and out of

the account emerges. ED&F Man does all of its rehypothecation trades through one of Volcafe, Link,

ICAP, or Cantor Fitzgerald and we can also see that MPT Dubai covers its Annex E Cum-Ex sales with

these same brokers. 260 The only transactions on this date which are not with Volcafe, Link, ICAP, or

Cantor Fitzgerald are the non-Annex E Cum-Ex purchase from Lutetia Capital and MUFG.

Summarizing the total amounts going in and out to each broker, we can see the overall position is as

follows:


              Table 1: Buy and sell transactions settling on March 12, 2014, by IDB 261




  See the list of documents related to TDC March 2014 transactions in this report within the Materials
260

Considered for this report.
261
   Note where there is a transaction from ED&F Man to Link, Link to MPT and MPT to ED&F Man I have
treated that as a sale to Link and a buy from Link and ignore the intra-ED&F Man Group transaction.

                                                           93
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204.       The sum of the shapes that enter the account is 74.3 million, and the sum of the shapes leaving

is 74.795 million. Of these share movements, we see that there are 64.3m shares on each side which

represent the Annex E Cum-Ex trades which are round-tripped through one of the IDBs. 262 The

remaining 10 million buys are in 3 shapes of 2 million shares from Lutetia, 263 and 1 shape of 4 million

shares from MUFG. 264 Further, we can see that the Link, ICAP, and Cantor Fitzgerald sells which

cannot be matched directly with MPT Dubai total 4.495m, 2m and 4m shares respectively. The 0.495m

shares are related to a Cum-Cum transaction undertaken by the Cubix Investment Manager. 265 The 4m

shares delivered to Cantor Fitzgerald are in a single shape of 4m shares, matching the shape received

from MUFG. 266 The shares delivered to Link and ICAP and received from Lutetia are both delivered

as 3 shapes of 2m. 267




262
   ED&F-00040919, at 84. 64.3 million shares are held at Volcafe, representing Annex E transactions (short
sales by MPT Dubai). This is also the sum of the shares associated with overpayment for this dividend in the
ED&F Re-Amended Defence, Annex E.
263
      ED&F-00193696, ED&F-00193697, and ED&F-00193698.

264
      ED&F-00041857, at 93.
265
   Oliver Bottomley of ED&F Man is instructed by his manager Victoria Foster to rehypothecate a minimum of
4.95m shares of the Cubix holding of 5m shares TDC on March 7, 2022 (ED&F-00251859). He successfully
sells 6.495m shares to Link in shapes of 3x2m and one of 0.495m (ED&F-00206575). In fact, had Cubix held
Cum-Cum positions of 4.995m shares on the Record Date (ED&F-00040919 at 83) and so clearly Mr.
Bottomley was actually re-financing at least some other shares but the odd lot of 0.495m undoubtedly relates to
Cubix given it is the only such shape across all the ED&F Man Pension Plans. As I highlight later, the Lutetia
purchase arrives in 3 shapes of 2m. ED&F-00193696, ED&F-00193697, and ED&F-00193698.
266
      ED&F-00041857, at 93, ED&F-00211966, and ED&F-00211963.
267
   ED&F-00193696, ED&F-00193697, and ED&F-00193698. Here I note that in my Initial Report (¶123) I
identified a sale to Link of 2m shares as being a rehypothecation trade for the non-Annex E AIG position, a
point which Mr. Hayden highlighted as questioning the validity of my opinions on this transaction (Hayden
Report ¶45 a. iii.). He took “no position” on whether these were the same shares purchased from Lutetia and
based on the admission of recycling by ED&F Man this is perhaps an academic question. It is clear that 3 lots
of 2m shares were delivered to Link and ICAP by ED&F Man on March 12, 2014 and 3 equivalent shapes were
received back from Lutetia on the same date. ED&F Man had 24.35m shares in its omnibus account at close of
business on March 12, 2014 and these shares were re-financed and/or returned to the Cum-Cum share providers
over the coming days as explained in the Wade Rebuttal Report, ¶190.

                                                            94
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205.       Combined with the other reasons given elsewhere in this report, 268 it is inconceivable that the

non-Annex E Cum-Ex transactions with Lutetia and MUFG are not carbon copies of the MPT Dubai

Annex E transactions.


206.       Having completed this reconciliation we can now also see how the shares actually acquired and

then reused add up to the figures on the dividend reconciliation worksheet which shows that the

24.845m shares acquired for Cum-Cum transactions were used to support Tax Vouchers on 99.145m

share “long holdings” 269 and the claimed total “long holdings” of 163.445m.270



Table 2: Long holdings listed on TDC March 2014 Dividend Reconciliation Sheet




268
   Principally the pricing of the Cum-Ex sales and Futures plus the fact that both of these Cum-Ex purchase are
individually over 1.5 and 2.5 times respectively of the 30-day ADTV of TDC shares.
269
      This label is used on the reconciliation sheet in ED&F-00040919, at 83-84.
270
      ED&F-00040919 at 83-84.

                                                              95
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             2.      Mr. Hayden’s Criticism on the Detail of the ADTV Calculations Ignores the
                     Substantive Point That It Is Implausible That ED&F Man Really Acquired
                     Such Large Positions and Would Have Been Unable to Risk Manage Them if It
                     Could. In Any Event, ED&F Man Has Now Admitted That It Did Not Really
                     Acquire the Shares It Claimed.

207.       Mr. Hayden criticizes the measure of average daily trading volume I use in my initial report,

which is the 30-day ADTV as reported by Bloomberg. 271 He appears to have two main complaints:

first, that this measure, which does not include OTC trades, is therefore biased downwards, and second,

that by including 30 days it dilutes the effect of increased trading around the ex-dividend dates. Mr.

Hayden’s critique is misplaced, as I explain below. It also ignores the main thrust of my opinion, which

is that given the market realities of trading in Danish shares, of which the Bloomberg 30-day ADTV is

a commonly used measure, it is implausible that ED&F Man could have actually acquired such large

positions in Danish equities. 272


208.       Mr. Hayden opines that, by not including OTC trades, the Bloomberg ADTV measure

undercounts the actual traded volume of Danish shares. 273 He is incorrect, on several grounds.


209.       First, in my experience, banks and traders use this Bloomberg field on a regular basis, due to

its ease of use and objectivity. Bloomberg’s ADTV is used to consider what would happen if a

counterparty failed and in that circumstance the bank or trader may be limited to trying to liquidate via

the exchange (or through brokers who do not have a matching client wanting to take the opposite

position and so have to use the exchange). Access to reliable OTC transaction data in the relevant

period was a non-trivial matter and not conducive to desk-level monitoring. Further, Mr. Hayden

ignores the fact that I suggested that 200% of ADTV as a suitable metric. Any risk measure of this

nature is inevitably arbitrary, so it is equally valid to define a risk limit based on an arbitrary percentage




271
      Hayden Report, ¶49b.
272
   An opinion which has even more force following the admission by Mr. Wall of ED&F Man that ED&F Man
used recycling techniques to settle Cum-Ex trades. Wall Deposition, pp. 237-239.
273
      Hayden Report, ¶49b.

                                                           96
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of the exchange volume calculated ADTV as it is to use a different arbitrary percentage on a more

comprehensive measure.


210.       In any event, Mr. Hayden ignores the inconvenient fact that ED&F Man’s own policy was to

use ADTV as one of the measures used to cap the risk taken by their equity finance desk: “Max Position

per single stock Min of: … ii. 20% of 20 Day Average Trading volume, based on comparable dividend

period.” 274 I note in this context that the policy limit was 20% of ADTV, compared to the metric of

200% used in my Appendix D whereas the positions ED&F supposedly held were many multiples of

this limit. One would need to multiply the Bloomberg ADTV figures by 10 times to generate an ADTV

figure where the ED&F Man risk limit would have exceeded the metric used in the Wade Initial Report.


211.       Further, even if there was a reason to include OTC trading volume in the measure (which I

disagree with), it would have not changed the basic arithmetic in any material way. According to the

ESMA’s 2021 Annual Statistical Report, only 10% of traded volume in European equities outside of

the UK occurs over the counter. 275 To use the TDC March 2014 example, 276 accounting for the missing

OTC trades would increase the ADTV from 2.4 million shares per day to 2.69 million shares per day. 277

ED&F Man’s claimed position of 99.145 million shares 278 is gigantic even relative to this “augmented”

ADTV, coming in at over 35 times ADTV.




274
      ED&F-00444677, at 84-85.
275
   EU Securities Markets – ESMA Annual Statistical Report 2021, p. 7. Available at
https://www.esma.europa.eu/sites/default/files/library/esma50-165-2004_eu_securities_markets_asr_2021.pdf,
last accessed February 25, 2022. 83% of shares are traded on-exchange, and the other 7% are traded via
systematic internalisers (SIs).
276
      Wade Initial Report, Appendix D.
277
   2.4 million shares traded on-exchange * (83% on-exchange + 10% OTC) / (83% on-exchange) = 2.69 million
shares traded either on-exchange or OTC.
278
   From the TDC dividend reconciliation sheet excluding the positions shown as ‘held’ by Volcafe. ED&F-
00040919, at 84.

                                                          97
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212.        Mr. Hayden’s critique that the use of 30 days around the Record Date is somehow misleading

also does not hold water. First, as already discussed, ED&F Man itself uses a 20-day average, whereas

Mr. Hayden appears to advocate for a 7-day average. Second, his example using the shares of

TotalEnergies SE 279 is completely irrelevant because it is a much more liquid French stock, and

TotalEnergies in particular is a popular dividend arbitrage event due to its high dividend yield. 280 The

Danish securities involved in this matter do not exhibit a uniform pattern of higher volume on the Ex-

Dividend Date. 281 Mr. Hayden’s own Appendix C shows no such jump for Danske.


213.        Mr. Hayden also remarks that “the ratio of holdings to ADTV is not generally used in the market

to evaluate whether a party could reasonably have the right to a dividend in the shares it acquires.” 282 I

never suggested it was. My opinion is that an implausible ratio of holdings to ADTV is evidence that

the purported holdings were not real.


IV.         BASES FOR OPINIONS RELATED TO DR. CARR’S REPORT

  A.          Opinion 6: Dr. Carr Ignores the Comprehensive Evidentiary Record That No Shares
              Were Ever Held by the Parties in Connection with Tax Reclaims and That the Solo
              Trades Were Conducted with Contrived Circularity and No Economic Risk. Dr. Carr’s
              Claim That the Solo Transactions Carried Normal Market Risk Ignores All Available
              Evidence and Is Incorrect.

214.        Dr. Carr asserts that “the pension plan strategy was a structured transaction that required

successful execution of all of the stock, stock loan, and hedging transactions.” 283 He explains that “to




279
      Hayden Report, ¶49 b iv.
280
   Its historic dividend yield at the time of writing has been above 5% for the last 10 years. Source: Refinitiv
Eikon.
281
   For example, Bloomberg lists COLOB DC’s volume on the ex-dividend date of December 6, 2013, as
411,105 shares. On December 13, only one week later and after the Record Date of December 10, volume was
523,557 shares, and on December 14 it was 435,029 shares.

Similarly, on Novozymes’ ex-dividend date of February 27, 2014, volume was 493,776 shares, lower than the
volume on the next day (591,505 shares) and much lower than the volume on February 25 (1,655,208 shares).
282
      Hayden Report, ¶49 b.
283
      Carr Rebuttal Report, Section II heading, p. 9.

                                                              98
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pursue the Pension Plan Strategy, pension plans faced several risks, including price risk, liquidity risk

and financing risk”, 284 and that to mitigate those risks the plans used the services of registered and

regulated custodians and IDBs. 285 This argument is premised on Dr. Carr’s demonstrably false

assumption that the Pension Plans had faced actual financial risk. In fact, as I explained in my previous

reports, the Pension Plans did not actually hold any shares and faced no economic risk at all. 286 Two

of the principals of the plans, Mr. Markowitz, and Mr. Klugman, confirmed their understanding that

their plans faced no market risk, 287 a fact that was apparent from my review and which I have outlined

in detail in my prior reports. Dr. Carr cites no new evidence showing that the plans faced real risks or

engaged in anything other than circular non-market facing transactions designed to generate tax

withholding claims.


215.       Dr. Carr cites the 2007 Interagency Statement on Sound Practices Concerning Elevated Risk

Complex Structured Finance Activities in support of his opinion. 288 He suggests that by simply

redefining the Solo transactions as a type of structured finance that carries real risks, a measure of

market reality would be attributable to the transactions. In fact, the Solo transactions, on their face,

would have so clearly breached the principles behind the Interagency Statement that prudent investors

and financial institutions would surely have avoided them. The Interagency Statement was issued in

order “to describe the types of risk management principles that… may help a financial institution to

identify CFSTs [Complex Structured Finance Transactions] that may pose heightened legal or

reputational risks to the institution (‘elevated risk CSFTs’).” 289 Examples of structured financial




284
      Carr Rebuttal Report, ¶13.
285
      Carr Rebuttal Report, ¶¶14-16.
286
      Wade Initial Report, ¶¶234 – 237.
287
      Wade Rebuttal Report, ¶¶45 – 46; ¶¶51 – 52.
288
      Carr Rebuttal Report, ¶9.
289
      Interagency Statement, p. 1.

                                                        99
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transactions which may pose elevated legal or reputational risk include, according to the Statement,

transactions that “[l]ack economic substance or business purpose,” that “[i]nvolve circular transfers of

risk (either between the financial institution and the customer or between the customer and other related

parties) that lack economic substance or business purpose,” or that “[h]ave material economic terms

that are inconsistent with market norms.” 290 In my previous reports I discuss in detail the evidence that

the Solo transactions, in fact, appeared to be perfect examples of elevated risk financial transactions

and include the very factors described in the Interagency Statement cited by Dr. Carr. They had no

clear business rationale, were entirely circular, and had terms that were inconsistent with market

norms. 291 Given these features, in my experience, the Solo transactions would have raised multiple red

flags for any finance industry practitioner; red flags which should have been apparent to any

knowledgeable market investor, like Mr. Markowitz and Mr. Klugman.


              1.       Dr. Carr’s Claim That the Pension Plans Could Have Reasonably Assumed
                       That the Solo Transactions Were Real Ignores All Available Evidence and Is
                       Incorrect

216.       Dr. Carr opines that, given the complexity of their strategy, it is not surprising that “pension

plans like the RJM Plan and the Proper Pacific Plan used their custodians, Solo and Old Park Lane, to

successfully implement the Pension Plan Strategy.” 292 In fact, it is highly surprising for a custodian to

propose trades and source counterparties, as Solo and Old Park Lane did. 293         There is an inherent

conflict of interest when a financial institution offers customers both custody services and trading

services. As a custodian, the institution is supposed to keep the customers’ assets safe, whereas all




290
      Interagency Statement, p. 4.
291
      Wade Initial Report, Section VII. E; Wade Rebuttal Report, ¶¶12 – 51.
292
      Carr Rebuttal Report, ¶ 14.
293
      Wade Initial Report, ¶¶ 241-2.

                                                             100
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trades include risk. It is not at all customary for a custodian to propose a trading structure, individual

trades, and the counterparties with which to execute those trades as Solo clearly did. 294


217.       Dr. Carr is further incorrect when he opines that “[g]iven numerous structured transactions by

the pension plans and potentially by its other customers, it seems reasonable that Solo took steps to

automate the process.” 295 However, instituting an automated system like Brokermesh could have

created an enormous risk for its clients had the trades been real, since a default or trading error by any

one of the dozens of counterparties would immediately cascade through the entire network. The

Pension Plans could not reasonably have ignored this risk, yet, according to the deposition testimony

of Klugman and Markowitz, they did exactly that. 296 It is clear to me from the totality of the deposition




294
   Klugman Tr. at 110:14-21 (“Q. So, the -- Solo would provide you with the identification of the counterparties
and the allocation of the shares for each plan. And Matt and Ira would then use that information to populate the
template they were using to process the transaction? A Yes, that sounds right.”) See also Markowitz Tr. at
274:22-275:11 (“Q Okay. Whose job was it on behalf of the plans to decide which broker to go to to seek
liquidity for any particular trade? A It's part of the allocation process that we received from Solo in terms of the
liquidity and shares. We'd also be given information as to which of those brokers would source that liquidity or
had access to that liquidity. So Solo would provide us a number of shares that they saw in the marketplace or
could arrange in the marketplace, and also the identity of the brokers who would be able to handle the trades on
behalf of the pension plans.”) See also: In the High Court of Justice, Business and Property Courts of England &
Wales, Commercial Court, SKAT v. Solo Capital Partners (in Special Administration) & Others, Sanjay Shah
Defendants’ Response to Claimant’s Request Dated June 4, 2019, for Further Information Under CPR 18
(“Shah Response”), p. 13, Response 16. (“REQUEST: Please clarify who is alleged to have developed the
Futures Trades and the Forwards Trades. RESPONSE: [1] Futures Trade: principally Rajen Shah and Graham
Horn. [2] Forward Trades: principally Priyan Shah and Gerry O’Callaghan.”) See also JVHM_0004863
(detailing instructions concerning conducting the trades with vis-à-vis Old Park Lane and Pogo (i.e., Mr.
Patterson)).
295
      Carr Rebuttal Report, ¶22.

296
   “Q And are you aware of any due diligence that anyone performed on any forward counterparty? A Specific
due diligence? No. Q Are you aware of any due diligence that any forward counterparty performed on any plan
or any other participant in the Danish trading transactions? MR. ALLISON: Object to form. A No, I'm not
familiar with that, no. Q Are you aware of any due diligence that any party to the Danish trading transactions
performed on any other party? MR. ALLISON: Object to form. A Well, I do know there was a lot of due
diligence done originally on Solo Capital by the Argre team. There [was] various successful transactions done
over the years and I don't know specifically what was done in 2012, 2013, and in the first part of 2014, before I
got involved. But I know they were -- all the transactions were successful and there were no failures involved. Q
Is there any due diligence that you're aware of, by any party, that was done by any other party to the Danish
trading transactions, other than what the Argre team did with Solo and the earlier successful transaction? A
Well, I also know that Kaye Scholer was involved in those earlier transactions as well, as well as other law firms
involved in -- in the -- you know, reviewing all the documents on other transactions. Specifically, what exactly
they did, I can't speak to. Q Okay. So other than what the Argre people may have done, and the Kaye Scholer
law firm may have done, are you aware of any due diligence by any party, on any other party to the Danish


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testimony and the obviously perfectly matching transactions that, contrary to Dr. Carr’s assertions, the

participants proceeded on the basis that the only material risk in the scheme was the tax reclaim risk.


218.       Dr. Carr opines that I “ignore the account statements listed by the Solo Custodians that show

the pension plans’ transactions and holdings.” 297 I refer Dr. Carr to my extensive discussion of these

statements in previous reports. For example, the Solo statements appear to have been manipulated so

as to have all transactions net off to zero. Also, the statements do not show any margin requirements,

or if they do, do not show that cash or other assets were actually provided to satisfy margin

requirements. In other words, the statements fundamentally show shares and positions which are not

real, a fact that could not have been lost on the knowledgeable market participants, such as Mr.

Markowitz and Mr. Klugman, who received these statements. 298


219.       Dr. Carr misstates several aspects of my previous reports asserting that I “consider information

not available to the pension plans,” 299 that I “fail to demonstrate that the pension plans knew that ‘Solo

never held any actual Danish shares’” 300 and that I “do not provide any evidence demonstrating that the

pension plans knew of all transactions (and identities of parties in these transactions), including

transactions that did not involve the pension plans.” 301 In fact, I did not opine on the state of knowledge

of the Pension Plans or anyone else’s, as it is my understand that opining on that state of knowledge is

not an area for expert opinion. I do opine, however, on what informed investors, which is how the




trading transaction? A Other than what the Argre team did and Kaye Scholer, no, I'm not aware of anything
other than those parties. Q And what can you tell us about the due diligence on Solo that the Argre team did? A
Well, when they were initially contemplating transactions with them, I know they did a crawl search, both on
Sanjay Shah and on Solo Capital. Q Anything else? A I don't know other -- I mean, before entering into any
transactions, like before even contemplating transactions, looking at transaction documents, et cetera, no, I don't
know of anything else.” Deposition Transcript of Robert Klugman, January 28, 2021, 133:25 – 136:7.
297
      Carr Rebuttal Report, ¶7.
298
      Wade Initial Report, Section VII. E, Wade Rebuttal Report, Section III. A.
299
      Carr Rebuttal Report, Section V heading, p. 34.
300
      Carr Rebuttal Report, ¶83.
301
      Carr Rebuttal Report, ¶84.

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Pension Plans are described by Solo, 302 would have made it their business to know had they faced

similar circumstances. Accepting at face value a riskless transaction, involving almost infinite leverage

and generating large profits is simply not something that any informed investor would do. Considering

that the Solo transactions were loss-making transactions but-for the tax refund; the Solo custodians were

highly involved in the trades and eventually employed an automated process; the Pension Plans were

not required to post margin or to put any cash at risk; the large sizes of the purported transactions; and

that the Pension Plans were matched to trade with counterparties about whom they knew nothing or

nearly nothing, I conclude that no reasonably informed investor would have considered the Solo

transactions as anything other than a scheme to generate and receive tax refunds.


             2.       Dr. Carr’s Claim That IDBs’ Participation in the Solo Transactions Is Evidence
                      That They Were Not Fictitious Ignores All Available Evidence and Is Incorrect

220.       Dr. Carr cites selectively from the FCA’s Final Notice to Sunrise Brokers in an attempt to

support his view that the executing brokers in the Solo transactions did not have instant access to

liquidity and were not always able to find any. 303 Presumably, these quotes purport to show that the

executing brokers executed the Solo transaction in the ordinary course of business, as they would

execute any other transaction. Dr. Carr ignores the evidence that, on the whole, brokers working on the

Solo trades had an extraordinarily easy time finding the necessary liquidity to execute the massive

transactions, and that this was contrary to actual market conditions. The FCA’s report is clear on this

topic. Although Dr. Carr does not cite the relevant passages in the same report, the report finds that the

liquidity that Sunrise was able to find was much too large to be realistic in a market context. For




302
    See, for example, ELYSIUM-01586731, where Gary Pitts, Solo’s chief compliance officer, explains: “In
general we are relying on the net wealth and holding a professional role for at least 12 months…. A number of
these clients do not trade with the frequency required… but their trades are complex, structured dividend
arbitrage trades in considerable size, often for seven figure sums subject to significant leverage. The size and
complexity of these trades means they cannot be conducted on a frequent basis. A schematic of a standard type
of one of these trades would show the professional skill and nature of the investors concerned…. You will also
find that there is a short ‘season’ of around 4-5 months each year when dividend arbitrage trades can take place
which renders the FCA test one that the investors are unlikely to meet. These are high leverage, high return
trades.”
303
      Carr Rebuttal Report, ¶¶23-24.

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example, the FCA calculates that “Sunrise would have had to execute trades on behalf of the Solo

Clients to the approximate value of £15.5 billion in order to generate gross commission of DKK 996,355

(which equates to approximately £97,000) within almost a month.” 304 In the face of this incredible

success in executing trades, the claim that, occasionally Sunrise had trouble finding liquidity does not

carry any weight.


221.       Sunrise’s success in finding liquidity was so great, in fact, that the FCA concluded that this

should have raised red flags within the organization: “Sunrise never queried how it was possible to

source sufficient liquidity, cash or financing for trades that had a nominal value of billions of pounds

within a single day. Nor did Sunrise enquire how such liquidity, cash or financing could be found within

a closed network of clients (most of whom were individual 401(k) Pension Plans) without access to

liquidity from public exchanges. All of this was possible despite the fact that the purported Solo Trading

on Brokermesh represented multiple times the entire daily volume of trading across virtually all

European exchanges.” 305 In part for these reasons, the FCA found that the records surrounding the

“purported” trades were “highly suggestive of a sophisticated financial crime.” 306 Dr. Carr, with access

to the FCA’s report, does not ask any of these questions either.


222.       Dr. Carr cites an example where liquidity could not be found for a pension plan trade. 307 This,

if anything, is an exception that proves the rule. Out of thousands of transactions, involving dozens of

Pension Plans over two years, Dr. Carr identifies only one instance where a transaction did not execute.

A more careful review of this particular event shows that, far from being a failure to find liquidity, it




304
      FCA Sunrise Final Notice, ¶4.135.
305
      FCA Sunrise Final Notice, ¶4.136.
306
      FCA Sunrise Final Notice, ¶2.10.
307
      Carr Rebuttal Report, ¶25.

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was in fact the result of a series of errors by the participants in the fictitious trading where they failed

to follow the script correctly, and Solo making mistakes coordinating the action.


223.      The relevant example relates to the intended unwind of a transaction which was purported to

be put on in December 2012. In order to unwind the transaction Adam La Rosa should have asked to

sell the shares and buy a future. Instead, in the email cited by Dr. Carr, which is dated March 8, 2013,

Mr. La Rosa asks FGC Securities for liquidity to buy equity and sell futures on behalf of Mill River

Capital Management Pension Plan. 308 However he had made a mistake—he had the direction of the

trade wrong—and sent a corrected request to FGC Securities, which also appears to have been aware

that the trade request they received was an error and prompt Mr. La Rosa to cancel the trade. 309 Mr.

La Rosa then sent the request for liquidity to Novus Capital. In his initial request to Novus, Mr. La Rosa

had the direction of the trade wrong again. 310 When approached by Mr. La Rosa with the corrected

direction of the trade, Novus had no trouble finding liquidity for the trade. 311 However, since the hour

was late, the trade was executed on the following business day. 312


224.      It is also clear that the events of March 8 were the subject of significant follow up debate. For

example, on Sunday March 10, Mr. La Rosa says the following in an email to Mark Patterson of Solo:

“I sure you guys got all those kinks out of the system now right? Stepping away from it and thinking

about it yesterday I’m actually happy it happened. Rather it happen on an unwind day and get




308
      MPSKAT00072487.
309
   See correction from Mr. La Rosa in MPSKAT00072353. FGC Securities send an email which states “Adam
— we have NOT been able to find liquidity so far for this. Let me know if you want us to cancel”.
MPSKAT00072484. Mr. La Rosa replies a few minutes later with “Ok understand – please cancel the entire
trade.” MPSKAT00072495.
310
      MPSKAT00072570.
311
      MPSKAT00072729.
312
      MPSKAT00072775.

                                                         105
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everyone’s attention now then have it happen on March 20 or 21!!!” 313 Separately, Sanjay Shah passes

on feedback from “Oakley” who had said “Your reports are shit and need fine tuning to show these cash

flows. We should chat on Monday and come up with a solution.” Later in the same email chain he

says to Anupe Dwala of Solo, “today’s trades/activity is in meltdown for about a dozen different

reasons. Pogo [Mark Patterson], Nirav and me are in the office trying to sort. I have said a million times

before that we need a system. I still don’t have access to access. We need a developer hired asap.” 314


225.       Therefore, far from being evidence of the fact that the brokers had problems finding liquidity,

the instance cited by Dr. Carr is in fact further evidence of the centralized coordination of the whole

scheme and the active and knowing participation of the Pension Plan trustees.


              3.       Dr. Carr’s Claim That the Solo Transactions Were “Bespoke” and Therefore
                       Legitimate Ignores All Available Evidence and Is Incorrect

226.       Dr. Carr asserts that “the analyzed transactions followed numerous accepted market practices

and are not fake simply because of the use of any non-standard terms.” 315 My opinion that the Solo

transactions were not real transactions is based on the entirety of the evidence I reviewed and my own

experience. It does not hinge on any single piece of evidence.


227.       Having said that, the so-called “non-standard terms” were not part of any trading strategy I can

recognize. First and foremost, as shown in my previous reports, the trades were circular loops in which

no shares or cash existed. Second, Dr. Carr wrongly takes issue with my analysis of Solo’s account

with JPMorgan. 316 Dr. Carr ignores the fact that an accurate statement from a third party can

nevertheless show transactions that are not market-facing and therefore not real. JPMorgan’s account




313
      ELYSIUM-01396410.
314
      ELYSIUM-01389516.
315
      Carr Rebuttal Report, Section IV heading, p. 16.
316
      Carr Rebuttal Report, ¶¶45-47.

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statements reflected the information given to it by Solo. The statements always showed futures trades

that netted off precisely to zero, so that the net aggregate position of all the Solo entities—Pension

Plans, counterparties, and custodians—was zero at all times. This was imperative since neither the

Pension Plans nor Solo had or could post the proper margin that would have been required had the

position not been exactly zero.


228.        JPMorgan, in its correspondence with Solo that is cited by Dr. Carr, appears to be concerned

that the trades reflected in its statements were wash trades: they ask Solo to provide “the rationale

behind the April matched business [the trades in question]” and to “confirm that each trade had different

buyers and sellers.” 317 Dr. Carr claims that I have “not provided any evidence that they were not.” 318 I

refer Dr. Carr to my detailed analysis of the Solo transactions in both my initial report and my rebuttal

report, where I show, and provide supporting evidence, that the Solo transactions were complete circles,

and that as part of that circle, the futures trades shown in the JPMorgan statements were non-market

facing. This has nothing to do with the trades being “bespoke” or over the counter, neither of which is

mutually exclusive to the trades being non-market facing, circular or fictitious. 319


229.       Dr. Carr dismisses my opinion that the pricing of the futures in the analyzed Solo transactions

was not market-based. 320 His argument appears to be that, since the futures were traded on an OTC

basis, it follows that market-based pricing factors are irrelevant. This argument is incorrect and shows

a lack of understanding of the way futures markets work. A futures contract that is negotiated over the

counter can be then given up to a clearing firm and put onto the exchange to be traded like any other

future. Its price then should align to the market price for the other futures on that exchange because the




317
      ELYSIUM-01746161.
318
      Carr Rebuttal Report, ¶46.
319
   The concerns raised by JPMorgan were not an isolated instance. In November 2013, SEB raised similar
concerns of possible wash trades, and sought confirmation from Solo that the trades were conducted
independently of each other. See ELYSIUM-02521413.
320
      Carr Rebuttal Report, ¶52.

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only differentiating factor between all the futures of a given maturity is the opening price at which they

were first created – all other features are identical.


230.        Dr. Carr claims that I “misleadingly state that the structured nature of pension plans trades is

evidence that they are fictitious.” 321 I did not make such a claim. Instead, in my report I followed the

purported structure of the transactions based on the documentation provided, and described in detail

how the trades, as reported in the documentation, could not have been real trades. 322 Structured

transactions are common; the structure of the Solo transactions was not. Not only would no reputable

financial institution ever execute such transactions, but there would also be serious disciplinary

processes or education programs for anyone who even suggested that they should.


231.        Dr. Carr claims that “[t]here is nothing wrong with trading OTC.” 323 I agree, but equally Dr.

Carr cannot ignore all of the regulatory red flags which were raised by these “trades” such as the rules

of market abuse, large holding reporting, money laundering, and wash sales which have nothing to do

with whether those “trades” are done on an OTC basis or not. Furthermore, there are a wide range of

conventions and market practices in the OTC markets which, as I explain in my earlier reports, are

completely ignored, or violated by the Solo transactions. For example, the parties’ use of the GMSLA

documents and ISDA documents which are used to execute the stock loans and forwards were highly

unusual and not at all consistent with market norms as I have discussed at length in my previous reports.


232.        Dr. Carr asserts that the profitability calculations I include in my report are “irrelevant because

they are effectively the gross profits… for an investor paying taxes at the same rate as the withholding

tax”. 324 I agree that my calculations show the profit ignoring transaction costs and disputed tax reclaims




321
      Carr Rebuttal Report, Section III heading, p. 12.
322
      Wade Initial Report, Opinion 5.
323
      Carr Rebuttal Report, ¶39.
324
      Carr Rebuttal Report, ¶59.

                                                            108
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(which I defined as Trade Profit in Table 1 of the Wade Rebuttal Report), but that does not make my

calculations irrelevant. Notwithstanding my explanation, Dr. Carr still does not explain why the Trade

Profits for the Proper Pacific transaction he analyzes were exactly zero. 325 I also refer Dr. Carr back to

my analysis of the Roadcraft and Basalt Ventures transactions, where the Trade Profits were also exactly

zero. 326 For real trades, it is implausible that the Trade Profits would be zero. My calculations of the

Trade Profits are relevant because they clearly show that these transactions were artificial and contrived,

and could not have been real, market-facing transactions.


              4.      Dr. Carr’s Claim That the Securities Lending Transactions Were Real and
                      Legitimate Ignores All Available Evidence and Is Incorrect

233.       Dr. Carr critiques my opinion as follows: “Mr. Wade’s assertion that Aquila would have

demanded a haircut… is inconsistent with the fact that Delvian had executed the transaction as a stock

lending transaction, in which the stock lender generally charges margin, not a repurchase agreement

(repo) in which the cash lender requires a haircut typically.” 327 Dr. Carr is mistaken, and his critique

shows a lack of understanding of the operations of the market for securities lending. The collateral

terms in a stock loan reflect the relative negotiating strength of the parties and would also customarily

reflect which party is the initiator of the transaction. As I explained in my report, 328 the party which

has the greater need for the transaction would provide margin or haircut to the other party. According

to Dr. Carr’s own analysis, “Delvian did obtain the financing [from Aquila] and used that to pay for the

shares.” 329 One would expect that Aquila would demand a haircut in return for the financing it provided.

The fact that there was no haircut, as Dr. Carr appears to concede, completely undermines his analysis.




325
      Wade Rebuttal Report, Table 3.
326
      Wade Rebuttal Report, Table 1, and Table 4.
327
      Carr Rebuttal Report, ¶68.
328
      Wade Initial Report, ¶248.
329
      Carr Rebuttal Report, ¶71.

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Additionally, as explained at some length in the Wade Rebuttal Report, the terms of the stock loan

margin were in fact based on back-dated prices and so the margin level was in effect random. 330 In

other words, Aquila did not demand margin and Delvian did not demand a haircut: both accepted an

outdated price, which was convenient because it meant that no net cash was needed by the parties on

the settlement date.


234.       Dr. Carr asserts that I “seem to assume that the parties to the stock trade knew each other and

had visibility into each other’s finances.” 331 In fact, I assumed the opposite, i.e., that the parties to the

stock lending transaction initially had no information about each other’s financial situation, and

therefore would have been extremely hesitant to execute the trade had it been a real, market-facing

transaction. Having no information on a counterparty’s finances would lead a reasonable trader to

operate on the prudent assumption that the counterparty has very little capital and therefore poses a high

risk. Under regular conditions, the stock trade would not have occurred absent due diligence by each

party to gain comfort with the counterparty risk presented. Here, however, neither party, had it done

such due diligence, could have gained the necessary comfort with the counterparty’s risk profile.

Indeed, both counterparties would have been justified in considering the other as unacceptably high

risk. As I show in my report, 332 both counterparties were very thinly capitalized and could not have

survived even a small deterioration in market conditions. This stock trade would simply not have

occurred had it been a real arm’s-length transaction between independent counterparties.


235.       Dr. Carr also misunderstands my opinion regarding the consequences of a potential special

dividend during the life of the stock loan. 333 My point is that should a special dividend be announced




330
      Wade Rebuttal Report ¶34.
331
      Carr Rebuttal Report, ¶73.
332
      Wade Rebuttal Report, ¶¶51, 54, and 62.
333
      Carr Rebuttal Report, ¶¶74-75.

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while Aquila, Delvian’s counterparty, was the stock borrower, then Aquila would have to deliver 100%

of the dividend to Delvian, while itself receiving only 73% of the dividend. This is not standard market

practice, and that the risk was ignored by the parties to the stock loan is further evidence that the

transactions were not real.


              5.      Dr. Carr’s Claim That the Pension Plans Had Economic Exposure to the
                      Shares and Therefore a Claim to Dividends Ignores All Available Evidence
                      and Is Incorrect

236.       Dr. Carr asserts that “[b]oth in a Cum-Cum and a Cum-Ex trade, an investor buys a stock at the

cum-dividend date, and thereby obtains immediate economic exposure to changes in the stock price and

a claim to an amount equal to the forthcoming dividend.” 334 As a general matter, I completely disagree

with this statement, for the reasons that I have detailed in my reports. However, Dr. Carr’s error here

is also on a more basic level: the Solo pension plans were not exposed to economic risk, because they

never bought any shares, nor did they ever lend shares, recall shares, or sell shares at any point in the

Solo transactions, for the simple reason that there were no shares in Solo’s accounts. Dr. Carr ignores

this basic fact and proceeds to make his assertions as if it wasn’t true, where, in fact, the lack of any

shares renders the entire point meaningless. Further, as discussed above, due to the highly irregular

pricing of the stock loans and futures and/or forwards, even if the shares had existed the plans would

have faced no price risk on the transactions, as admitted by both Mr. Markowitz and Mr. Klugman.

That and the fact that the plans seemed to ignore counterparty and settlement risk is further proof that

the trades were fake.


237.       Finally, in relation to the question of the nature of the dividends received by the Pension Plans

Dr. Carr takes issue with the citation in the Wade Initial Report of the U.K. Manufactured Overseas

Dividend rules, and claims these rules are irrelevant. 335 Even ignoring the absence of any shares and




334
      Carr Rebuttal Report, ¶89.
335
      Carr Rebuttal Report, ¶97.

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therefore the absence of any dividends he is still mistaken. These rules, in fact, applied to dividends

paid to holders of “Overseas Securities”, defined as “shares, stock, or other securities issued by a

government or public or local authority of a territory outside the UK or by any other body of persons

not resident in the UK. This includes both overseas shares and overseas debt securities.” 336 This

definition includes, of course, the Danish shares at issue in this matter. Solo, which was at the time a

U.K. registered and regulated entity, was subject to these rules. The “significant difference” Dr. Carr

mentions is not a different tax treatment, rather, it is the difference between a manufactured dividend

and a real one. I have covered this point in more detail earlier in this report in response to the comments

made by Mr. Hayden.


             6.       Dr. Carr’s Claim That the Circularity of the Solo Transactions Does Not
                      Imply They Are Fictitious Ignores All Available Evidence and Is Incorrect

238.       Dr. Carr asserts that I “fail to explain what exactly is circular in the figures present and why the

purportedly circular nature of the transactions establishes that the trades were fake.” 337 He suggests

that, because Danish shares are fungible, the circularity of the transactions is immaterial in and of itself.

Dr. Carr’s analysis fails because he ignores the very substantial additional evidence that I and others

have brought to bear on this issue: first, there were no shares to be traded, and second, even according

to Solo’s account statements, the counterparties had no other source for the shares they sold short to the

Pension Plans other than the shares they borrowed, through an intermediary, from the very same

plans. 338 If we look through the various thinly capitalized entities doing back-to-back transactions,

none of which settled (or even could be settled by the parties to those trades), then we are left with the

proposition that a Pension Plan can buy shares for its left pocket from its right pocket and then use those




  Her Majesty’s Revenue & Customs, Corporate Finance Manual, CFM74360 – Manufactured payments:
336

manufactured overseas dividends. Available at https://www.gov.uk/hmrc-internal-manuals/corporate-finance-
manual/cfm74360.
337
      Carr Rebuttal Report, ¶101.
338
   See, e.g., Solo’s account statement to D.D.C Cayman (ELYSIUM-08526869), and Solo’s account statement
to Colbrook, Ltd. (ELYSIUM-01744940).

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same shares to lend to its right pocket to complete the original purchase and that the “long” position in

its left pocket can be used to justify a withholding tax reclaim. This is clearly absurd.


239.    Finally, I would add that, as discussed in the Wade Rebuttal Report, Solo Capital’s records

themselves show that the trades were structured as a closed loop. For the avoidance of doubt, this is

Solo Capital’s own diagram of the structure of the trades:




                                                   Figure 10




          7.       Dr. Carr’s Claim That Offsetting Trades in Solo’s Accounts Could Somehow
                   Legitimize the Solo Transactions Ignores All Available Evidence and Is
                   Incorrect

240.    Dr. Carr asserts that “examining the Danish holdings on behalf of the Solo Custodians at the

sub-custodians is irrelevant for assessing the validity of purchases that the pension plans made. This is

because if [sic] the Solo Custodians’ settlement of the trades involved the settlement of offsetting trades


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on the same date then it would not require sourcing shares externally as the trades netted to zero.” 339

Again, Dr. Carr is incorrect for three reasons:


       1.       It ignores the points made in the Wade Rebuttal Report about the fact that one cannot simply

                assert that a trade has been settled. 340 Book entry settlement of stock does not mean that a

                custodian can create positions in a share if it never owns any of the shares itself at any point

                in time. Account positions are created through settled transactions and Solo could not settle

                any transactions because it never custodied the necessary cash or shares.


       2.       While it may be true that, if a prime broker represents to its Pension Plan client that the

                Pension Plan has purchased securities, then the Pension Plan may have a claim against the

                prime broker for an amount which is calculated by reference to the value of the shares, it

                does not mean that there actually are any shares. In particular, there is no basis to claim

                receipt of a dividend (or any tax reclaim rights which derive from such dividends) on what

                is, in effect, a derivative position.


       3.       Net settlements are only possible on bilateral obligations. Taking the example of the

                Delvian Carlsberg 2013 transaction from my Initial Report, if Delvian’s Cum-Ex purchase

                of shares from Gulf Management Group had been matched with a same day delivery of

                shares from Delvian to Gulf Management Group then it would potentially have been

                possible to net these transactions. However, Delvian had an obligation to deliver shares to

                Aquila under the stock loan and Acquila had to deliver shares to Gulf Management Group

                under its back-to-back stock loan. The Solo Custodians had to settle six independent

                obligations (three share deliveries each with a matching cash delivery obligation) between




339
      Carr Rebuttal Report, ¶111.
340
      Wade Rebuttal Report III. A. 2.

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                 three supposedly legally distinct and independent entities at the same time, and there is no

                 legal mechanism which would allow it to do this.


241.          Dr. Carr opines that the Solo transactions would result in the same economic exposure to the

Pension Plans whether or not they were structured as a closed loop. 341 In support of this assertion, Dr.

Carr presents diagrams of an actual transaction (Figure 7) and two hypothetical variations on that

transaction (Figures 8 and 9). 342 The transaction shown in Figure 7 is a standard Solo loop: the Bernina

Pension Plan buys 600,000 Carlsberg B shares from D.D.C. Cayman, via FGC Securities the day before

the Ex-Date, with a T+4 settlement date. On the Record Date, Bernina lends the shares to Colbrook,

Ltd., effective on the Payment Date. Colbrook, Ltd. lends the shares on the same terms to D.D.C.

Cayman. On the Payment Date, all three legs of the loop settle, with no shares or cash actually changing

hands. 343 The variation shown in Figure 8 “depicts a transaction where D.D.C. Cayman owned, as of

trade date, the shares it sold and Colbrook, Ltd. lent shares to a different party.” 344 Dr. Carr opines that

the two transactions “would result in the same economic exposure for the Bernina Pension Plan.” 345 I

strongly disagree, on two grounds. First, as already explained, Dr. Carr assumes away the problem with

the Solo loop that no party ever owned the shares purportedly being sold or lent. By contrast, the

hypothetical transaction described by Dr. Carr can be settled, either internally or externally, exactly

because it is a series of bilateral trades which started with a seller who had acquired the shares as of the

date it sold them: D.D.C. Cayman sells the shares it already owned to Bernina; Bernina lends them to

Colbrook; Colbrook lends them to a third party. Second, Dr. Carr again ignores the evidence. Solo’s




341
      Carr II, ¶¶102-108.
342
      Carr II, pp. 44-46.

  The transaction is essentially identical to the Delvian 2013 Carlsberg transaction analyzed in my initial report
343

(Wade Initial Report, ¶¶227-231.) For details of the Bernina 2013 Carlsberg transaction described here, see
ELYSIUM-01463894, ELYSIUM-01463929, ELYSIUM- 01487958, and ELYSIUM- 01487961.
344
      Carr II, ¶104.
345
      Ibid.

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statements to D.D.C. Cayman and Colbrook, Ltd. show clearly that (1) D.D.C. Cayman sold Carlsberg

shares short in March 2013 that it did not own, nor did it borrow them from a third party; 346 and (2)

Colbrook, Ltd. borrowed Carlsberg shares in March 2013 from Bernina and lent them to D.D.C.

Cayman. 347 In other words, there were no shares.




Based on my review of the facts and circumstances in this litigation, various documents produced in

this litigation, and the analyses presented in this expert report, I submit that the opinions contained

herein are an accurate representation of my views on this matter.


Submitted by:




Graham Wade
February 28, 2022




346
      ELYSIUM-08526869.
347
      ELYSIUM-01744940.

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Appendix A: Materials Considered

I.        Expert Reports

      •   Expert Report of Adam L. Warren In re Customs and Tax Administration of the Kingdom of
          Denmark (Skatteforvaltningen) Tax Refund Scheme Litigation, December 31, 2021.
      •   Expert Report of Emre Carr In re Customs and Tax Administration of the Kingdom of Denmark
          (Skatteforvaltningen) Tax Refund Scheme Litigation, December 31, 2021.
      •   Expert Report of Graham Wade In re Customs and Tax Administration of the Kingdom of
          Denmark (Skatteforvaltningen) Tax Refund Scheme Litigation, December 31, 2021.
      •   Expert Report of Max Hayden In re Customs and Tax Administration of the Kingdom of
          Denmark (Skatteforvaltningen) Tax Refund Scheme Litigation, February 1, 2022.
      •   Rebuttal Expert Report of Emre Carr In re Customs and Tax Administration of the Kingdom of
          Denmark (Skatteforvaltningen) Tax Refund Scheme Litigation, February 1, 2022.
      •   Rebuttal Expert Report of Graham Wade in re Customs and Tax Administration of the Kingdom
          of Denmark (Skatteforvaltningen) Tax Refund Scheme Litigation, February 1, 2022.

II.       Specific Bates Stamped Documents

 ACER_00010838               ACER_00003910
 AIGKAMCO_00000553           ED&F-00210760              ELYSIUM-00430068
 ED&-00445297                ED&F-00210954              ELYSIUM-00430094
 ED&F-00026581               ED&F-00211956              ELYSIUM-00430126
 ED&F-00040919               ED&F-00211963              ELYSIUM-00430146
 ED&F-00040984               ED&F-00211965              ELYSIUM-00433347
 ED&F-00040988               ED&F-00211966              ELYSIUM-00433403
 ED&F-00041059               ED&F-00212194              ELYSIUM-00433420
 ED&F-00041067               ED&F-00212243              ELYSIUM-00433424
 ED&F-00041236               ED&F-00212275              ELYSIUM-00435823
 ED&F-00041857               ED&F-00212278              ELYSIUM-00435876
 ED&F-00042680               ED&F-00212280              ELYSIUM-00435965
 ED&F-00042905               ED&F-00212281              ELYSIUM-00435983
 ED&F-00044265               ED&F-00212309              ELYSIUM-00438461
 ED&F-00045042               ED&F-00212311              ELYSIUM-00438485
 ED&F-00045804               ED&F-00212312              ELYSIUM-00438552
 ED&F-00047364               ED&F-00212313              ELYSIUM-00438570
 ED&F-00047428               ED&F-00212314              ELYSIUM-00441387
 ED&F-00047516               ED&F-00212315              ELYSIUM-00441411
 ED&F-00049309               ED&F-00212316              ELYSIUM-00441435
 ED&F-00049371               ED&F-00212320              ELYSIUM-00441444
 ED&F-00053123               ED&F-00212376              ELYSIUM-00443223
 ED&F-00053124               ED&F-00212385              ELYSIUM-00443237
 ED&F-00060888               ED&F-00212401              ELYSIUM-00443288
 ED&F-00063165               ED&F-00212560              ELYSIUM-00443294
 ED&F-00063183               ED&F-00212682              ELYSIUM-00443837
 ED&F-00076369               ED&F-00212685              ELYSIUM-00443958
 ED&F-00076918               ED&F-00212686              ELYSIUM-00444955

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ED&F-00077325      ED&F-00213509          ELYSIUM-00444997
ED&F-00080581      ED&F-00214828          ELYSIUM-00444999
ED&F-00081078      ED&F-00214830          ELYSIUM-00446617
ED&F-00081101      ED&F-00215334          ELYSIUM-00446621
ED&F-00081143      ED&F-00215686          ELYSIUM-00446999
ED&F-00081178      ED&F-00215700          ELYSIUM-00447388
ED&F-00081245      ED&F-00215701          ELYSIUM-00448227
ED&F-00081248      ED&F-00215703          ELYSIUM-00449362
ED&F-00081249      ED&F-00215719          ELYSIUM-00450322
ED&F-00081250      ED&F-00215900          ELYSIUM-00450415
ED&F-00081251      ED&F-00215905          ELYSIUM-00451311
ED&F-00081252      ED&F-00216199          ELYSIUM-00454586
ED&F-00081253      ED&F-00221866          ELYSIUM-00454587
ED&F-00081254      ED&F-00222213          ELYSIUM-00454689
ED&F-00081255      ED&F-00222454          ELYSIUM-00454696
ED&F-00081256      ED&F-00222877          ELYSIUM-00454774
ED&F-00081257      ED&F-00251315          ELYSIUM-00454819
ED&F-00102675      ED&F-00251535          ELYSIUM-00467567
ED&F-00108552      ED&F-00251662          ELYSIUM-00467846
ED&F-00108588      ED&F-00251678          ELYSIUM-00467991
ED&F-00108599      ED&F-00251833          ELYSIUM-00467998
ED&F-00108611      ED&F-00251859          ELYSIUM-00468446
ED&F-00108634      ED&F-00251862          ELYSIUM-00470169
ED&F-00108661      ED&F-00251995          ELYSIUM-00470444
ED&F-00108683      ED&F-00251997          ELYSIUM-00470477
ED&F-00108723      ED&F-00251998          ELYSIUM-00470981
ED&F-00108778      ED&F-00251999          ELYSIUM-00471936
ED&F-00108909      ED&F-00252017          ELYSIUM-00472815
ED&F-00108912      ED&F-00252019          ELYSIUM-00474421
ED&F-00110000      ED&F-00252020          ELYSIUM-00474948
ED&F-00111959      ED&F-00252021          ELYSIUM-00475143
ED&F-00112387      ED&F-00252023          ELYSIUM-00475399
ED&F-00112481      ED&F-00252024          ELYSIUM-00475526
ED&F-00113785      ED&F-00252025          ELYSIUM-00478338
ED&F-00113786      ED&F-00252086          ELYSIUM-00478369
ED&F-00113787      ED&F-00252584          ELYSIUM-00478497
ED&F-00113788      ED&F-00252586          ELYSIUM-00478942
ED&F-00113789      ED&F-00252743          ELYSIUM-00478950
ED&F-00113798      ED&F-00252745          ELYSIUM-00478951
ED&F-00113799      ED&F-00252747          ELYSIUM-00478954
ED&F-00137236      ED&F-00252748          ELYSIUM-00479189
ED&F-00137989      ED&F-00252913          ELYSIUM-00484231
ED&F-00137992      ED&F-00253726          ELYSIUM-00484248
ED&F-00137993      ED&F-00255116          ELYSIUM-00484321
ED&F-00137994      ED&F-00255223          ELYSIUM-00484367


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ED&F-00137996      ED&F-00255639          ELYSIUM-00486575
ED&F-00138058      ED&F-00257138          ELYSIUM-00486598
ED&F-00138060      ED&F-00257143          ELYSIUM-00486695
ED&F-00138062      ED&F-00257556          ELYSIUM-00486756
ED&F-00138063      ED&F-00258416          ELYSIUM-00489015
ED&F-00138065      ED&F-00261210          ELYSIUM-00489124
ED&F-00138068      ED&F-00261215          ELYSIUM-00489138
ED&F-00138076      ED&F-00261246          ELYSIUM-00489164
ED&F-00138079      ED&F-00261260          ELYSIUM-00490370
ED&F-00138080      ED&F-00261264          ELYSIUM-00490502
ED&F-00138081      ED&F-00261347          ELYSIUM-00490980
ED&F-00138083      ED&F-00261467          ELYSIUM-00490997
ED&F-00138084      ED&F-00261589          ELYSIUM-00493580
ED&F-00138086      ED&F-00264427          ELYSIUM-00493589
ED&F-00138087      ED&F-00264430          ELYSIUM-00493674
ED&F-00138091      ED&F-00265400          ELYSIUM-00493684
ED&F-00138092      ED&F-00265408          ELYSIUM-00494892
ED&F-00138093      ED&F-00265863          ELYSIUM-00494993
ED&F-00138094      ED&F-00265884          ELYSIUM-00495232
ED&F-00138095      ED&F-00265891          ELYSIUM-00495279
ED&F-00138096      ED&F-00266112          ELYSIUM-00498490
ED&F-00138097      ED&F-00266481          ELYSIUM-00498872
ED&F-00138098      ED&F-00269892          ELYSIUM-00499037
ED&F-00138099      ED&F-00269893          ELYSIUM-00499220
ED&F-00138100      ED&F-00269895          ELYSIUM-00500171
ED&F-00138101      ED&F-00269897          ELYSIUM-00500179
ED&F-00138102      ED&F-00269899          ELYSIUM-00500203
ED&F-00138104      ED&F-00269901          ELYSIUM-00500309
ED&F-00138107      ED&F-00269903          ELYSIUM-00502427
ED&F-00138110      ED&F-00269905          ELYSIUM-00502990
ED&F-00138111      ED&F-00269907          ELYSIUM-00503371
ED&F-00138122      ED&F-00269909          ELYSIUM-00503446
ED&F-00138123      ED&F-00269911          ELYSIUM-00505135
ED&F-00138124      ED&F-00272712          ELYSIUM-00505684
ED&F-00138127      ED&F-00273945          ELYSIUM-00505721
ED&F-00138128      ED&F-00279157          ELYSIUM-00590156
ED&F-00138131      ED&F-00281405          ELYSIUM-00612553
ED&F-00138133      ED&F-00301242          ELYSIUM-00612555
ED&F-00138134      ED&F-00312726          ELYSIUM-00612638
ED&F-00138135      ED&F-00315769          ELYSIUM-00612794
ED&F-00138136      ED&F-00315774          ELYSIUM-00670195
ED&F-00138137      ED&F-00317370          ELYSIUM-00670279
ED&F-00138138      ED&F-00317380          ELYSIUM-00670463
ED&F-00138139      ED&F-00331943          ELYSIUM-00670488
ED&F-00138140      ED&F-00336761          ELYSIUM-00740172


                                     119
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ED&F-00138141      ED&F-00404046          ELYSIUM-00762308
ED&F-00138147      ED&F-00408039          ELYSIUM-00762509
ED&F-00138149      ED&F-00408040          ELYSIUM-00837359
ED&F-00138152      ED&F-00408042          ELYSIUM-00873815
ED&F-00138153      ED&F-00408045          ELYSIUM-00873873
ED&F-00138160      ED&F-00408047          ELYSIUM-00921091
ED&F-00138163      ED&F-00408051          ELYSIUM-00921096
ED&F-00138164      ED&F-00408905          ELYSIUM-00921141
ED&F-00138165      ED&F-00408907          ELYSIUM-00921148
ED&F-00142388      ED&F-00408910          ELYSIUM-00935381
ED&F-00145451      ED&F-00408912          ELYSIUM-00935828
ED&F-00146110      ED&F-00408913          ELYSIUM-01001188
ED&F-00146310      ED&F-00408916          ELYSIUM-01001763
ED&F-00146493      ED&F-00408922          ELYSIUM-01002177
ED&F-00146549      ED&F-00408923          ELYSIUM-01231903
ED&F-00146608      ED&F-00408934          ELYSIUM-01238903
ED&F-00146973      ED&F-00408936          ELYSIUM-01266554
ED&F-00150203      ED&F-00408937          ELYSIUM-01282981
ED&F-00150908      ED&F-00408944          ELYSIUM-01324093
ED&F-00152687      ED&F-00408946          ELYSIUM-01324467
ED&F-00160290      ED&F-00408948          ELYSIUM-01324750
ED&F-00160339      ED&F-00412410          ELYSIUM-01324986
ED&F-00189961      ED&F-00414021          ELYSIUM-01378046
ED&F-00189967      ED&F-00414071          ELYSIUM-01385550
ED&F-00190349      ED&F-00414179          ELYSIUM-01389516
ED&F-00190422      ED&F-00436904          ELYSIUM-01396410
ED&F-00190431      ED&F-00437631          ELYSIUM-01398148
ED&F-00190435      ED&F-00443853          ELYSIUM-01399895
ED&F-00190437      ED&F-00444175          ELYSIUM-01445627
ED&F-00190438      ED&F-00444262          ELYSIUM-01460207
ED&F-00190439      ED&F-00444356          ELYSIUM-01463894
ED&F-00190440      ED&F-00444407          ELYSIUM-01463929
ED&F-00190441      ED&F-00444677          ELYSIUM-01479796
ED&F-00190456      ED&F-00477507          ELYSIUM-01581819
ED&F-00190459      ED&F-00477508          ELYSIUM-01582338
ED&F-00190460      ED&F-00495365          ELYSIUM-01582662
ED&F-00190461      ED&F-00503765          ELYSIUM-01585575
ED&F-00190462      ED&F-00503861          ELYSIUM-01586731
ED&F-00190463      ED&F-00503864          ELYSIUM-01744706
ED&F-00190464      ED&F-00504633          ELYSIUM-01744784
ED&F-00190465      ED&F-00505663          ELYSIUM-01744905
ED&F-00190466      ED&F-00505694          ELYSIUM-01744925
ED&F-00190467      ED&F-00505695          ELYSIUM-01744940
ED&F-00190786      ED&F-00505707          ELYSIUM-01745187
ED&F-00190788      ED&F-00505786          ELYSIUM-01745381


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ED&F-00190789      ED&F-00529777          ELYSIUM-01746161
ED&F-00190794      ED&F-00529780          ELYSIUM-01850776
ED&F-00190796      ED&F-00604196          ELYSIUM-01850971
ED&F-00190797      ELYSIUM-01487958       ELYSIUM-01851041
ED&F-00190891      ELYSIUM-01487961       ELYSIUM-01968214
ED&F-00190894      ELYSIUM-00364326       ELYSIUM-01968250
ED&F-00190895      ELYSIUM-00366341       ELYSIUM-01968263
ED&F-00190896      ELYSIUM-00368221       ELYSIUM-01999826
ED&F-00190899      ELYSIUM-00369259       ELYSIUM-02002133
ED&F-00190900      ELYSIUM-00370448       ELYSIUM-02002150
ED&F-00190903      ELYSIUM-00372069       ELYSIUM-02038702
ED&F-00190905      ELYSIUM-00373671       ELYSIUM-02050021
ED&F-00190906      ELYSIUM-00376734       ELYSIUM-02079174
ED&F-00191809      ELYSIUM-00376735       ELYSIUM-02104733
ED&F-00191813      ELYSIUM-00378412       ELYSIUM-02109666
ED&F-00191814      ELYSIUM-00379382       ELYSIUM-02455073
ED&F-00192604      ELYSIUM-00380900       ELYSIUM-02464519
ED&F-00192715      ELYSIUM-00381939       ELYSIUM-02512584
ED&F-00192871      ELYSIUM-00383581       ELYSIUM-02516994
ED&F-00192954      ELYSIUM-00385078       ELYSIUM-02518330
ED&F-00192963      ELYSIUM-00386566       ELYSIUM-02521413
ED&F-00193695      ELYSIUM-00387203       ELYSIUM-02530665
ED&F-00193696      ELYSIUM-00390731       ELYSIUM-02538964
ED&F-00193697      ELYSIUM-00392787       ELYSIUM-02545160
ED&F-00193698      ELYSIUM-00394976       ELYSIUM-02552980
ED&F-00193779      ELYSIUM-00397631       ELYSIUM-02570519
ED&F-00193783      ELYSIUM-00405169       ELYSIUM-02576574
ED&F-00193873      ELYSIUM-00405188       ELYSIUM-02581645
ED&F-00193874      ELYSIUM-00405196       ELYSIUM-02589117
ED&F-00193949      ELYSIUM-00407440       ELYSIUM-02594982
ED&F-00193974      ELYSIUM-00407451       ELYSIUM-02601352
ED&F-00195986      ELYSIUM-00407501       ELYSIUM-02606297
ED&F-00195988      ELYSIUM-00407519       ELYSIUM-02610747
ED&F-00195989      ELYSIUM-00409351       ELYSIUM-02694967
ED&F-00196463      ELYSIUM-00409363       ELYSIUM-03470328
ED&F-00201236      ELYSIUM-00409373       ELYSIUM-03478220
ED&F-00201239      ELYSIUM-00409374       ELYSIUM-03478277
ED&F-00201291      ELYSIUM-00411046       ELYSIUM-06081537
ED&F-00201296      ELYSIUM-00411048       ELYSIUM-06332466
ED&F-00201302      ELYSIUM-00411052       ELYSIUM-06561052
ED&F-00201306      ELYSIUM-00412534       ELYSIUM-06755671
ED&F-00201311      ELYSIUM-00414234       ELYSIUM-08421068
ED&F-00201315      ELYSIUM-00414236       ELYSIUM-08433971
ED&F-00201321      ELYSIUM-00414525       ELYSIUM-08445764
ED&F-00201322      ELYSIUM-00415210       ELYSIUM-08526869


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 ED&F-00201328          ELYSIUM-00416456        ELYSIUM-08656676
 ED&F-00201334          ELYSIUM-00416467        ELYSIUM-08770653
 ED&F-00201341          ELYSIUM-00416483        MPSKAT00072347
 ED&F-00202057          ELYSIUM-00419905        MPSKAT00072353
 ED&F-00202339          ELYSIUM-00420104        MPSKAT00072484
 ED&F-00202588          ELYSIUM-00420152        MPSKAT00072495
 ED&F-00205028          ELYSIUM-00421748        MPSKAT00072497
 ED&F-00205304          ELYSIUM-00425005        MPSKAT00072570
 ED&F-00205422          ELYSIUM-00425007        MPSKAT00072729
 ED&F-00206575          ELYSIUM-00425077        MPSKAT00072775
 ED&F-00206708          ELYSIUM-00425111        MPSKAT00072800
 ED&F-00206754          ELYSIUM-00428406        MPSKAT00072925
 ED&F-00210336          ELYSIUM-00428438        MPSKAT00072970
                                                MPSKAT00082940
                                                SCPADMINISTRATORS_00013560

III.   Specific Bates Stamped Documents Related to Table 1
 ED&F-00040919-ED&F-           ED&F-00041756-ED&F-
 00040990                      00041856                    ED&F-00206575
 ED&F-00040991-ED&F-           ED&F-00041857-ED&F-
 00041008                      00041957                    ED&F-00211966
 ED&F-00041009-ED&F-           ED&F-00041958-ED&F-
 00041033                      00042058                    ED&F-00212194
 ED&F-00041034-ED&F-           ED&F-00042059-ED&F-
 00041058                      00042159                    ED&F-00212682
 ED&F-00041059-ED&F-           ED&F-00042160-ED&F-
 00041082                      00042260                    ED&F-00212686
 ED&F-00041083-ED&F-
 00041107                      ED&F-00060888               ED&F-00215701
 ED&F-00041108-ED&F-
 00041179                      ED&F-00081078               ED&F-00251859
 ED&F-00041180-ED&F-
 00041210                      ED&F-00113799               ED&F-00252019
 ED&F-00041211-ED&F-
 00041235                      ED&F-00190439               ED&F-00252020
 ED&F-00041236-ED&F-
 00041284                      ED&F-00190440               ED&F-00252021
 ED&F-00041285-ED&F-
 00041309                      ED&F-00190788               ED&F-00408907
 ED&F-00041310-ED&F-
 00041334                      ED&F-00190797               ED&F-00408937
 ED&F-00041335-ED&F-
 00041351                      ED&F-00190906               ED&F-00436904
 ED&F-00041352-ED&F-
 00041452                      ED&F-00193695               ED&F-00482233
 ED&F-00041453-ED&F-
 00041553                      ED&F-00193696               ED&F-00604196
 ED&F-00041554-ED&F-
 00041654                      ED&F-00193697
 ED&F-00041655-ED&F-
 00041755                      ED&F-00193698

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IV.       Deposition Transcripts

      •   Deposition Transcript of Andrew Wall, February 23, 2022.
      •   Deposition Transcript of Richard Markowitz, April 8, 2021.
      •   Deposition Transcript of Robert Klugman, January 28, 2021.


V.        Legal Documents

      •   Draft SKAT and ED&F Man Market Limited and Others Schedule of Agreed Facts.

      •   ED&F Re-Amended Defence and Annex E


VI.       Statutes and Rules

      •   International Accounting Standard 39 Financial Instruments: Recognition and Measurement


VII.      Publicly Available Documents

      •   http://issanet.org/content/uploads/2013/04/ISSA_Issuer_Outreach_Final.pdf
      •   https://assets.publishing.service.gov.uk/government/uploads/system/uploads/attachment_data/
          file/496664/denmark-uk-dta-consol_-_in_force.pdf
      •   https://docs.londonstockexchange.com/sites/default/files/documents/rules-lse.pdf
      •   https://eur-lex.europa.eu/legal-content/EN/ALL/?uri=CELEX:32012R0236
      •   https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=CELEX%3A32012R0827
      •   https://eur-lex.europa.eu/LexUriServ/LexUriServ.do?uri=OJ:L:2011:174:0001:0073:EN:PDF
      •   https://find-and-update.company-information.service.gov.uk/company/00500777/filing-
          history?page=4
      •   https://find-and-update.company-information.service.gov.uk/company/01698498/filing-
          history/MzE1MjAzODA0MmFkaXF6a2N4/document?format=pdf&download=0
      •   https://find-and-update.company-information.service.gov.uk/company/01698498/filing-
          history/MzEyMzgxMzA0MWFkaXF6a2N4/document?format=pdf&download=0
      •   https://find-and-update.company-information.service.gov.uk/company/05071454/filing-
          history
      •   https://listingcenter.nasdaq.com/assets/rulebook/nfx/rules/NFX_Rules.pdf
      •   https://nyseguide.srorules.com/rules/document?searchId=867829828&treeNodeId=csh-da-
          filter!WKUS-TAL-DOCS-PHC-%7B4A07B716-0F73-46CC-BAC2-43EB20902159%7D--
          WKUS_TAL_19401%23teid-227
      •   https://register.fca.org.uk/s/
      •   https://register.fca.org.uk/s/firm?id=001b000000MfISLAA3
      •   https://register.fca.org.uk/s/firm?id=001b000000MfJVVAA3
      •   https://register.fca.org.uk/s/firm?id=001b000000NMblRAAT
      •   https://www.bgcpartners.com/bgc-partners-acquires-mint-partners-key-businesses
      •   https://www.clearstream.com/resource/blob/1316782/43a60afa470c37ba74f7cb2d6949e71c/c
          ompensation-handbook-cata-en-data.pdf
      •   https://www.ecb.europa.eu/paym/target/t2s/governance/html/casg.en.html


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      •   https://www.ecb.europa.eu/paym/target/t2s/governance/pdf/casg/ecb.targetseccasg120606_M
          arketStandardsForCorporateActionsProcessingCAJWGStandardsRevised2012Updated2015.e
          n.pdf?5a5c8308c24a6618ed600daf627df86c
      •   https://www.ecb.europa.eu/paym/target/t2s/governance/pdf/casg/ecb.targetseccasg130316_T2
          SMarketClaimStandards.en.pdf?bf450b0be5b3dabe36b05487e03be4e0
      •   https://www.ecb.europa.eu/paym/target/t2s/html/index.en.html
      •   https://www.esma.europa.eu/databases-library/interactive-single-rulebook/clone-mifid-
          ii/article-16-0
      •   https://www.esma.europa.eu/sites/default/files/library/2015-1858_-_final_report_-
          _draft_implementing_technical_standards_under_mifid_ii.pdf
      •   https://www.esma.europa.eu/sites/default/files/library/esma50-165-
          2004_eu_securities_markets_asr_2021.pdf
      •   https://www.esma.europa.eu/sites/default/files/library/esma70-155-
          10272_final_report_on_cum_ex_and_other_multiple_withholding_tax_reclaim_schemes.pdf
      •   https://www.esma.europa.eu/sites/default/files/library/esma70-156-
          3914_consultation_paper_on_the_review_of_certain_aspects_of_the_short_selling_regulatio
          n.pdf
      •   https://www.fca.org.uk/news/press-releases/sunrise-brokers-llp-fine-serious-financial-crime-
          control-failings
      •   https://www.fca.org.uk/publication/documents/market-makers-authorised-primary-dealers.pdf
      •   https://www.federalreserve.gov/boarddocs/srletters/2007/SR0705a1.pdf
      •   https://www.gov.uk/hmrc-internal-manuals/corporate-finance-anual/cfm74430
      •   https://www.gov.uk/hmrc-internal-manuals/corporate-finance-manual/cfm74300
      •   https://www.gov.uk/hmrc-internal-manuals/corporate-finance-manual/cfm74360
      •   https://www.handbook.fca.org.uk/handbook/glossary/G2811.html
      •   https://www.investor.gov/introduction-investing/investing-basics/glossary/ex-dividend-dates-
          when-are-you-entitled-stock-and
      •   https://www.iotafinance.com/en/SWIFT-ISO15022-View-Code-NOMC.html
      •   https://www.iso20022.org/15022/uhb/mt541-33-field-22f.htm
      •   https://www.legislation.gov.uk/ukpga/2000/8
      •   https://www.legislation.gov.uk/ukpga/2000/8/section/19
      •   https://www.legislation.gov.uk/ukpga/2000/8/section/26
      •   https://www.legislation.gov.uk/uksi/2001/544/contents/made
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VIII.     Correspondence

      •   Letter to Pinsent Masons, January 11, 2021.



IX.       Other

      •   Bloomberg.

      •   Refinitiv Eikon.


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